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            ANDERSON EXHIBIT 2
                                TO

               OPPOSITION TO EXCLUDE TESTIMONY
                OF EXPERT MARK G. DUGGAN PH.D.
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                 )   MDL NO. 1456
AVERAGE WHOLESALE PRICE                        )
LITIGATION                                     )   CIVIL ACTION: 01-CV-12257-PBS
                                               )
                                               )   Judge Patti B. Saris
THIS DOCUMENT RELATES TO                       )
U.S. ex rel. Ven-A-Care of the Florida Keys,   )   Magistrate Judge Marianne B. Bowler
Inc., Zachary T. Bentley, and T. Mark Jones    )
v. Abbott Laboratories, Inc.,                  )
No. 07-CV-11618-PBS                            )

                    EXPERT REPORT OF MARK G. DUGGAN, PH.D




Report of Mark G. Duggan, Ph.D., March 27, 2009                                          1
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Executive Summary

1. This Report calculates a $15.559 million difference between (1) what the federal government

reimbursed for certain pharmaceutical products dispensed to Medicaid recipients during the

1994Q1 to 2008Q1 period and (2) what the federal government would have reimbursed for the

same products during the same time period if prices reflective of the actual prices at which

Abbott was transacting business had been used for the AWP, WAC, and Direct Price of Abbott

products. The report analyzes Abbott internal transaction data from the relevant time period, as

well as paid claims data from the Medicaid program. The $15.559 million difference does not

include the $11.258 million impact on state governments’ Medicaid spending.



2. The Report also calculates that 3.860 million payments to health care providers would have

been lower and 8.641 million claims would have had lower Medicaid spending had

alternative prices been used for the AWP, WAC, and Direct Price of certain Abbott products

during the relevant time period.



3. The empirical methods that I employed to calculate Abbott prices for the subject drugs are

consistent with those that I and other economists typically perform in academic research.

Additionally, the empirical methods that I used for calculating the payment amounts that the

Medicaid program would have made are consistent with those that I and other economists

typically perform. And finally, the empirical methods that I used to extrapolate my results from

a sample of state Medicaid programs to other state Medicaid programs are also consistent with

those used by myself and other economists. The empirical methods that I employed and the

assumptions that I made are set forth in exacting detail in the Report so that my results can be




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replicated and so that any changes in data or assumptions about the data can be readily

accommodated in the analysis.



4. At various stages in my analysis – indeed at virtually every step where I believed that there

were two or more acceptable ways to proceed in analyzing the Abbott and Medicaid data – I

deliberately chose the conservative approach, that is, the approach that minimized the dollar

difference and the number of provider payments and claims reported in the preceding table.



5. All of my conclusions were reached using methods that are accepted within the field of

economics. I hold these conclusions with a reasonable degree of professional certainty.



I. Qualifications

       My name is Mark G. Duggan. I am a Professor in the Department of Economics at the

University of Maryland, College Park. I received my Bachelor of Science in Electrical

Engineering from M.I.T. in 1992 and my Master of Science in Electrical Engineering from

M.I.T. in 1994. I obtained my doctorate in Economics from Harvard University in 1999.

       I was an Assistant Professor in the University of Chicago’s Department of Economics

and a Visiting Assistant Professor in M.I.T.’s Department of Economics before joining the

University of Maryland’s Department of Economics in 2003. I was awarded a two-year Alfred

P. Sloan Foundation Fellowship in 2004, an award that is made each year to only six to eight

economists who are selected from those in the entire profession who are within six years of

receiving their Ph.D.




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       I have served on several committees at the University of Maryland and have received

teaching and/or advising awards at Harvard University, M.I.T., the University of Chicago, and

the University of Maryland. I have served as an advisor to approximately 25 Ph.D. students at

the University of Chicago and the University of Maryland, with recent advisees of mine

accepting positions at the College of William and Mary, Cornell University, Syracuse

University, University of Houston, the World Bank, and Northwestern University.

       My professional activities include serving as a Research Associate at the National Bureau

of Economic Research in the Health Care and Public Economics programs. I was also recently a

Visiting Fellow at the Brookings Institution and I am a member of the American Economic

Association and the American Society of Health Economists. I serve as an Associate Editor of

the Journal of Public Economics and on the Board of Editors of the American Economic

Journal: Economic Policy. I have been the Principal or co-Principal Investigator on numerous

research grants, including current ones from the National Science Foundation and the Social

Security Administration. The National Science Foundation funded grant is for a project with

Fiona Scott Morton, Ph.D. and is titled “Government Procurement of Pharmaceuticals.”

       I have published fifteen papers in peer-reviewed journals and have presented my research

at numerous professional conferences and at dozens of academic institutions including Columbia

University, Harvard University, M.I.T., Princeton University, Stanford University, the University

of Chicago, Yale University, and many others. One paper of mine was published as the lead

article in the January 2005 issue of the Journal of Health Economics and was titled “Do New

Prescription Drugs Pay for Themselves? The Case of Second Generation Antipsychotics.”

Another recent paper, jointly authored with Dr. Scott Morton, was titled “The Distortionary

Effects of Government Procurement: Evidence for Medicaid Prescription Drug Purchasing” and




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was published as the lead article in the February 2006 issue of the Quarterly Journal of

Economics. A more recent paper of mine on the Supplemental Security Income program, jointly

authored with my colleague Melissa Kearney, Ph.D. and published in the Autumn 2007 issue of

the Journal of Policy Analysis and Management, received the Raymond Vernon Memorial Prize

for being voted the best research article in that journal in 2007.

       Other papers of mine that focus on the Medicaid program have been published in some of

the leading journals of my profession, including the Journal of Public Economics, the Quarterly

Journal of Economics, and the RAND Journal of Economics. I have published empirically-

oriented papers on other topics in leading journals including the American Economic Review,

Forum for Health Economics and Policy, Journal of Economic Perspectives, Journal of Law and

Economics, Journal of Political Economy, Journal of Policy Analysis and Management, and the

Journal of Public Economics.

       My research is empirically oriented and focuses on the impact of government expenditure

programs such as Medicaid, Medicare, and Social Security. I have conducted several studies in

which I apply advanced quantitative methods to large-scale data sets to investigate questions in

applied microeconomics that are of interest to academics and policymakers. A central issue in

most of these studies is determining whether a causal relationship exists between one variable

and another. For example, in my Journal of Health Economics paper on pharmaceutical

treatments, I investigate the impact of certain new treatments on Medicaid spending and health

outcomes.

       Much of this work has included the aggregation of highly complex encounter level data

to the individual level, which is then often merged with other data. For example in my paper

“Does Contracting Out Increase the Efficiency of Government Programs? Evidence for Medicaid




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HMOs,” which was published in the Journal of Public Economics, I aggregate Medicaid claims

and expenditure data to the individual level and then merge this with data on individual-level

HMO enrollment. Similarly in my paper “The Impact of Medicare Part D on Pharmaceutical

Prices and Utilization” with Dr. Scott Morton that is forthcoming in the American Economic

Review, I utilize encounter level data from the Medical Expenditure Panel Survey to estimate the

“Medicare market share” for every one of the top 1000 drugs in the U.S.

       In carrying out this research, I have followed the methods that are generally applied and

accepted in my profession to ensure that the data sets that are constructed are as accurate as

possible. I have then applied the most appropriate microeconometric methods to investigate

causal relationships. For example, in the Journal of Health Economics paper referred to above, I

utilize instrumental variable methods to estimate the effect of new pharmaceutical treatments on

Medicaid expenditures. In the Journal of Public Economics paper referred to above on Medicaid

managed care, I utilize a differences-in-differences methodology that exploits the differential

timing of county level Medicaid managed care mandates to estimate the effect of HMOs on

Medicaid expenditures. And in the paper with Dr. Scott Morton “The Distortionary Effects of

Government Procurement: Evidence for Medicaid Prescription Drug Purchasing,” which was

published in the Quarterly Journal of Economics, we estimate multivariate regression models

that are grounded in economic theory to estimate the effect of Medicaid market shares on

pharmaceutical prices. In all three of these papers, I essentially estimate the effect of one

explanatory variable of interest (e.g. use of a particular treatment) on an outcome variable (e.g.

Medicaid expenditures) while holding other factors constant.

       The most appropriate methodologies for the construction of data sets and the analysis of

these data sets depend on many factors. My training and experience as an economist have




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provided me with a diverse arsenal of microeconometric methods and an understanding of how

optimally to respond to the many obstacles that one confronts when analyzing and processing

multiple complex large scale data sets in the same project.



II. Overview

       In this report I use data from several different sources to determine the amount by which

spending by the federal-state Medicaid program would have changed if alternative values had

been used for Abbott products’ Average Wholesale Prices (AWPs), Wholesaler Acquisition

Costs (WACs), and Direct Prices (DPs). For my analyses, I focus on the 43 NDCs listed in the

Relator’s Complaint on behalf of the United States (hereafter Complaint).

       In the first two main sections, I provide a detailed description of Abbott’s direct and

indirect transaction data. I consider how Abbott’s sales and prices vary across products, over

time, across classes of trade, and across transaction types. I also provide comparisons of

Abbott’s actual transaction prices and the AWPs, WACs, and DPs published by pricing

compendia such as First DataBank (FDB) and Red Book.

       For example, Figure 1 displays the average price for all customers in Abbott’s direct

transaction data in each quarter from 1994Q1 to 2007Q4 for the Erythromycin 74632013

product, which is a natural one to focus on given that it accounts for more Medicaid spending

than any other Complaint NDC. The Figure also depicts the FDB Average Wholesale Price

(AWP) and FDB Wholesaler Acquisition Cost (WAC) for that same product in each quarter. As

the Figure reveals, the discrepancy between actual and published prices was quite steady for the

first 9.5 years of the study period. More specifically, the AWP was on average approximately

3.5 times the actual average price while the WAC was approximately 3.0 times the actual




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average price. In the third quarter of 2003, Abbott’s average price for this product approximately

doubled, which reduced but did not eliminate the discrepancy.

        Figure 2 displays a similar pair of series for the pharmacy-specific average price in

Abbott’s indirect transaction data, which represent sales of Abbott products to pharmacies by

wholesalers and distributors, versus the FDB AWP and FDB WAC in each quarter. As the

figure demonstrates, the trajectory of Abbot’s average price to pharmacies in the indirect data

during this period is quite similar to the corresponding one for all customers observed in

Abbott’s direct data.

        Using Abbott’s direct and indirect transaction data, I determine how spending by the

Medicaid program would have changed if alternative price statistics had been used for the AWP,

WAC, and DP when adjudicating claims for both programs.1 For example, I replace the WAC

by the average pharmacy-specific price in Abbott’s indirect transaction data, and determine how

spending by Medicaid programs that use the WAC would have changed if this alternative price

had been used. This average price will overstate the actual average cost to wholesalers and

distributors of acquiring Abbott products because it does not include wholesalers’ prompt pay

discounts, for example. Additionally, by focusing on the pharmacy classes of trade rather than

considering the average price to wholesalers of acquiring products for all classes of trade, the

discrepancy between actual and published prices will tend to be lower. This is because – as I

demonstrate below - pharmacy prices in both Abbott’s direct and indirect transaction data tend to

exceed prices to other customers.

        An examination of the published prices for the Abbott products listed in the Complaint

indicates that the AWP for most of the period is typically 125 percent of the WAC. My own


1
 It is my understanding that the prices published by First DataBank and other pricing compendia such as Red Book
are based on price representations by Abbott.


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analysis of Abbott’s indirect and direct transaction data reveals the difference between the price

at which wholesalers and distributors acquire Abbott products and the corresponding price at

which they sell the products is on average much less than 25 percent. Despite this, I take the

conservative approach of replacing the AWP with 125 percent of the average pharmacy indirect

price for each NDC in each quarter, and determine how spending by the Medicaid and Medicare

programs would have changed if these alternative prices had been used when adjudicating claims

for both programs. I do the same for the Direct Price, though in this case I replace it with

Abbott’s average, pharmacy-specific price in the direct transaction data.

       There are approximately 11.051 million NDC-based Medicaid claims for the Abbott

products listed in the Complaint. In the analyses below, I find that Medicaid spending for 8.641

million of these claims (78.2 percent) would have been lower if the alternative prices described

above had been used for the AWP, WAC, and DP. Similarly, my results indicate that there were

3.860 million payments to pharmacies and other health care providers with at least one NDC-

based Medicaid claim that would have been paid at a lower amount. Additionally, I find that

Medicaid spending would have been lower by $26.817 million, with this representing 24.4

percent of the $110.010 million in spending for these products during the 1994Q1 to 2008Q1

period. Because Medicaid is financed both by the federal government and by the individual state

governments, part of this spending represents that paid by state governments. I determine that

the federal share of the $26.817 million is $15.559 million.



III. Abbott’s Direct Transaction Data

       The first main set of data that I use in my analysis was provided by Abbott to the relator

and includes direct transaction data for products listed in the Complaint. The direct transaction




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data includes detailed information on sales by Abbott to wholesalers, distributors, hospitals,

pharmacies, and many other types of health care providers. Data was provided for transactions

occurring during the 1994 through 2007 calendar years.

         In this section, I describe Abbott’s direct transaction data. In preparing this, I have drawn

on the deposition of Bruce Stowell, other documents including many provided by Abbott, and

my own analysis of the Abbott data.



A. The Breakdown by Product and Time Period

         Table 1 provides an initial summary of the Abbott direct transaction data used in my

analyses by listing the number of observations along with several other pieces of information for

each product. The identifier used for each product is the national drug code (NDC), all 43 of

which are listed in the Complaint. As the second column of this table shows, there exists

substantial variation across products in the number of transactions, ranging from a high of

704,963 (for 74632013) to a low of 479 (for 74630430). The total number of observations is

5,642,156, with all 43 products represented.2

         The fourth column of Table 1 lists total sales (EXTPRICE) exclusive of chargebacks in

thousands of dollars for each NDC, with the sum of this variable across all observations equal to

$545.236 million.3 The next column in the same table lists the sum of all chargebacks for each

NDC. Aggregated across all observations, total chargebacks in the direct transaction data for the

products in the Complaint are equal to $91.696 million. The sixth column lists total sales


2
  I exclude the 227,309 transactions that are product returns from this table because, according to the Stowell
deposition, their units may not be consistent with those for other transactions. These returns, which have instruction
codes between 60 and 64 inclusive, account for (minus) $7.227 million, which represents 1.6 percent of the
$446.312 million in total sales for Complaint products during this period.
3
  See Stowell Exhibit 13 for a list of the variable names and Stowell Exhibit 14 for a list of the variable labels. The
EXTPRICE variable was also in some cases labeled LN-XTN (for line extension). For the purposes of this report, I
use the terms revenues and sales interchangeably.


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(EXTPRICE) including chargebacks and the seventh and final column lists the average per-

package price for each NDC. To calculate this average price, I divide the sum of total sales

(including chargebacks) for each NDC by the sum of the total quantity (ICQTY) transacted for

that NDC.

        The final two columns of the table compare this average per-package price with Abbott’s

Direct Price and Average Wholesale Price (as published by First DataBank) in effect during the

fourth quarter of 2000, which is roughly halfway through the period for which Abbott provided

direct transaction data. Specifically, in the eighth column I report the ratio of the First DataBank

Direct Price in the fourth quarter of 2000 to Abbott’s average price during the 14-year period,

while in the ninth column I report the analogous ratio using the FDB Average Wholesale Price

(AWP) in the fourth quarter of 2000 in the numerator.

        As the values in these two columns demonstrate, the published prices for the 43

Complaint products in all cases exceed the actual average prices. For example, the ratio of the

FDB Direct Price to Abbott’s actual average price for the 74632013 NDC, which accounts for

more Medicaid spending than any other during the time period of interest, is 2.80. More

specifically, the published Direct Price for this product was $31.21 versus an actual average price

of $11.16. The disparity between Abbott’s published AWP and this actual average price is even

greater, with a ratio of 3.32 to 1.

        Considering all 43 Complaint products, the average ratio of the published Direct Price to

the Abbott’s actual average price is 2.39 to 1 and the corresponding average ratio of the AWP to

the actual average price is 2.84 to 1. While I examine this issue more thoroughly in the analyses

that follow, this first-pass comparison suggests that the published prices for the Abbott products




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in the Complaint exceeded their actual transaction prices by an average of approximately 139

percent for the published Direct Price and by 184 percent for the published AWP.

           Table 2 lists the number of observations, total sales, and total chargebacks by year and

quarter in the direct data during the fourteen year period from 1994Q1 to 2007Q4. The final

column of the table lists the number of NDCs with one or more direct transactions in that quarter.

In each quarter from 1995Q3 to 2001Q2, all 43 products are included in Abbott’s direct data,

though this declines steadily during the subsequent six years.



B. The Instruction and Transaction Codes

           There are many different types of transactions that are included in the direct data, and

these are described in Abbott’s COP Transaction Matrix (Stowell Exhibit 28).4 The final two

columns of this matrix provide numerical values for the instruction code and the transaction

code, both of which are included in the direct data. For example the first row of this matrix lists

a “normal billing” transaction, which would have an instruction code of 0 and a transaction code

of 1. The last row of this same table lists the “chargeback” transaction, which has a missing

instruction code. As Table 3 shows, this latter transaction type is the most common one for the

products in the Complaint, accounting for 77.1 percent of the 5.642 million transactions.

           Table 3 lists 18 other transaction types, which are sorted in descending order of total net

sales across all 43 products. The final two columns of this table list the instruction and

transaction codes for each row. Many of the transactions listed in the COP Transaction Matrix

do not appear in the direct data and thus I do not include them. Transaction types with an

instruction code between 0 and 18 are labeled as debits in the COP Transaction Matrix whereas



4
    A shorter version of this information is also contained in Stowell Exhibit 16.


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those between 60 and 90 and the blank instruction code are labeled as credits. The one category

that is not summarized in this table are returns, which have instruction codes from 60 to 64.

        I include virtually all of the transaction types that appear in Abbott’s direct transaction

data when calculating average prices and related price statistics in my subsequent analyses. For

example, in addition to normal billing transactions, I consider manual splits, price adjustments,

and additional product charge transactions. However, because Mr. Stowell noted in his

deposition that the units for returns might not be comparable, I exclude them. These returns

account for just 1.6 percent of total net sales.



C. Customer Class of Trade

        Among the more than 50 variables included in the direct data is one that can be used to

determine the customer’s class of trade (CLAS), which are listed in Exhibit 15 of Mr. Stowell’s

deposition. Table 4 lists the number of observations, packages sold, total net and gross sales, and

total chargebacks by class of trade, which are sorted in descending order of total net sales. Only

the 14 largest classes of trade in terms of total net sales are listed, with each of these classes

having at least $500 thousand in net sales during the period. The remaining 79 for which there is

data are grouped into the final category. The top 14 classes of trade account for 98.8 percent of

net sales and 99.0 percent of transactions in Abbott’s direct data.

        As this table shows, wholesalers are the most common class of trade in the direct data,

accounting for 92.3 percent of transactions and 50.7 percent of net sales. Their share of

transactions is much greater than their share of sales primarily because they account for virtually

all of the chargeback transactions summarized in the preceding table. This class of trade also

accounts for the vast majority of sales in Abbott’s indirect transaction data, which I describe in




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more detail in section IV. The next most common class of trade is chain pharmacy warehouse,

which accounts for 40.1 percent of net sales.

           An examination of the direct transaction data reveals that the price per package of a

product in a specific quarter does vary to some extent across classes of trade.5 To shed light on

this issue, I calculate the class of trade specific average price for each product in every quarter

and divide that by the product’s overall average price in the same quarter. I then average this

ratio for each class of trade across all NDC-quarter combinations, weighting by the number of

transactions for the class of trade – product – quarter combination.

           Given that Abbott provided data for all 43 products during the 56 quarters from 1994Q1

to 2007Q4, the maximum number of ratios for each class of trade is 2,408. When one accounts

for the fact that not all products have sales in every quarter (see the sixth column of Table 2), the

actual maximum number of ratios for each class of trade is 2,128. To the extent that prices tend

to be lower (higher) than the average for a particular class of trade, one would expect this ratio to

fall below (above) one.

           The second-to-last column of Table 4 lists the average ratio of the class of trade specific

price to the overall average price, with the final column listing the number of ratios for each class

of trade. The average ratios of 0.967 for Chain Pharmacy Warehouse (A077) and 0.860 for

Kaiser Hospital Inpatient Pharmacy (HK21) indicate that prices for these two classes of trade,

which are ranked second and third, respectively, in terms of total net sales, tend to be lower than

for other classes of trade. Average prices to retail pharmacies (A003) and chain pharmacies

(A007) tend to exceed the overall average, with average ratios of 1.304 and 1.188, respectively.

Average prices to wholesalers fall between these two ranges, with an average ratio of 1.037.



5
    I define the price to be equal to the net amount paid divided by total quantity.


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D. A Comparison of Actual and Published Prices: The Case of Erythromycin (74632013)

        Using Abbott’s direct transaction data, one can calculate the average price or other price

statistics such as the median or the 95th percentile for a specific product in a given time period.

To calculate the average price, I first exclude all returns (instruction codes between 60 and 64

inclusive) because their units might not be comparable to the other transactions in the direct data

as described above. I then aggregate net sales and quantity across all transactions. I define the

time period to be a quarter (January-March, April-June, July-September, October-December) and

thus the unit of observation is the NDC-quarter.6

        The third and fourth columns of Table 5 list the First DataBank Wholesaler Acquisition

Cost (hereafter WAC) and the First DataBank Direct Price (hereafter Direct Price) while the fifth

column lists Abbott’s actual average price for all classes of trade for the Abbott product with an

NDC of 00074632013. As shown in Section V below, this Abbott product accounts for more

Medicaid spending during the time period of interest than any other product included in the

Complaint. In the third quarter of 1994, the average per-package price for this product was

$9.43 versus a published Direct Price of $29.45. Thus the published price was more than three

times greater than the average price at the beginning of the study period.

        This ratio of the Direct Price to Abbott’s actual average price remained fairly steady

during the next nine years until Abbott’s actual average price for this product approximately

doubled in the third quarter of 2003. During the subsequent four years, the ratio of the published

Direct Price to the actual average price fluctuated somewhat, between a minimum of 1.26 in the

fourth quarter of 2005 to a maximum of 1.78 in the second quarter of 2004. These quarterly



6
  I drop any NDC-quarter observations with total net sales or total quantity that is negative. I also drop NDC-
quarter-customer observations that do not have a strictly positive number of purchase units. The customer number
that I use is the BILL-TO customer number.


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price data – the Direct Price and Abbott’s actual average price - are depicted graphically in

Figure 1.

        The sixth column of Table 5 lists the 95th percentile price for this same Abbott product.

As the table shows, these prices are somewhat larger than the average price in each quarter and

have similar trends over time. The median ratio of the 95th percentile price to the average price

is 1.23. The next two columns of this same table list the total number of customers and the

number of transactions in each quarter for this Abbott Erythromycin product.

         In the final four columns of Table 5, I report analogous information for transactions

involving only the retail pharmacy (class of trade A003), chain pharmacy (A007), and closed

pharmacy (M070) classes of trade.7 Both the level and the trend in Abbott’s average and 95th

percentile prices are similar for these classes of trade as for all transactions, with both price

statistics on average somewhat higher for the pharmacy classes of trade.



IV. Abbott’s Indirect Transaction Data

        The second main set of data that I use in my analysis was provided by Abbott to the

relator and includes indirect transaction data for products listed in the Complaint during the 1994

through 2007 calendar years. The indirect transaction data includes detailed information on sales

by wholesalers to pharmacies, hospitals, and many other types of health care providers.

        In this section, I describe Abbott’s indirect transaction data. In preparing this, I have

drawn on the testimony of Ms. Nancy Lee Carlson in her July 20, 2006 deposition, other

documents including many provided by Abbott, and my own analysis of the Abbott data.



7
 The number of transactions and total net revenues for the M070 class of trade are 2,131 and $71,180, respectively.
This class of trade is not listed in Table 4 because it is not one of the leading classes of trade and is therefore
grouped into the “All Other” category that is summarized in the second-to-last row of the table.


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A. The Breakdown by Product and Time Period

         Table 6 provides an initial summary of the Abbott indirect transaction data used in my

analyses by listing the number of observations along with several other pieces of information for

each product. The identifier used for each product is the national drug code (NDC), all 43 of

which are listed in the Complaint. As the second column of this table shows, there exists

substantial variation across products in the number of transactions, ranging from a high of

1,439,401 (for 74632013) to a low of 231 (for 74630430). The total number of observations is

approximately 8.721 million, with all 43 products represented.

         The third column of Table 6 lists the total number of packages purchased by end

customers for each NDC.8 The next column in the table lists the amount paid exclusive of debits

by the end customers in thousands of dollars for each NDC, with the sum of this variable across

all observations equal to $175.006 million. The fifth column includes the sum of debits for each

NDC while the sixth column lists the net amount paid by end customers for each NDC, which

aggregated across all transactions is $170.887 million.

         The seventh column lists the average per-package price for each NDC. To calculate this

average price, I divide the sum of the total amount paid for each NDC by the sum of the total

quantity transacted for that NDC. The eighth and final column of this table lists the AWP for the

product in effect during the fourth quarter of 2000. Consistent with the pattern for the direct

transaction data described above, actual average prices in Abbott’s indirect data are substantially

lower than the published AWPs for the same products.

         Table 7 lists the number of observations, total sales, and total packages sold by year and

quarter in the indirect data from 1994Q1 through 2007Q4. The final column of the table lists the


8
 While the label for this variable is “purchase units”, the values are in terms of packages, which must be multiplied
by the number of units per package to arrive at the number of units.


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number of NDCs with one or more indirect transactions in that quarter. In the five years from

1996Q3 through 2001Q2, all 43 NDCs are represented in the indirect data in each quarter. This

number then steadily declines during the next six years to its minimum of 25 in 2007Q4.



B. End Customer Class of Trade

       Among the variables included in Abbott’s indirect data is one that can be used to

determine the end customer’s class of trade. Table 8 lists the number of observations, total sales,

and total packages sold by class of trade, which are sorted in descending order of total net sales.

Only the 19 largest classes of trade with more than $1 million in total net sales are listed, with

the remaining 78 for which there is data grouped into the final category. The top 19 end

customer classes of trade account for 95.3 percent of total net sales and 96.9 percent of

transactions in Abbott’s indirect data.

       As this table shows, retail pharmacies are the most common end customer class of trade

in Abbott’s indirect data, accounting for 40.8 percent of transactions and 36.4 percent of sales.

The two next most common are Chain Pharmacy and Chain Pharmacy Warehouse, which

between them account for 36.9 percent of transactions and 33.9 percent of sales.

       An examination of Abbott’s indirect transaction data reveals that the price per package of

a product in a specific quarter does vary to some extent across classes of trade. To shed light on

this issue, I calculate the class of trade specific average price for each product in every quarter

and divide that by the product’s overall average price in the same quarter. I then average this

ratio for each class of trade across all NDC-quarter combinations, weighting by the number of

transactions for the class of trade – product – quarter combination.




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           Given that Abbott provided data for 43 products during the 1994Q1 through 2007Q4

period, the maximum number of ratios for each class of trade is 2,408. When one accounts for

the fact that not all products have sales in every quarter (see the eighth column of Table 7), the

actual maximum number of ratios for each class of trade is 2,095. To the extent that prices tend

to be lower (higher) than the average for a particular class of trade, one would expect this ratio to

fall below (above) one.

           The second-to-last column of Table 8 lists the average ratio of the class of trade specific

price to the overall average price, with the final column listing the number of ratios for each class

of trade. The average ratio of 0.967 for Non-Profit Hospitals indicates that prices for this class

of trade tend to be lower than for other classes of trade. The same is true for Kaiser Hospital

Outpatient Pharmacies (0.789), HMO Outpatient Pharmacies (0.978 for non-profits and 0.897 for

for-profits), and for V.A. Hospitals (0.791. As this same table shows, average prices to Retail

Pharmacies, Closed Pharmacies, and Chain Pharmacies tend to exceed the overall average price,

with average ratios of 1.085, 1.097, and 1.018, respectively.

           One issue with the Abbott indirect data is that there may be some sales by wholesalers of

Complaint products (e.g. those that are made without an Abbott contract) that do not appear in

this data. To the extent that prices for these other transactions deviate from those in Abbott’s

indirect data, the average price to all wholesaler customers may be different. An examination of

Abbott’s direct and indirect data indicates that there are approximately 20 percent fewer

packages purchased from wholesalers in Abbott’s indirect data than there are packages sold to

wholesalers in Abbott’s direct data.9

           To investigate this issue, I compared the prices in Abbott’s indirect data with the prices in

the sales data for Cardinal, which as demonstrated in Table 9 is the third largest wholesaler for
9
    This calculation includes return transactions in the direct data.


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Complaint products during the time period of interest. In my analyses below, I use 125 percent of

Abbott’s average indirect pharmacy price as the alternative AWP. Considering those 1080 NDC-

quarters for which I can calculate an average price in both sets of data, 125 percent of Abbott’s

average indirect pharmacy price is greater than the Cardinal average price in 62.6 percent of

cases (68.8 percent when weighted by sales in each NDC-quarter in Abbott’s indirect data). This

suggests that the alternative AWP that I use will if anything on average overstate the actual

average prices paid to wholesalers for Complaint products.



C. A Comparison of Actual and Reported Prices: The Case of Erythromycin (74632013)

        Using Abbott’s indirect transaction data, one can calculate the average price or other

price statistics such as the median or the 95th percentile for a specific product in a given time

period. To calculate the average price, I aggregate total net sales and divide this by the total

packages sold. I define the time period to be a quarter (January-March, April-June, July-

September, October-December) and thus the unit of observation is an NDC-quarter.10

        The third and fourth columns of Table 10 list the AWP and the actual average price in

Abbott’s indirect data for all end customer classes of trade for the Abbott product with an NDC

of 00074632013. As shown in Section V below, this Abbott product accounts for more

Medicaid spending during the time period considered than any other product included in the

Complaint. In the first quarter of 1994, the average per-package price for this product in the

indirect data was $6.94 versus an AWP of $34.97. Thus the AWP was 5.04 times greater than

the average price at the beginning of the study period, with this ratio declining somewhat to

approximately 3.97 to 1 by the first quarter of 1996.

10
    I drop any NDC-quarter observations with total net sales or total quantity that is negative. I also drop NDC-
quarter-customer observations that do not have a strictly positive number of purchase units. The customer number
that I use is the SHIP-TO customer number because no BILL-TO customer is present.


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           This ratio then remained fairly steady during the next several years and stood at 3.72 to 1

in the second quarter of 2003. This ratio declined to 1.97 to 1 in the subsequent quarter because

of an almost 100 percent increase in the average price (from $9.95 to $18.80) for this product.

This ratio then remained fairly steady for the next few years and never fell below 1.70.

           The fifth column of this same table lists the 95th percentile price for this same Abbott

product. As the table shows, these prices are fairly similar to though somewhat higher than the

average price in each quarter and have similar trends over time. The next two columns of this

same table list the total number of customers and the number of transactions in each quarter in

Abbott’s indirect data for this Erythromycin product.

           In the final four columns of Table 10, I report similar information for transactions

involving only the pharmacy classes of trade described above. Both the level and the trend in the

average price are similar for these classes of trade as for all transactions, with both price statistics

on average somewhat higher for the pharmacy classes of trade. For example, the average

quarterly average price for the pharmacy classes of trade is $13.81 versus a corresponding

average of $13.18 for all customers. The average quarterly pharmacy-specific price data for this

Abbott product are depicted graphically with the corresponding AWP and WAC in Figure 2.



V. CMS Medicaid State Drug Utilization Data

           The third main set of data that I utilize in my analysis consists of Medicaid NDC-based

claims data11 for the 43 Abbott products listed in the Complaint for the 1994Q1 through 2008Q1

period. These claims provide detailed information about drugs dispensed by pharmacies and

reimbursed on an NDC basis by the Medicaid program. Before proceeding to a description of

Medicaid individual-level claims data, in this section I summarize the aggregate data on NDC-
11
     This does not include Medicaid HCPCS (Healthcare Common Procedure Coding System) claims.


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specific Medicaid spending and utilization that is available on the CMS website. This aggregate

data provides a useful overview of how Medicaid spending varied across products, time, and

states for the 43 NDCs in the Complaint during the time period of interest.

        Each state administers its own Medicaid program and virtually every state provides

periodic updates to CMS regarding the total number of prescriptions filled and the total amount

paid for each NDC in every quarter. This information on NDC-state-quarter-specific Medicaid

spending and utilization for the 1991 through 2008Q1 time period is publicly available on the

CMS website at the page headed State Drug Utilization Data (hereafter SDUD).12

        The information listed in Table 11 summarizes Medicaid spending and the number of

NDC-based prescriptions reimbursed by Medicaid as reported on the CMS website for the 43

products listed in the Complaint from the first quarter of 1994 through and including the first

quarter of 2008.13 As the first several columns of this table show, Medicaid spending for these

products varied substantially across states during this time period, from a low of $153 thousand

in Wyoming to a high of $29.385 million in California.14 The number of prescriptions

reimbursed by Medicaid also varied across states, from a low of 17,401 in Washington, D.C. to a

high of 2.842 million in California. Aggregating across all states, the SDUD data indicates that

the total number of prescriptions filled and the amount reimbursed by Medicaid for the

Complaint products during the time period of interest are equal to 10.715 million and $112.976

million, respectively.

        The next four columns of Table 11 provide a breakdown of the number of prescriptions

and total Medicaid spending by NDC. As the table shows, Medicaid spending varies

substantially across the products listed in the Complaint, with a high of $18.556 million for the

12
   See http://www.cms.hhs.gov/MedicaidDrugRebateProgram/SDUD/list.asp.
13
   This information was downloaded from the CMS website on September 29, 2008.
14
   Arizona and Ohio are excluded from this table.


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74632013 Erythromycin product discussed above and a low of $9 thousand for the 74630430.

The number of prescriptions also varies substantially, with just 949 prescriptions filled for the

product 74630430 compared with a high of 1.622 million for the 74632013 product.

          The final four columns of Table 11 list the total number of prescriptions and total

Medicaid spending in each of the 57 quarters from 1994Q1 through and including 2008Q1.

Medicaid spending for the Complaint products declines fairly steadily throughout the time

period, with a maximum of $4.861 million in 1994Q1 to a minimum of $570 thousand by

2007Q3. This decline is driven by the decline in the number of prescriptions filled for Complaint

products, which falls by almost 90 percent from 1994Q1 to 2007Q3.



VI. CMS Medicaid SMRF / MAX Data

          In addition to the aggregate Medicaid data described above, CMS also maintains a large

amount of Medicaid claims data, much of which is summarized on the CMS website at the page

with the heading Medicaid Analytic eXtract (MAX) General Information.15 For the 1999 to 2004

data, the MAX data summarized at this site consists of five sets of files (person summary,

inpatient hospital, long-term care, prescription drugs, and other services) for all fifty states and

the District of Columbia. The prescription drug claim files are the ones that I summarize in this

section. Similar data for prescription drug claims are also available for 30 states in one or more

years from 1991 through 1998, with the data referred to as the State Medicaid Research Files

(SMRF) during this earlier period.

           Table 12A provides a summary of Medicaid spending and the number of claims for the

43 Complaint NDCs for each state from 1999 through 2004. This table also lists state-level

Medicaid spending and the number of prescriptions for Complaint products during the same six-
15
     See http://www.cms.hhs.gov/MedicaidDataSourcesGenInfo/07_MAXGeneralInformation.asp.


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year period as reported in the SDUD data described above. Before comparing these two sets of

data, it is worth noting that my summary of the claims data is based on service dates whereas the

SDUD data are based on the date of payment. Thus one would not expect an exact

correspondence between the two sets of data.

       As the table shows, for most of the states with relatively high Medicaid spending, there is

a close correspondence between Medicaid spending in the two sets of files. For example, there is

less than a two percent difference in spending for the states of Texas, New York, Illinois,

Florida, Kentucky, Louisiana, and Georgia, which are ranked second through eighth in terms of

Medicaid spending on Complaint products during this period. The two main exceptions among

the top fifteen states are California and Tennessee, with expenditure differences of minus 15.3

percent and 22.4 percent, respectively. In the case of Tennessee, the discrepancy appears to be

driven by incomplete SDUD data, which are missing for 5 of the 24 quarters.

       An examination of Medicaid spending in the two data sets for the remaining states

reveals that some other states have large discrepancies. In most of these cases, including the

states of Arkansas, Iowa, Colorado, and Vermont, spending is greater in the MAX data,

suggesting that incomplete SDUD data is the main reason for the discrepancy. But overall, there

is a very close correspondence between the two data sets, with spending of $39.118 million in

the SDUD data versus $38.805 million in the MAX.

       Table 12B repeats this comparison for the 1996 – 1998 period. The key difference

between this table and the previous one is that SMRF data (the name used from 1991 to 1998,

the name MAX was used from 1999 to 2004) is only available for 28 states during this three-year

period. Additionally, only two years of data are provided for the state of California. Once again,

with the exception of California, there is a close correspondence between Medicaid spending in




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the two data sets for states with relatively high Medicaid spending during this three-year period.

For example, in Kentucky according to the SMRF data, there was $1.256 million in Medicaid

spending on Complaint products from 1996 to 1998 versus $1.317 million in the SDUD data.

If one excludes the states of California and Indiana (which also has a relatively large discrepancy

because it has just 4 quarters of SDUD data), Medicaid spending for the remaining 27 states in

the SMRF is $11.218 million versus $10.673 million in the SDUD for these same states for a

difference of just 5.1 percent.

         In Table 12C I report state-level SDUD Medicaid spending and prescriptions versus

SMRF Medicaid spending and claims for the 1994 – 1995 period. Overall, the correspondence

between the two data sets is once again quite close, with the $18.761 million in SMRF spending

just 1.5 percent lower than the $19.041 million in SDUD data for the same states.

         To sum up, Medicaid spending in the SDUD and SMRF/MAX data for the Complaint

products from 1994 to 2004 yields a quite similar picture. And it is important to emphasize that

one would not expect an exact correspondence between the two data sets given that SDUD data

is summarized by payment date while SMRF/MAX data is summarized by service date.



VII. California Medicaid

         According to the CMS SDUD data, the state of California was first among all states in

terms of total Medicaid spending on NDC-based claims for products listed in the Complaint

during the time period considered. The California Department of Health Care Services provided

the United States with Medicaid claims data16, which included claims with service dates from

March of 1994 to December of 2001.


16
  The United States in turn produced this data and the other Medicaid claims data described in this report to Abbott
and to the relator.


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        The California Medicaid NDC-based claims data are summarized in Table 13A. There

are 1,711,518 claims17 for the Complaint NDCs, with Medicaid spending for these claims equal

to $17.241 million. The first panel of this table lists the number of claims and total Medicaid

spending by NDC. All but two of the 43 Complaint NDCs appear in the California Medicaid

claims data. In contrast to the pattern for the U.S. as a whole, California Medicaid spending is

greatest for the 74631613 NDC, which accounts for 30.4 percent of California’s Medicaid

spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. Spending peaks in the first

quarter of 1996 at $1.263 million and then declines steadily along with the number of claims in

the subsequent years.



A. California Medicaid Reimbursement

        The state of California employed an adjudication formula that utilized the Direct Price for

Abbott products through November 30, 2002 and then used the AWP for the remainder of the

time period of interest. The Direct Price was not scaled but the AWP was scaled by 0.90 from

December 2002 through August of 2004 and by 0.83 from September of 2004 through the end of

the period. Through August of 2004, the dispensing fee for both brand and generic drugs was

equal to $4.05,18 with this increasing to $7.25 or $8.00, depending on the characteristics of the

claim, in September of 2004.



17
   There were initially 1,873,208 claims but 161,690 of them were dropped from the sample because they
represented reversals and their pairs or similar adjustments of earlier claims.
18
   In a small number of cases, this was reduced by 25 or 50 percent to $3.03 or $2.02, respectively.


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         In the state of California, the sum of the estimated acquisition cost and the dispensing fee

was compared with the provider charged amount, with California paying the lesser of the two as

specified in the following equation:

                         (1) PAIDjkt = min{(St * Pkt * Ujkt) + Djkt, CHARGEDjkt}

In this equation, Djkt is equal to the dispensing fee for claim j for product k in period t, St is the

scaling factor in effect in period t, Pkt is the published price (either Direct Price or AWP) used for

product k in period t, and Ujkt is the number of units for product k on claim j in period t. For a

large fraction of claims, the actual amount paid was $0.50, $0.25, or $0.10 lower than would be

implied by this equation, reflecting policy-induced reductions in reimbursement amounts. In

some cases, the state would use an alternative price, such as the Federal Upper Limit (FUL) or

state Maximum Allowable Cost (MAC), in place of the scaled published price.19 One of these

prices would only be used if it resulted in lower Medicaid spending than in the case when the

published price was used, in which case the adjudication algorithm described above was the

same, except that the scaled AWP or the Direct Price would be replaced by a FUL or SMAC.



B. The Impact of Alternative Price Parameters on California Medicaid Spending

         Of the 1,711,518 California NDC-based Medicaid claims summarized in Table 13A,

there are 506 with a zero paid amount, 2,892 with a non-zero third party payment amount, and

6,682 from quarters with incomplete data. I exclude these claims from my analysis and an

additional 103 observations for which I am unable to replicate the amount paid and 17 claims for

which I do not have a price from the Abbott transaction data. With these changes, my final

19
  It is worth noting that I have not evaluated the effect of Abbott’s published prices on the calculation of FUL or
MAC prices. To the extent that lower AWPs for Abbott products would result in a lower FUL or MAC, this would
lower Medicaid spending not only for Abbott products but also for other firms’ products within the same drug
group. This is conservative in that it will lead to a smaller overall effect of alternative Abbott AWPs on Medicaid
spending in the analyses that follow.


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analysis sample consists of 1,701,318 claims for Complaint products with service dates from

April of 1994 through December of 2001.

         I then link each claim to the NDC-quarter-specific prices described in the preceding

sections to determine how the use of alternative values for the Direct Price, which was used for

Abbott products throughout the 1994 to 2001 period, would have affected California Medicaid

spending. Because Medicaid payments for outpatient drugs are typically made to pharmacies, I

focus on the three pharmacy classes of trade (A003, A007, M070) in the Abbott transaction data.

As shown in Tables 4 and 8, prices for these three classes of trade tend to exceed those for the

average Abbott customer, which will tend to reduce the discrepancy between the Direct Price

and the actual price of Abbott products. I further focus on Abbott’s direct transaction data given

that California used Abbott’s FDB Direct Price throughout this period.

          One issue that arises in linking the claims to the NDC-quarter price statistics is that there

are no transactions for the three pharmacy classes of trade in the direct data for certain NDC-

quarter combinations. In these cases, I take the maximum of the most recent previous and the

closest subsequent price statistic for that NDC for the three pharmacy classes of trade. 20

         I begin with the average NDC-quarter-specific price from the direct data for the three

pharmacy classes of trade to determine whether Medicaid spending for each claim would have

been different if this price statistic had been used as the Direct Price in California’s Medicaid

adjudication calculations. I first calculate the EAC that would have been calculated if this price

statistic had been used as the Direct Price and then add this to the dispensing fee that prevailed at



20
  Thus for example if I were missing transaction data for a specific product in the fourth quarter of 1996, I would
take the maximum of the corresponding price statistic in the third quarter of 1996 and the first quarter of 1997. If
there is only a price before or after, then I use that price, requiring that the price on either end be within one year. I
use these adjacent prices for 13,368 claims. If there is still no price available, then I use the price for all customers,
and this occurs for an additional 849 claims.


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that time. Additionally, if the amount originally paid was equal to the provider charged amount, I

must determine if the sum of the EAC and the dispensing fee fell below this amount.

       Taking this algorithm to the 1,701,318 claims in my California Medicaid analysis sample,

I find that Medicaid spending would have been lower for 1,658,723 (97.5 percent of the total) of

them. I next define the variable DIFFERENCEsjkt to equal the difference between what

California Medicaid actually paid and what it would otherwise have paid with this alternative

price statistics s for claim j for product k in time period t. Aggregating this variable across the

claims with a strictly positive value of DIFFERENCEsjkt, I find that California Medicaid

spending would have been lower by $5.006 million. This represents a reduction of 30.1 percent

from the actual amount paid of $16.656 million for those claims with a strictly positive value of

DIFFERENCEsjkt and of 29.2 percent of all Medicaid spending for claims in the analysis sample.

Multiplying the total DIFFERENCE in each quarter by the federal Medicaid share in effect for

the state of California in each time period, my results indicate that the federal share of this

amount is $2.523 million. The total number of payments to pharmacies with one or more claims

with a value of DIFFERENCEsjkt greater than zero is 615,590. This information is summarized in

the first row of Table 13B.

       One can repeat this algorithm for alternative price statistics. For example, if instead of

using the pharmacy-specific average price from Abbott’s direct data, I use the 95th percentile

pharmacy-specific price, the number of claims with a strictly positive value of DIFFERENCEsjkt

is 1,116,855, the total value of DIFFERENCE is $3.040 million, and the number of pharmacy

payments with at least one claim with a value of DIFFERENCEsjkt greater than zero is 473,280.

The federal share of this DIFFERENCE is $1.538 million. All of these numbers are somewhat




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lower than in the previous case, when the average price was used, given that the 95th percentile

price typically exceeds the average price.

       Similarly, if one were to scale Abbott’s pharmacy-specific average price in the direct data

by 1.25, the number of claims with DIFFERENCEsjkt greater than zero is 1.622 million (95.3

percent of the total) and the total value of DIFFERENCE is $3.636 million. The federal share of

this DIFFERENCE is $1.831 million and the number of pharmacy payments with at least one

claim with DIFFERENCEsjkt greater than zero is 608,131.

       Instead of restricting attention to just the pharmacy classes of trade, one could consider

all classes of trade in the direct data when calculating average NDC-quarter specific prices. In

this instance, I once again scale the average price by 1.25. The resulting number of claims with a

strictly positive value of DIFFERENCE is slightly larger in this case (1.665 million).

Additionally, the sum of DIFFERENCE aggregated across all claims with a strictly positive

value is larger ($4.297 million, with a federal share of $2.162 million). The number of pharmacy

payments with at least one claim with a value of DIFFERENCE greater than zero is also higher

in this case (616,422). In other words, all of these numbers are larger when I include all classes

of trade to calculate Abbott’s average NDC-quarter-specific prices.

       The average prices used above essentially divide total net revenues in Abbott’s direct

data for an NDC in a quarter by the total quantity sold of that same product in the quarter. Thus

each package sold is treated equally and therefore larger customers will tend to “matter more”

when calculating the average price. An alternative would be to calculate the average per-

customer price, treating every customer with strictly positive sales in the quarter equally. Using

this alternative NDC-quarter specific price statistic, and once again scaling it by 1.25, the

number of claims with a value of DIFFERENCEsjkt greater than zero declines to 1.546 million.




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Similarly, the total value of DIFFERENCEsjkt and the number of pharmacy payments is also

somewhat lower, at $2.720 million (with a federal share of $1.369 million) and 593,465,

respectively. This information is summarized in Table 13B.

       It is worth noting that the variation in DIFFERENCE across the five different scenarios is

considerably greater than the corresponding variation for states that use the AWP or WAC in

their adjudication calculations. This is largely because there is less heterogeneity in Abbott’s

indirect transaction data for the pharmacy classes of trade than in its direct transaction data for

these same classes of trade. For example, an examination of Table 5 reveals that the 95th

percentile pharmacy price for the 74632013 NDC is much greater than the average in Abbott’s

direct data during the first 2.75 years of the study period (though this is no longer true beginning

in 1996Q4). There is, however, very little discrepancy between the average pharmacy price and

the 95th percentile pharmacy price in Abbott’s indirect data during that same period, as shown in

Table 10.



C. The 2002Q1 to 2004Q4 Period

       As described above, the California Medicaid claims data are incomplete after 2001Q4.

According to the MAX data displayed in Table 13C, California’s Medicaid program spent

approximately $3.204 million on Complaint products during the 2002Q1 to 2004Q4 period. To

determine the amount that the state would have paid if, for example, 125 percent of Abbott’s

direct pharmacy average price had been used as the Direct Price when adjudicating Medicaid

claims, I take the following three-step approach for this period. First, I calculate the ratio of the

total DIFFERENCE to the total amount that was actually paid for each NDC in the fourth quarter




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of 2001 and call this value DIFF_FRACj,014 for NDC j in the fourth quarter of 2001. This is the

quarter with state claims data that is closest to the period of interest under consideration.

        Rather than simply multiplying this fraction by Medicaid spending for each NDC in the

subsequent three years, I account for the possibility that Abbott’s published Direct Price and/or

its average pharmacy price were different by applying the following two formulas to each MAX

Medicaid claim for each NDC-quarter during the 2002Q1 to 2004Q4 period:

                     (2) DIFFERENCEjkt = PAIDjkt * DIFF_FRACj,014 * RATIOj,t

          (3) RATIOj,t = min { 1.00, (DPj,t / AVGPRICEj,t) / (DPj,014 / AVGPRICEj,014) }

In this equation, DIFFERENCEjkt represents my estimate of the difference between what

Medicaid spending actually was for claim k and what it would have been if 125 percent of the

average direct pharmacy price had been used as the Direct Price for NDC j in quarter t. PAIDjkt is

equal to the amount of Medicaid spending for claim k for NDC j in quarter t. RATIOj,t is a “ratio

of ratios” that accounts for the possibility that spreads may have been lower in the 2002Q1 to

2004Q4 period than they were in the fourth quarter of 2001. In calculating this, I divide the

quarter specific Direct Price (DP) by the average pharmacy price in each quarter.21 I then divide

this ratio by the corresponding ratio in 2001Q4.

        To the extent that the percentage spread between the Direct Price and the average

pharmacy price was lower in later periods, multiplying by RATIOj,t will reduce DIFF_FRACj,t

below the 2001 quarter 4 value. If the calculated RATIOj,t exceeds 1, I take the conservative

approach of replacing it with 1 so as to never arrive at a value of DIFF_FRACj,t in a later period

for an NDC that is greater than the 2001 quarter 4 value.22


21
   I do not multiply the average by 1.25 in the formula because it would appear in both the numerator and the
denominator and thus cancel out.
22
   One complication to this is that California changes from using a Direct Price to an AWP on December 1, 2002. I
therefore revise the formula above to utilize the AWP as opposed to the Direct Price in subsequent quarters.


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        Before applying this algorithm to the California MAX claims data, I first construct an

analysis sample using a similar method to the one described above that used California’s

Medicaid claims data. Of the 639,015 claims summarized in Table 13C, I drop 2,390 with a

positive other third party payment amount and 86 with an undefined RATIO as described above.

I further drop 379,581 claims with a non-positive amount paid, resulting in an analysis sample of

256,958 claims with $3.182 million in Medicaid spending.

        Applying the algorithm described above for all MAX claims from 2002Q1 to 2004Q4 in

the sample, I calculate a total value of DIFFERENCE of $936,802, with the federal share of this

equal to $484,611. I utilize an analogous algorithm23 for the number of claims with a value of

DIFFERENCE that exceeded zero and estimate that there were 214,649 out of 256,958 claims

during this three-year period with a DIFFERENCE in excess of zero. My results further indicate

that there are 142,579 pharmacy payments24 with at least one claim having a DIFFERENCE

greater than zero.



D. The 2005Q1 to 2005Q3 Period

        As described above, the MAX data only extends until 2004. According to the MSIS data

summarized in Table 13D, the state of California spent $830,360 on Abbott’s Complaint

products from 2005Q1 to 2005Q3. To estimate the total value of DIFFERENCE during this

period, I utilize an algorithm that is analogous to the one described in the preceding section that

used MAX data, though in this case I use MSIS data. Of the 155,990 claims summarized in



23
   I define POSDIFFjkt to be the probability that claim k for NDC j in quarter t has a DIFFERENCE in excess of
zero. I scale the baseline (e.g. 2001Q4) value of POSDIFF for each NDC by RATIOjt to estimate this for each claim
and then aggregate POSDIFFjkt across all claims.
24
   To estimate the number of provider payments with a value of DIFFERENCE greater than zero when using the
SMRF/MAX data, I assign each claim a probability POSDIFFjt (defined in Section VII above) of having
DIFFERENCE greater than zero and then calculate the implied number of provider payments.


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Table 13D, I drop 980 with a positive other third party payment amount, 1 with an undefined

RATIO as described in equation (3), and 92,881 with a non-positive amount paid. This results in

an analysis sample of 62,128 claims with $934,637 in Medicaid spending.

       Applying the algorithm described above on a claim-by-claim basis, I estimate that 51,651

of the claims in the sample have a value of DIFFERENCE that exceeds zero. My results further

indicate that there are 32,035 pharmacy payments with at least one claim having a

DIFFERENCE greater than zero and that the total value of DIFFERENCE is $263,550

($131,775 federal), which represents 28.2 percent of California Medicaid spending on claims for

Abbott’s Complaint products that are in the analysis sample during this nine-month period.



E. The 1994Q1 Period

       As described above, the California state claims data are also incomplete during the

1994Q1 period. I therefore utilize the SMRF data described above and summarized in the first

panel of Table 13E. According to this table, California’s Medicaid program spent $234,380 on

Complaint products during this three-month period. Of the 24,575 claims in the first panel of that

table, I drop 51 with a non-positive amount paid. This results in a sample of 24,524 claims with

$234,380 in Medicaid spending.

       I then apply an algorithm that is analogous to the ones described in the two preceding

sections to the 1994Q1 SMRF data and estimate that the total value of DIFFERENCE during this

period was $24,208 (federal share $12,104). My results further suggest that 19,202 of the 24,524

claims had a value of DIFFERENCE greater than zero and that there are 6,304 pharmacy

payments with at least one claim with a value of DIFFERENCE greater than zero.




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F. The 2005Q4 to 2008Q1 Period

       In this final subsection, I estimate the total value of DIFFERENCE for Abbott’s

Complaint products during the 2005Q4 to 2008Q1 period using the SDUD data summarized in

the second panel of Table 13E. As the table demonstrates, California Medicaid spent $1.346

million on the Complaint products during this period.

       Applying an algorithm that is analogous to the ones described above for the MAX,

SMRF, and MSIS data, my results indicate that California Medicaid spending would have been

$333,327 lower if 125 percent of the average pharmacy indirect price had been used as the AWP

for Abbott’s Complaint products during this period. My results further suggest that 76,897 of the

106,882 California Medicaid claims for Complaint products during this 2.5 year period had a

DIFFERENCE greater than zero.

       Taken together, my results for California for the 1994Q1 to 2008Q1 period indicate a

total value of DIFFERENCE of $5.194 million along with 1.986 million claims and at least

789,049 pharmacy payments with a value of DIFFERENCE greater than zero. The total value of

DIFFERENCE represents 22.8 percent of all California Medicaid spending considered during

this period and the federal share of this DIFFERENCE is $2.627 million.



VIII. Texas Medicaid

       According to the CMS SDUD data, the state of Texas was second among all states in

terms of total Medicaid spending on NDC-based claims for Complaint products during the time

periods considered. The Texas Vendor Drug Program provided the United States with Medicaid

claims data, which included claims with service dates from August 1994 to December 2005.




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        The Texas Medicaid NDC-based claims data are summarized in Table 14A. There are

569,797 claims25 for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $6.489 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All but 13 of the 43 Complaint NDCs appear in the

Texas Medicaid claims data. Consistent with the data for the U.S. as a whole, Texas Medicaid

spending is greatest for the 74632013 NDC, which accounted for 12.3 percent of Texas’s

Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table indicates,

there are no claims after 2005Q4 and the data prior to 1995Q4 are incomplete.



A. Texas Medicaid Reimbursement

        To calculate the estimated acquisition cost for a pharmaceutical product billed to

Medicaid during the time period of interest, the state of Texas used the lower of either the

WEAC (wholesale estimated acquisition cost), DEAC (direct estimated acquisition cost), or

Warehouse price and the MAC (maximum allowable cost) as its measure of estimated

acquisition cost.26 The WEAC was defined to be the lower of 89.51 percent of the AWP and 112

percent of the WAC from May of 1990 through August of 1997. Beginning in September of

1997 and through the present, the WEAC was equal to the lower of 85 percent of the AWP and

112 percent of the WAC. For certain manufacturers including Abbott, the DEAC was based on


25
   There were initially 727,165 claims but 157,368 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.
26
   The price that is compared to the MAC depends on the value of the cost basis submitted variable on the claim. In
virtually every case for Complaint products, it is either the DEAC or the chain warehouse price rather than WEAC.


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prices reported by the manufacturers to the Texas Vendor Drug program regarding the direct

price to pharmacies and to chain warehouses. And in certain time periods for certain multi-

source drugs, a MAC (or FUL) would be used in place of the DEAC and the WEAC because it

would result in a lower amount paid.

         This estimated acquisition cost was then multiplied by the number of units dispensed and

added to a dispensing fee, with this sum then multiplied by a scaling factor.27 Finally, if the

pharmacy provides delivery services to its customers, a delivery fee is added (even if that

particular prescription is not delivered). The calculated amount paid for claim i of drug j at

pharmacy k in period t (CAPijkt) is captured in the following equation:

                                   (4) CAPijkt = St * [(Ejt * Qi) + Ft] + Dkt

In this equation, Ejt represents the price (e.g. WEAC, MAC, DEAC) used for product j in period

t. Ejt is indexed by j and t to capture the fact that it is specific to a product and can change over

time. Qi is equal to the quantity dispensed entered on this claim. Ft is the dispensing fee, which

typically does not vary across drugs at a point in time. Dkt is equal to pharmacy k’s delivery fee

in period t, and this would be equal to zero if the pharmacy did not offer delivery services.28

         This equation for the calculated amount paid (CAPijkt) was in effect throughout the time

period of interest, though the scaling factor St, the dispensing fee Ft, and the delivery fee Dkt have

all changed over time. For example, from the beginning of the time period of interest up through

service dates of August 31, 1997, Dkt was equal to $0.10 for pharmacy k if it provided delivery

services. On September 1, 1997, this delivery fee increased to $0.15. The dispensing fee was

initially equal to $4.55, then increased to $5.27 on September 1, 1997, then declined to $5.14 on


27
   Or, to use the language of the Texas VDP in their Combined Adjudication Calculation with Pharmacy Response
Format document, it is “divided by the profit margin.”
28
   If the difference between the calculated value of CAPijkt and the total ingredient cost (Ejt * Qi) exceeds $200, then
CAPijkt would instead be set equal to (Ejt * Qi) + $200. In other words, the “inventory fee” is capped at $200.


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October 16, 2003, and finally increased to $7.50 on September 1, 2007. And finally, the scaling

factor was equal to (1 / 0.93) during the early years of the sample period, declined to (1 / 0.98)

on September 1, 1997, declined again to (1 / 0.9805) on October 16, 2003, and then increased to

(1 / 0.98) on September 1, 2007.

        Once calculated, CAPijkt is then compared with two other numbers on the pharmacy’s

claim request before determining the paid amount. The first of these is the usual and customary

submitted amount, which is “the price the pharmacy provider most frequently charges the

general public for the same drug.”29 The pharmacy is required to enter this usual and customary

amount on the claim request. The second is the gross amount due, which is “the total amount for

which the pharmacy is requesting payment, less any prior payments the pharmacy may have

received.” Pharmacies are not required to enter the gross amount due on their claim request. If

the claim request is approved, the total amount paid will be equal to the minimum of CAPijkt, the

usual and customary amount, and the gross amount due.



B. The Impact of Alternative AWPs on Texas Medicaid Spending: 1995Q4 – 2005Q4

        Of the 569,797 claims summarized in Table 14A, there are 252 that have a non-positive

paid amount or number of units, 64 with a non-zero third party payment amount, and an

additional 7,224 from quarters with incomplete data. I drop these claims from my analysis

sample. I then drop 132 claims with an invalid dispensing fee and 370 claims for which I do not

have an average price from Abbott’s indirect transaction data. These revisions leave me with a

sample of 561,755 claims accounting for $6.411 million in Texas Medicaid spending.




29
 For a more detailed description of these calculations and definitions, see the Texas VDP’s Combined Adjudication
Calculation with Pharmacy Response Format.


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          I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy direct price as the alternative DEAC price and 125

percent of the average chain warehouse direct price as the alternative chain warehouse price.30

Applying these alternative prices on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 468,577 claims, which represents 83.4 percent of

the claims in the analysis sample. The total value of DIFFERENCE is equal to $1.057 million

($648,858 federal), which represents 16.5 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 282,446 pharmacy payments that had

at least one claim with a value of DIFFERENCE that exceeded zero.



C. The 1994Q1 to 1995Q3 and 2006Q1 to 2008Q1 Periods

          As described above, the Texas Medicaid claims data is incomplete before 1995Q4 and

after 2005Q4. According to the SDUD data displayed in Tables 14B and 14C, the Texas

Medicaid program spent a total of $1.962 million on Complaint products from 1994Q1 to

1995Q3 and from 2006Q1 to 2008Q1. To estimate the total value of DIFFERENCE during these

two periods, I utilize an algorithm that is analogous to the one described above for California.

          My findings indicate that Texas Medicaid spending would have been $104,940 lower

(federal share $66,551) during these before and after periods if 125 percent of Abbott’s average

pharmacy direct price had been used as the alternative DEAC for each NDC-quarter. My results

further indicate that 73,414 of the 195,273 prescriptions during this period had a DIFFERENCE

that exceeded zero.

          Taken together, my results for Texas Medicaid reveal a total DIFFERENCE during the

study period of $1.162 million along with 541,951 claims and at least 282,446 pharmacy
30
     Texas did not typically use the WEAC when calculating the amount paid for Abbott’s Complaint products.


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payments that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE

represents 13.9 percent of all Texas Medicaid spending considered during the 1994Q1 to 2008Q1

period and the federal share of this DIFFERENCE is $715,408.



IX. New York Medicaid

        According to the CMS SDUD data, the state of New York was third among all states in

terms of total Medicaid spending on NDC-based claims for Complaint products during the time

periods considered. The New York Office of the Attorney General provided the United States

with Medicaid claims data. The data included claims with service dates from January of 1994 to

July of 2007.

        The New York Medicaid NDC-based claims data are summarized in Table 15A. There

are 769,531 claims31 for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $8.279 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All but five of the 43 Complaint NDCs appear in

the New York Medicaid claims data. Consistent with the data for the U.S. as a whole, New York

Medicaid spending is greatest for the 74632013 NDC, which accounted for 19.2 percent of New

York’s Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2007Q3 and the data in that final quarter appears to be incomplete. New York




31
  There were initially 849,531 claims but 80,000 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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Medicaid spending on Complaint products during the time periods considered reaches its peak in

the first quarter of 1995 and declines in the subsequent years.



A. New York Medicaid Reimbursement

       The state of New York employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled to calculate

the estimated acquisition cost (EAC) in the state’s adjudication formula varied over time, with a

value of 1.00 in 1994, 0.90 from January of 1995 through June of 2003, and 0.88 from July of

2003 through September of 2004. Three further adjustments were made to this scaling factor, to

0.835, 0.800, and 0.750 in October of 2004, mid-July of 2006, and July of 2007.

       In 1994, the dispensing fee for generic drugs was equal to $2.60, with this increasing to

$5.50 in January of 1995 and then declining to $4.50 in August of 1998. It is also worth noting

that, beginning in January of 1995, there was a recipient co-pay of $0.50 (which increased to

$1.00 in August 2005) for prescriptions and thus the amount paid by New York Medicaid was

slightly lower than it otherwise would have been. In my analyses for New York, I account for the

time period-specific adjudication algorithm when determining the amount that would have been

paid if alternative values had been used for the AWP for Complaint NDCs.

       If an NDC did not have a federal upper payment limit (FUL) in effect, then the sum of

the EAC and the dispensing fee was compared with the provider charged amount, with New

York Medicaid paying the lesser of the two (minus a co-pay of $0.50 or $1.00 in certain time

periods). If instead there was a FUL in effect for product k in period t, then the paid amount was




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equal to the minimum of the provider charged amount and the amount calculated using the

applicable FUL, minus a co-pay of $0.50 or $1.00 in some cases.32



B. The Impact of Alternative AWPs on New York Medicaid Spending: 1994Q1 – 2007Q2

        Of the 769,531 claims summarized in Table 15A, there are 168 with a non-positive

number of units or with a paid amount that is equal to zero, 130 in quarters with incomplete data,

and an additional 4,787 with a non-zero other third party payment amount. I drop these claims

from my analysis sample. I then drop 18,342 claims for which I am unable to replicate the

amount paid and 75 for which I do not have an average price from Abbott’s indirect transaction

data. These revisions leave me with a sample of 746,029 claims accounting for $8.175 million in

New York Medicaid spending.

        I then apply an algorithm analogous to the one described above for the states of

California and Texas. I begin by using the average pharmacy indirect price as the alternative

AWP for each NDC-quarter. Applying this alternative AWP on a claim-by-claim basis, I find

that the value of DIFFERENCE is strictly greater than zero for 497,366 claims, which represents

66.7 percent of the 746,029 claims in the analysis sample.33 The total value of DIFFERENCE is

equal to $2.028 million ($1.018 million federal), which represents 24.8 percent of Medicaid

spending for claims in the analysis sample. My results further indicate that there are 354,438

pharmacy payments with at least one claim with a value of DIFFERENCE that exceeded zero.

        One can repeat this algorithm for alternative price statistics. For example, if instead of

using the pharmacy-specific average price from Abbott’s indirect data, I use the 95th percentile


32
   In the state of New York, in contrast to the treatment of FUL prices, a state maximum allowable cost (SMAC)
price would only be used if it resulted in a lower amount paid than would result from using EAC.
33
   If there was an FUL in place for an NDC then an alternative AWP would not be used even if it would result in a
lower amount paid.


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pharmacy-specific price, the number of claims with a strictly positive value of DIFFERENCEsjkt

is 495,853, the total value of DIFFERENCE is $1.983 million, and the number of pharmacy

payments with at least one claim with a value of DIFFERENCEsjkt greater than zero is 353,300.

The federal share of this DIFFERENCE is $995,556. All of these numbers are slightly lower

than in the previous case, when the average price was used, given that the 95th percentile price

typically exceeds the average price.

       Similarly, if one were to scale Abbott’s pharmacy-specific average price in the indirect

data by 1.25, the number of claims with DIFFERENCEsjkt greater than zero is 479,826 (64.3

percent of the total) and the total value of DIFFERENCE is $1.689 million. The federal share of

this DIFFERENCE is $848,022 and the number of pharmacy payments with at least one claim

with DIFFERENCEsjkt greater than zero is 341,352.

       Instead of restricting attention to just the pharmacy classes of trade, one could consider

all classes of trade in the direct data when calculating average NDC-quarter specific prices. In

this instance, I once again scale the average price by 1.25. The resulting number of claims with a

strictly positive value of DIFFERENCE is slightly larger in this case (483,524). Additionally,

the sum of DIFFERENCE aggregated across all claims with a strictly positive value is larger

($1.795 million). The number of pharmacy payments with at least one claim with a value of

DIFFERENCE greater than zero is also higher in this case (343,859). In other words, all of these

numbers are larger when I include all classes of trade to calculate Abbott’s average NDC-

quarter-specific prices.

       The average prices used above essentially divide total net revenues in Abbott’s indirect

data for an NDC in a quarter by the total quantity sold of that same product in the quarter. Thus

each package sold is treated equally and therefore larger customers will tend to “matter more”




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when calculating the average price. An alternative would be to calculate the average per-

customer price, treating every customer with strictly positive sales in the quarter equally. Using

this alternative NDC-quarter specific price statistic, and once again scaling it by 1.25, the

number of claims with a value of DIFFERENCEsjkt greater than zero declines slightly to

480,018. Similarly, the total value of DIFFERENCEsjkt and the number of pharmacy payments is

also somewhat lower, at $1.689 million (with a federal share of $847,938) and 341,489,

respectively. This information is summarized in Table 15B.

       It is worth noting that the variation across the five scenarios as displayed in Table 15B for

New York, which calculates alternative prices using Abbott’s indirect data is smaller than the

corresponding variation for California, which calculates alternative prices that use Abbott’s

direct data, as shown in Table 13B. This is primarily because, as discussed above, there is less

heterogeneity in prices in Abbott’s indirect data for pharmacy customers than in Abbott’s direct

data for pharmacy customers. It is also worth noting that the vast majority of sales to pharmacies

take place through wholesalers rather than directly from Abbott.

       In the analyses that follow for other states’ Medicaid programs, I use 125 percent of the

average pharmacy indirect price in place of Abbott’s published AWPs when calculating the total

value of DIFFERENCEsjkt and the associated number of claims and pharmacy payments with

DIFFERENCEsjkt greater than zero.



C. The 2007Q3 to 2008Q1 Period

       As described above, the New York Medicaid claims data are incomplete after 2007Q2.

According to the SDUD data displayed in Table 15C, New York’s Medicaid program spent a

total of approximately $122,794 on Complaint products during this period. To estimate the total




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value of DIFFERENCE from 2007Q3 to 2008Q1, I utilize an algorithm that is analogous to the

one described for California and Texas above.

        My findings indicate that New York Medicaid spending would have been approximately

$15,493 lower (federal share $7,746) during these before and after periods if 125 percent of the

average pharmacy indirect price had been used as the AWP in New York’s Medicaid

adjudication calculations. My results further indicate that 7,424 of the 13,815 prescriptions

during this period had a DIFFERENCE that exceeded zero.

        Taken together, my results for New York Medicaid reveal a total DIFFERENCE during

the study period of approximately $1.705 million along with 487,250 claims and at least 341,352

pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of

DIFFERENCE represents 20.3 percent of all New York Medicaid spending considered during

the twelve-year period and the federal share of this DIFFERENCE is $855,769.



X. Illinois Medicaid

        According to the CMS SDUD data, the state of Illinois was fourth among all states in

terms of total Medicaid spending on NDC-based claims for Complaint products during the time

periods considered. The Illinois Department of Healthcare and Family Services provided the

United States with Medicaid claims data. The data included claims with service dates from

January of 1994 to December of 2006.

        The Illinois Medicaid NDC-based claims data are summarized in Table 16A. There are

549,051 claims34 for the Complaint NDCs during the time periods considered with Medicaid

spending for these claims equal to $5.608 million. The first panel of this table lists the number of


34
  There were initially 554,308 claims but 5,257 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the

Illinois Medicaid claims data. Consistent with the data for the U.S. as a whole, Illinois Medicaid

spending is greatest for the 74632013 NDC, which accounted for 20.8 percent of Illinois

Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2006Q4 and the data for the last quarter appear to be incomplete.



A. Illinois Medicaid Reimbursement

        The state of Illinois employed an adjudication formula that utilized the AWP for almost

the entire time period of interest. The amount by which this AWP was scaled in the state’s

adjudication formula for generic products declined from 0.90 to 0.88 on July 1, 1995. Then

beginning on December 15, 2000, the state used the lower of 88 percent of the AWP and 112

percent of the WAC. The state returned to using just the AWP on July 1, 2001, and used a

scaling factor of 0.800 until it declined to 0.750 on July 1, 2002.

        This estimated acquisition cost was then added to a dispensing fee, which for generic

products ranged from $3.58 to $15.00 through June of 1998. More specifically, the dispensing

fee was set equal to ten percent of the ingredient cost, though if the calculated amount fell below

$3.58 or above $15.00 then the dispensing fee used was set to $3.58 and $15.00, respectively.35

These lower and upper bounds changed to $3.69 and $15.45, respectively, on July 1, 1998, and

then to $3.75 and $15.70, respectively on July 1, 1999. On December 15, 2000, the dispensing


35
   From July 1, 1998 through June 30, 1999, the dispensing fee was 10.3 percent of the ingredient cost and from July
1, 1999 through December 14, 2000, the dispensing fee was 10.46 percent of the ingredient cost.


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fee was set to a flat rate of $4.17 that was not a function of the estimated acquisition cost, with

this increasing to $5.10 on July 1, 2001 and then falling to $4.60 on July 1, 2002.

       The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Illinois Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC price would be used to calculate the estimated ingredient cost if

one was in effect for a certain NDC in the relevant time period and if it would result in a lower

amount paid.



B. The Impact of Alternative AWPs on Illinois Medicaid Spending: 1994Q1 – 2006Q3

       Of the 549,051 claims summarized in Table 16A, there are 11,605 that have a non-

positive paid amount or number of units, 595 with a paid amount that is greater than the provider

billed amount, 26,450 with a non-zero third party payment amount, and an additional 2,659 from

quarters with incomplete data. I drop these claims from my analysis sample. I then drop 92,731

claims for which I am unable to replicate the amount paid and 63 for which I do not have an

average price from Abbott’s indirect transaction data. These revisions leave me with a sample of

414,948 claims accounting for $4.212 million in Illinois Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 404,454 claims, which represents 97.5 percent of

the 414,948 claims in the analysis sample. The total value of DIFFERENCE is equal to $1.306

million ($652,613 federal), which represents 31.0 percent of Medicaid spending for claims in the




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analysis sample. My results further indicate that there are 293,800 pharmacy payments that had

at least one claim with a value of DIFFERENCE that exceeded zero.



C. The 2006Q4 to 2008Q1 Period

       As described above, the Illinois Medicaid claims data are incomplete after 2006Q3.

According to the SDUD data displayed in Table 16B, the Illinois Medicaid program spent a total

of approximately $245,740 on Complaint products during this period. To estimate the total value

of DIFFERENCE from 2006Q4 to 2008Q1, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Illinois Medicaid spending would have been $20,837 lower

(federal share $10,419) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Illinois’s Medicaid adjudication

calculations. My results further indicate that 17,980 of the 26,040 prescriptions during this period

had a DIFFERENCE that exceeded zero.

       Taken together, my results for Illinois Medicaid reveal a total DIFFERENCE during the

study period of approximately $1.327 million along with 422,434 claims and at least 293,800

pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of

DIFFERENCE represents 22.8 percent of all Illinois Medicaid spending considered during the

1994Q1 to 2008Q1 period and the federal share of this DIFFERENCE is $663,032.



XI. Florida Medicaid

       According to the CMS SDUD data, the state of Florida was fifth among all states in terms

of total Medicaid spending on NDC-based claims for Abbott’s Complaint products during the




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time period considered. ACS Government HealthCare Solutions provided the United States with

Medicaid claims data, which included claims with service dates from January of 1994 to

December of 2005.

        The Florida Medicaid NDC-based claims data are summarized in Table 17A. There are

373,137 claims36 for the 43 Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $3.993 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the

Florida Medicaid claims data. Consistent with the data for the U.S. as a whole, Florida Medicaid

spending is greatest for the 74632013 NDC, which accounted for 16.4 percent of Florida’s

Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2005Q4 and Florida Medicaid spending on Complaint products peaks in

1994Q1, which is the first quarter of the time period considered.



A. Florida Medicaid Reimbursement

        From 1994 through June 30, 1999, Florida used 107 percent of a product’s WAC as its

estimated per-unit acquisition cost, which was then multiplied by the number of allowed units to

determine the total estimated acquisition cost. On July 1, 1999, this methodology was changed to

pay the minimum of 88.5 percent of the AWP, 107 percent of the Direct Price, and 107 percent

of the WAC, with this algorithm remaining in effect through June 30, 2000. From July of 2000


36
  There were initially 373,558 claims but 421 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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through April 29, 2002, Florida Medicaid paid 86.75 percent of the AWP. This was then changed

on April 30, 2002 to be the lesser of 86.75 percent of the AWP and 107 percent of the WAC.

This formula was changed again on July 1, 2004, to be the lower of 84.6 percent of the AWP and

105.75 percent of the WAC, and again on July 1, 2008 when the corresponding scaling factors

were 83.6 percent and 104.75 percent, respectively. This estimated ingredient cost was then

added to a dispensing fee, which was typically equal to $4.23 throughout the study period.

       The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Florida Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC (state maximum allowable cost) price would be used to calculate

the estimated acquisition cost if one was in effect for a certain NDC in the relevant time period

and if it would result in a lower amount paid.



B. The Impact of Alternative WACs and AWPs on Florida Medicaid Spending:1994Q1 – 2005Q4

       Of the 373,137 claims summarized in Table 17A, there are 181 with a zero paid amount

or zero number of units, 15 with a paid amount that is greater than the provider-billed amount,

and an additional 1,183 claims with a non-zero third party or patient liability payment amount. I

drop these claims from my analysis sample. I then drop 3,237 claims for which I am unable to

replicate the amount paid, 12 claims for which I do not have an average price from Abbott’s

transaction data, and 82 claims with a non-valid dispensing fee or with a paid amount that is less

than the dispensing fee. These revisions result in a sample of 368,427 claims, accounting for

$3.957 million in Florida Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states.

The key difference between Florida and the preceding states is that Florida uses the WAC




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throughout much of the time period. As above, I use 125 percent of the average pharmacy

indirect price as the alternative AWP for those NDC-quarters when it is in effect and take the

average price for the wholesaler class of trade in Abbott’s direct transaction data for the

alternative WAC. Applying these alternative prices on a claim-by-claim basis, I find that the

value of DIFFERENCE is strictly greater than 0 for 348,717 claims, which represents 94.7

percent of all claims in the analysis sample. The total value of DIFFERENCE is equal to $1.016

million ($578,239 federal), which represents 25.5 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 243,439 pharmacy payments that had

at least one claim with a value of DIFFERENCE that exceeded zero.

        One possible concern with using the average wholesaler direct price as the alternative

WAC is that it will include sales to all classes of trade. To the extent that pharmacy customers

tend to pay higher prices, the acquisition cost may on average be greater for these purchases.37

To consider this possibility, I instead replace the WAC with the average indirect pharmacy price.

In this case, the total value of DIFFERENCE with this alternative WAC is slightly higher at

$1.079 million ($612,481 federal), which represents 27.0 percent of Medicaid spending for

claims in the analysis sample. My results further indicate that there are 355,665 claims and

246,186 pharmacy payments with a value of DIFFERENCE that exceeds zero. Because the total

DIFFERENCE is higher in this case, I instead use the average wholesaler price from Abbott’s

direct transaction data as the alternative WAC in the analyses that follow.



C. The 2006Q1 to 2008Q1 Period



37
  Suppose, for example, that pharmacies pay an average of 105 while hospitals pay 95. If there is an equal number
of both types of customers, the direct wholesaler average will be 100 (even lower if there is a wholesaler markup)
versus an average pharmacy indirect price of 105.


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        As described above, the Florida Medicaid claims data are incomplete after 2005Q4.

According to the SDUD data displayed in Table 17B, Florida’s Medicaid program spent a total

of $346,166 on Complaint products during this period. To estimate the total value of

DIFFERENCE from 2006Q1 to 2008Q1, I utilize an algorithm that is analogous to the one

described above for the preceding states.

        My findings indicate that Florida Medicaid spending would have been $80,990 lower

(federal share $47,311) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP and the average wholesaler direct price had

been used as the WAC in Florida’s Medicaid adjudication calculations.38 My results further

indicate that 27,727 of the 29,870 prescriptions during this period had a DIFFERENCE that

exceeded zero.

        Taken together, my results for Florida Medicaid reveal a total DIFFERENCE during the

study period of approximately $1.097 million along with 376,444 claims and at least 243,439

pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of

DIFFERENCE represents 25.3 percent of all Florida Medicaid spending considered during the

1994Q1 to 2008Q1 period and the federal share of this DIFFERENCE is $625,550.



XII. Kentucky Medicaid

        According to the CMS SDUD data, the state of Kentucky was sixth among all states in

terms of total Medicaid spending on NDC-based claims for Complaint products during the time

periods considered. The Kentucky Office of the Attorney General provided the United States




38
  Given the relationship between Abbott’s published AWP and WAC during this period, the two EACs would have
been equal from 2006Q1 to 2008Q1.


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with Medicaid claims data. The data included claims with service dates from January of 1995 to

February of 2005.

           The Kentucky Medicaid NDC-based claims data are summarized in Table 18A. There are

276,248 claims for the 43 Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $3.194 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All of the 43 Complaint NDCs appear in the

Kentucky Medicaid claims data. Consistent with the data for the U.S. as a whole, Kentucky

Medicaid spending is greatest for the 74632013 NDC, which accounted for 20.2 percent of

Kentucky’s Medicaid spending on Complaint products.

           The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2005Q1. Kentucky Medicaid spending on Complaint products during the time

periods considered reached its peak in the first quarter of 1996 and declined steadily thereafter.



A. Kentucky Medicaid Reimbursement

           The state of Kentucky employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled in the state’s

adjudication formula declined from 0.90 to 0.88 on April 1, 2002 and then declined again to 0.86

on February 23, 2005. The estimated acquisition cost was then added to a dispensing fee, which

decreased for all products from $4.75 to $4.51 on January 16, 2001 and then increased to $5.00

for generic products on February 23, 2005.39



39
     From 1994 through January 14, 2001, Kentucky Medicaid paid a $5.75 dispensing fee for nursing home residents.


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       The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount and with the gross amount due, with the Kentucky Medicaid program

paying the lowest of the three. In certain cases, a FUL or SMAC price would be used to calculate

the estimated acquisition cost if one was in effect for a certain NDC in the relevant time period

and if it would result in a lower amount paid.



B. The Impact of Alternative AWPs on Kentucky Medicaid Spending: 1995Q1 – 2005Q1

       Of the 276,248 claims summarized in Table 18A, there are 26 with a non-positive

number of units or paid amount, 2 with an amount paid greater than the amount charged, and

1,275 with a non-zero other third party payment amount. I drop these claims from my analysis

sample. I then drop 2,042 claims for which I am unable to replicate the amount paid and 31 for

which I do not have an average price from Abbott’s transaction data. These revisions leave me

with a sample of 272,872 claims accounting for $3.163 million in Kentucky Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 257,052 claims, which represents 94.2 percent of

the 272,872 claims in the analysis sample. The total value of DIFFERENCE is equal to $910,963

($640,018 federal share), which represents 28.5 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 139,353 pharmacy payments that had

at least one claim with a value of DIFFERENCE that exceeded zero.



C. The 1994Q1 to 1994Q4 Period




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       As described above, the Kentucky state claims data are incomplete prior to 1995Q1. I

therefore utilize the SMRF data described above and summarized in Table 18B. According to

this table, Kentucky’s Medicaid program spent $562,135 on Complaint products during this one-

year period. Of the 52,332 claims in the first panel of that table, I drop 3,322 with a positive

other third party payment amount, 10 with an undefined RATIO, and 14 with a paid amount that

exceeds the billed amount. This results in a sample of 48,986 claims with $530,979 in Medicaid

spending.

       I then apply an algorithm that is analogous to the ones described for the preceding states

to the 1994 SMRF data and estimate that the total value of DIFFERENCE during this period was

$115,540 (federal share $81,450). My results further suggest that 42,224 claims had a value of

DIFFERENCE greater than zero and that there are at least 91 pharmacy payments with at least

one claim with a value of DIFFERENCE greater than zero.



D. The 2005Q2 to 2005Q3 Period

       As described above, the Kentucky Medicaid claims data are incomplete after 2005Q1 and

the SMRF/MAX data is not available after 2004. However, there are CMS MSIS claims from

Kentucky for 2005Q2 and for 2005Q3, and thus I use them in lieu of the SMRF/MAX data

during this six-month period. According to the MSIS data summarized in Table 18C, Kentucky’s

Medicaid program spent $69,260 on Abbott Complaint products during the 2005Q2 to 2005Q3

period. To estimate the value of DIFFERENCE during this period, I utilize an algorithm that is

analogous to the one described above for the preceding states. From the sample of 7,216 claims

summarized in Table 18C, I drop 49 with a positive other third party payment amount and 970




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with a non-positive amount paid. This leaves me with a sample of 6,197 claims with $69,733 in

Medicaid spending.

       Applying the algorithm described above on a claim-by-claim basis, I determine that 5,622

of the claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My

results further indicate that there are 3,397 pharmacy payments with at least one claim with a

value of DIFFERENCE that exceeds zero and that the total value of DIFFERENCE is $17,966

($12,504 federal), which represents 25.8 percent of Kentucky Medicaid spending on Complaint

products in the sample during this period.



E. The 2005Q4 to 2008Q1 Period

       As described above, the Kentucky Medicaid claims data are incomplete after 2005Q1 and

the MSIS data covers through 2005Q3. According to the SDUD data displayed in Table 18D, the

Kentucky Medicaid program spent a total of $314,787 on Complaint products during the 2005Q4

to 2008Q1 period. To estimate the total value of DIFFERENCE from 2005Q4 to 2008Q1, I

utilize an algorithm that is analogous to the one described above for the preceding states.

       My findings indicate that Kentucky Medicaid spending would have been $69,568 lower

(federal share $48,325) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Kentucky’s Medicaid adjudication

calculations. My results further indicate that 21,715 of the 27,565 prescriptions during this period

had a DIFFERENCE that exceeded zero.

       Taken together, my results for Kentucky Medicaid reveal a total DIFFERENCE during

the study period of approximately $1.114 million along with 355,620 claims and at least 142,841

pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of




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DIFFERENCE represents 26.9 percent of all Kentucky Medicaid spending considered during the

1994Q1 to 2008Q1 period and the federal share of this DIFFERENCE is $782,298.



XIII. Georgia Medicaid

        According to the CMS SDUD data, the state of Georgia was seventh among all states in

terms of total Medicaid spending on NDC-based claims for Complaint products during the time

period considered. The Georgia Department of Audits and Accounts provided the United States

with Medicaid claims data. The data included claims with service dates from October of 2000 to

December of 2006.

        The Georgia Medicaid NDC-based claims data are summarized in Table 19A. There are

120,516 claims40 for the Complaint NDCs during the time period considered, with Medicaid

spending for these claims equal to $1.200 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the

Georgia Medicaid claims data. Consistent with the data for the U.S. as a whole, Georgia

Medicaid spending is greatest for the 74632013 NDC, which accounted for 18.4 percent of

Georgia’s Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims before 2000Q4 or after 2006Q4. Additionally, spending remained fairly steady

until the first quarter of 2005 and then declined substantially during the next several quarters.




40
  There were initially 169,305 claims but 48,789 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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A. Georgia Medicaid Reimbursement

        The state of Georgia employed an adjudication formula that utilized the AWP throughout

the time period of interest. The amount by which this AWP was scaled in the state’s adjudication

formula declined from 0.90 to 0.89 in July of 2004. The estimated acquisition cost was then

added to a dispensing fee. In 1994 and 1995, Georgia would pay 10 percent of the estimated

acquisition cost as the dispensing fee, up to a maximum $15.00. The dispensing fee then

changed to $4.41 on January 1, 1996,41 then increased to $4.63 in July of 1998, to $5.13 in April

of 2001, and fell to $4.63 in July of 2005.42

        The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Georgia Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC (state maximum allowable cost) price would be used to calculate

the estimated ingredient cost if one was in effect for a certain NDC in the relevant time period

and if it would result in a lower amount paid.



B. The Impact of Alternative AWPs on Georgia Medicaid Spending: 2000Q4 – 2006Q4

        Of the 120,516 claims summarized in Table 19A, there are 435 that have a non-positive

billed or paid amount, 38,041 with an amount paid that exceeds the amount billed, and an

additional 1,948 with a non-zero deductible or other third party payment amount. I drop these

claims from my analysis sample. I then drop 96 claims with an amount paid that is less than the

dispensing fee, 9 for which I am unable to replicate the amount paid, and 7 for which I do not



41
   Between November 1, 1996 and March 31, 1998, pharmacies serving a nursing home resident would instead
receive $18.00 per month as a prescription monitoring fee rather than a per-prescription dispensing fee.
42
   The dispensing fees were lower by $0.30 for not-for-profit pharmacies. Additionally, between April 1, 2001 and
March 14, 2002, a $0.50 generic incentive fee was paid for generic or preferred drugs and between March 15, 2002
and June 30, 2005, the $0.50 incentive only applied to generics. This incentive was discontinued on July 1, 2005.


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have an average price from Abbott’s transaction data. These revisions leave me with a sample of

79,980 claims accounting for $774,707 in Georgia Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states

and 125 percent of Abbott’s average pharmacy indirect price as the alternative AWP. Applying

these alternative prices on a claim-by-claim basis, I find that the value of DIFFERENCE is

strictly greater than zero for 79,326 claims, which represents 99.2 percent of all claims in the

analysis sample. The total value of DIFFERENCE is equal to $313,406 ($188,453 federal),

which represents 40.5 percent of Medicaid spending for claims in the analysis sample. My results

further indicate that there are 61,445 pharmacy payments that had at least one claim with a value

of DIFFERENCE that exceeded zero.



C. The 1994Q1 to 2000Q3 Period

       As described above, the Georgia Medicaid claims data are incomplete prior to 2000Q4.

According to the SMRF/MAX data summarized in Table 19B, Georgia’s Medicaid program

spent a total of approximately $2.573 million on Complaint products during this period. To

estimate the total value of DIFFERENCE from 1994Q1 to 2000Q3, I utilize an algorithm that is

analogous to the one described above for the preceding states using SMRF/MAX data. Of the

248,090 claims summarized in Table 19B, I drop 33 with a non-positive amount paid, 215 with a

paid amount greater than the billed amount, 49 with a positive other third party payment amount,

and 4 with an undefined RATIO as described in equation (3). This results in a sample of 247,789

claims with $2.568 million in Medicaid spending.

       Applying the algorithm described above on a claim-by-claim basis, I determine that

211,228 of the 247,789 claims remaining in my sample have a value of DIFFERENCE that




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exceeds zero. My results further indicate that there are 125,801 pharmacy payments with at least

one claim having a DIFFERENCE greater than zero and that the total value of DIFFERENCE is

$1.262 million ($775,446 federal), which represents 49.1 percent of Georgia Medicaid spending

on Abbott’s Complaint products in the sample during this period.



D. The 2007Q1 to 2007Q4 Period

       As described above, the Georgia Medicaid claims data are incomplete after 2006Q4.

According to the SDUD data displayed in Table 19C, the Georgia Medicaid program spent a

total of $37,990 on Complaint products during this period. To estimate the total value of

DIFFERENCE from 2007Q1 to 2007Q4, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Georgia Medicaid spending would have been $9,531 lower

(federal share $5,932) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Georgia’s Medicaid adjudication

calculations. My results further indicate that 4,147 of the 4,219 prescriptions during this period

had a DIFFERENCE that exceeded zero.

       Taken together, my results for Georgia Medicaid reveal a total DIFFERENCE during the

study period of approximately $1.585 million along with 331,988 claims and 187,246 pharmacy

payments that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE

represents 41.6 percent of all Georgia Medicaid spending considered during the 1994Q1 to

2008Q1 period and the federal share of this DIFFERENCE is $969,831.




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XIV. Pennsylvania Medicaid

        According to the CMS SDUD data, the state of Pennsylvania was eighth among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time periods considered. The Pennsylvania Department of Public Welfare provided the United

States with Medicaid claims data. The data included claims with service dates from December of

1997 to March of 2007.

        The Pennsylvania Medicaid NDC-based claims data are summarized in Table 20A. There

are 94,541 claims43 for the Complaint NDCs during the time periods considered, with Medicaid

spending for these claims equal to $1.004 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the

Pennsylvania Medicaid claims data. Consistent with the data for the U.S. as a whole,

Pennsylvania Medicaid spending is greatest for the 74632013 NDC, which accounted for 20.0

percent of Pennsylvania’s Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2007Q1. Pennsylvania Medicaid spending on Complaint products during the

time periods considered reaches its peak in the first quarter of 1999 and declines thereafter.



A. Pennsylvania Medicaid Reimbursement

        The state of Pennsylvania employed an adjudication formula that utilized the AWP from

1994 through August 9, 2005. The amount by which this AWP was scaled in the state’s


43
  There were initially 104,596 claims but 10,055 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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adjudication formula declined from 1.00 to 0.90 on October 1, 1995. Then on August 10, 2005,

the state took the lower of 166 percent of the WAC and 75 percent of the AWP. The estimated

acquisition cost was then added to a dispensing fee, which increased from $3.50 to $4.00 on

October 1, 1995.

        The sum of the estimated ingredient cost and the dispensing fee is compared with the

provider charged amount, with the Pennsylvania Medicaid program paying the lesser of the two.

In certain cases, a FUL or SMAC (state maximum allowable cost) price would be used to

calculate the estimated ingredient cost if one was in effect for a certain NDC in the relevant time

period and if it would result in a lower amount paid.



B. The Impact of Alternative AWPs on Pennsylvania Medicaid Spending: 1998Q3 – 2007Q1

        Of the 94,541 claims summarized in Table 20A, there are 64 compound drug claims, 237

with a non-positive number of units or paid amount, 1,873 with a paid amount that is greater than

the provider billed amount, 1,202 from quarters with incomplete data, and an additional 3,362

with a non-zero other third party payment amount. I drop these claims from my analysis sample

and also drop 1,528 for which I cannot replicate the amount paid and 104 for which I do not have

an average price from Abbott’s transaction data. These revisions leave me with a sample of

86,171 claims accounting for $927,856 in Pennsylvania Medicaid spending.

        I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter.44 Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 84,659 claims, which represents 98.2 percent of


44
 Given the relationship between Abbott’s AWPs and WACs, the AWP will result in a lower amount paid when the
WAC was added to the adjudication formula.


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the 86,171 claims in the analysis sample. The total value of DIFFERENCE is equal to $325,867

($176,977 federal), which represents 35.1 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 52,995 pharmacy payments that had at

least one claim with a value of DIFFERENCE that exceeded zero.



C. The 1994Q1 to 1998Q2 Period

        As described above, the Pennsylvania Medicaid claims data are incomplete prior to

1998Q3. According to the SMRF data summarized in Table 20B, Pennsylvania’s Medicaid

program spent a total of approximately $2.150 million on Complaint products during this period.

To estimate the total value of DIFFERENCE from 1994Q1 to 1998Q2, I utilize an algorithm that

is analogous to the one described above for the preceding states applied to SMRF claims data. Of

the 216,532 claims summarized in Table 20B, I drop 1,166 with a positive other third party

payment amount, 21 with an undefined RATIO as described in equation (3), and 4,233 with a

paid amount greater than the billed amount. This results in an analysis sample of 211,112 claims

with $2.101 million in Medicaid spending.

        Applying the algorithm described above on a claim-by-claim basis, I determine that

193,429 claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My

results further indicate that there are 63,276 pharmacy payments45 with at least one claim having

a DIFFERENCE greater than zero and that the total value of DIFFERENCE is $731,855

($392,308 federal), which represents 34.0 percent of Pennsylvania Medicaid spending on Abbott

Complaint products in this analysis sample.



45
  To estimate the number of provider payments with a value of DIFFERENCE greater than zero when using the
SMRF/MAX data, I assign each claim a probability POSDIFFjt (defined in Section VII above) of having
DIFFERENCE greater than zero and then calculate the implied number of provider payments.


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D. The 2007Q2 to 2008Q1 Period

       As described above, the Pennsylvania Medicaid claims data are incomplete after 2007Q1.

According to the SDUD data displayed in Table 20C, Pennsylvania’s Medicaid program spent a

total of approximately $58,996 on Complaint products during this period. To estimate the total

value of DIFFERENCE from 2007Q2 to 2008Q1, I utilize an algorithm that is analogous to the

one described above for the preceding states.

       My findings indicate that Pennsylvania Medicaid spending would have been

approximately $17,346 lower (federal share $9,407) during these before and after periods if 125

percent of the average pharmacy indirect price had been used as the AWP in Pennsylvania’s

Medicaid adjudication calculations. My results further indicate that 6,000 of the 6,106

prescriptions during this period had a DIFFERENCE that exceeded zero.

       Taken together, my results for Pennsylvania Medicaid reveal a total DIFFERENCE

during the study period of approximately $1.075 million along with 284,088 claims and at least

116,271 pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of

DIFFERENCE represents 33.6 percent of all Pennsylvania Medicaid spending considered during

the 1994Q1 to 2008Q1 period and the federal share of this DIFFERENCE is $578,692.



XV. North Carolina Medicaid

       According to the CMS SDUD data, the state of North Carolina was ninth among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time periods considered. The ACS Government Healthcare Solutions provided the United States

with Medicaid claims data. The data included claims with service dates from January of 2001 to

March of 2007.




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       The North Carolina Medicaid NDC-based claims data are summarized in Table 21A.

There are 84,822 claims for the Complaint NDCs during the time periods considered, with

Medicaid spending for these claims equal to $971,013. The first panel of this table lists the

number of claims and total Medicaid spending by NDC. All but two of the 43 Complaint NDCs

appear in the North Carolina Medicaid claims data. Consistent with the data for the U.S. as a

whole, North Carolina Medicaid spending is greatest for the 74632013 NDC, which accounted

for 24.0 percent of North Carolina’s Medicaid spending on Complaint products.

       The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims before 2001Q1 or after 2007Q1. North Carolina Medicaid spending on Complaint

products during the time periods considered reaches its peak in the fourth quarter of 2003 and

declines by more than 50 percent during the next three years.



A. North Carolina Medicaid Reimbursement

       The state of North Carolina employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled in the state’s

adjudication formula was 0.90 throughout the time period. The estimated acquisition cost was

then added to a dispensing fee, which was $5.60 throughout the study period.

       The sum of the estimated ingredient cost and the dispensing fee is compared with the

provider charged amount, with the North Carolina Medicaid program paying the lesser of the

two. In certain cases, a FUL or SMAC (state maximum allowable cost) price would be used to




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calculate the estimated ingredient cost if one was in effect for a certain NDC in the relevant time

period and if it would result in a lower amount paid.



B. The Impact of Alternative AWPs on North Carolina Medicaid Spending: 2000Q1 – 2007Q1

       Of the 84,822 claims summarized in Table 21A, there are 141 that have a non-positive

number of units or paid amount, 27 that are compound drug claims, 11 with an amount paid that

exceeds the amount charged, and an additional 620 with a non-zero deductible or other third

party payment amount. I drop these claims from my analysis sample. I then drop 1 claim for

which I am unable to replicate the amount paid and 7 for which I do not have an average price

from Abbott’s transaction data. These revisions leave me with a sample of 84,015 claims

accounting for $964,551 in North Carolina Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 80,116 claims, which represents 95.4 percent of

the claims in the analysis sample. The total value of DIFFERENCE is equal to $294,322

($185,923 federal), which represents 30.5 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 62,064 pharmacy payments that had at

least one claim with a value of DIFFERENCE that exceeded zero.



C. The 1999Q1 to 2000Q4 Period

       As described above, the North Carolina Medicaid claims data are incomplete prior to

2001Q1. According to the MAX data summarized in Table 21B, North Carolina’s Medicaid




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program spent a total of approximately $422,523 on Complaint products during this period. To

estimate the total value of DIFFERENCE from 1999Q1 to 2000Q4, I utilize an algorithm that is

analogous to the one described above for the preceding states using SMRF/MAX/MSIS data. Of

the 36,402 claims summarized in Table 21B, I drop 2 with a paid amount greater than the billed

amount and 60 with a positive other third party payment amount. This results in a sample of

36,340 claims with $422,102 in Medicaid spending.

       Applying the algorithm described above on a claim-by-claim basis, I determine that

33,626 claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My

results further indicate that there are 23,905 pharmacy payments with at least one claim having a

DIFFERENCE greater than zero and that the total value of DIFFERENCE is $124,234 ($77,916

federal), which represents 29.4 percent of North Carolina Medicaid spending on Abbott

Complaint products in the sample during this period.



D. The 1994Q1 to 1998Q4 and 2007Q2 to 2008Q1 Periods

       As described above, the North Carolina Medicaid claims data combined with the SMRF /

MAX data is incomplete before 1999Q1 and after 2007Q1. According to the SDUD data

displayed in Tables 21C and 21D, the North Carolina Medicaid program spent a total of $1.845

million on Complaint products from 1994Q1 to 1998Q4 and from 2007Q2 to 2008Q1. To

estimate the total value of DIFFERENCE during these two periods, I utilize an algorithm that is

analogous to the one described above for the preceding states.

       My findings indicate that North Carolina Medicaid spending would have been $470,029

lower (federal share $302,264) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in North Carolina’s Medicaid adjudication




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calculations. My results further indicate that 147,570 of the 171,059 prescriptions during this

period had a DIFFERENCE that exceeded zero.

       Taken together, my results for North Carolina Medicaid reveal a total DIFFERENCE

during the study period of $888,585 along with 261,312 claims and at least 85,969 pharmacy

payments that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE

represents 27.4 percent of all North Carolina Medicaid spending considered during the 1994Q1

to 2008Q1 period and the federal share of this DIFFERENCE is $566,103.



XVI. Massachusetts Medicaid

       According to the CMS SDUD data, the state of Massachusetts was tenth among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time period considered. The Massachusetts Office of Health and Human Services provided the

United States with Medicaid claims data. The data included claims with service dates from July

of 1995 to December of 2007.

       The Massachusetts Medicaid NDC-based claims data are summarized in Table 22A.

There are 255,840 claims for the Complaint NDCs, during the time periods considered with

Medicaid spending for these claims equal to $2.332 million. The first panel of this table lists the

number of claims and total Medicaid spending by NDC. All but three of the 43 Complaint NDCs

appear in the Massachusetts Medicaid claims data. Consistent with the data for the U.S. as a

whole, Massachusetts Medicaid spending is greatest for the 74632013 NDC, which accounted

for 37.8 percent of the state’s Medicaid spending on Complaint products.

       The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date




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instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2007Q4 and the data prior to 1996Q3 appear to be incomplete.

Massachusetts Medicaid spending on Complaint products during this period peaked in the fourth

quarter of 1996 and declined steadily during the next eleven years.



A. Massachusetts Medicaid Reimbursement

        The state of Massachusetts employed an adjudication formula that used a scaled WAC46

throughout the time period of interest. The amount by which the WAC was scaled varied over

time, falling from 1.10 to 1.06 on August 3, 2002, and then to 1.05 on July 1, 2004.47 The

standard dispensing fee fell from $4.06 to $3.00 on February 1, 1995, then increased to $3.50 on

November 1, 2002, and finally fell to $3.00 on December 1, 2003.

        The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Massachusetts Medicaid program paying the lesser of the

two. In certain cases, a FUL or SMAC price would be used to calculate the estimated ingredient

cost if one was in effect for a certain NDC in the relevant time period and if it would result in a

lower amount paid.



B. The Impact of Alternative WACs on Massachusetts Medicaid Spending: 1996Q3 – 2007Q4

        Of the 255,840 claims summarized in Table 22A, there are 3,319 with a non-positive

number of units or paid amount, 151 with a paid amount that is greater than the provider billed

amount, 3,158 in quarters with incomplete data, and an additional 5,642 with a non-zero other


46
   If no WAC was available, a scaled AWP was used, with a scaling factor that fell from 0.90 to 0.88 on December
17, 2001, then to 0.848 on August 3, 2002, and finally to 0.840 on April 1, 2003.
47
   This last change was scheduled to take effect on April 1, 2003, but this was delayed because of a preliminary
injunction.


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third party payment amount. I drop these claims from my analysis sample. I then drop 6,888

claims with a paid amount less than the dispensing fee or an invalid dispensing fee and 1 for

which I do not have an average price from Abbott’s transaction data. These revisions result in a

sample of 236,681 claims accounting for $2.253 million in Massachusetts Medicaid spending.

        I then apply an algorithm analogous to the one described above for the preceding states. I

use the average wholesaler direct price as the alternative WAC for each NDC-quarter. Applying

these alternative prices on a claim-by-claim basis, I find that the value of DIFFERENCE is

strictly greater than zero for 218,536 claims, which represents 92.3 percent of all claims in the

analysis sample. The total value of DIFFERENCE is equal to $758,043 ($379,306 federal),

which represents 33.6 percent of Medicaid spending for claims in the analysis sample. My results

further indicate that there are 105,335 pharmacy payments that had at least one claim with a

value of DIFFERENCE that exceeded zero.48



C. The 1994Q1 to 1996Q2 and 2008Q1 Periods

        As described above, the Massachusetts Medicaid claims data is incomplete before

1996Q3 and after 2007Q4. According to the SDUD data displayed in Tables 22B and 22C, the

Massachusetts Medicaid program spent a total of $920,042 on Complaint products from 1994Q1

to 19962 and in 2008Q1. To estimate the total value of DIFFERENCE during these two periods,

I utilize an algorithm that is analogous to the one described above for the preceding states.

        My findings indicate that Massachusetts Medicaid spending would have been $209,694

lower (federal share $104,847) during these before and after periods if Abbott’s average


48
  Massachusetts Medicaid claims data does not include the provider identifier. I therefore use SMRF / MAX claims
data to determine the number of claims per pharmacy payment in each quarter during this period. I then divide the
total number of claims with a DIFFERENCE greater than zero by this number in each quarter to estimate the
number of pharmacy payments with at least one claim with a DIFFERENCE greater than zero.


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wholesaler direct price had been used as the WAC in Massachusetts’s Medicaid adjudication

calculations. My results further indicate that 60,420 of the 95,290 prescriptions during this period

had a DIFFERENCE that exceeded zero.

        Taken together, my results for Massachusetts Medicaid reveal a total DIFFERENCE

during the study period of $967,737 along with 278,956 claims and at least 105,335 pharmacy

payments that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE

represents 30.0 percent of all Massachusetts Medicaid spending considered during the 1994Q1 to

2008Q1 period and the federal share of this DIFFERENCE is $484,153.



XVII. Louisiana Medicaid

        According to the CMS SDUD data, the state of Louisiana was eleventh among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time periods considered. The Louisiana Department of Health and Hospitals provided the United

States with Medicaid claims data. The data included claims with service dates from January of

1994 to October of 2007.

        The Louisiana Medicaid NDC-based claims data are summarized in Table 23A. There are

223,317 claims49 for the Complaint NDCs during the time periods considered, with Medicaid

spending for these claims equal to $2.747 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All but one of the 43 Complaint NDCs appear in

the Louisiana Medicaid claims data. Consistent with the data for the U.S. as a whole, Louisiana

Medicaid spending is greatest for the 74632013 NDC, which accounted for 17.1 percent of

Louisiana’s Medicaid spending on Complaint products.


49
  There were initially 266,989 claims but 43,672 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2007Q4 and the data in that final quarter appears to be incomplete.

Additionally, the data for 2002Q1 and 2002Q2 and prior to 1995Q1 also appears to be

incomplete. Louisiana Medicaid spending on Complaint products during the time periods

considered peaks in the fourth quarter of 1997 and then declines in the subsequent years.



A. Louisiana Medicaid Reimbursement

        The state of Louisiana employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled in the state’s

adjudication formula declined from 0.895 to 0.850 on February 1, 2000, and then increased to

0.865 on August 6, 2001.50 The estimated acquisition cost was added to a dispensing fee, which

increased from $5.54 to $5.77 on July 1, 1994, where it remained for the rest of the study period.

        The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Louisiana Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC price would be used to calculate the estimated acquisition cost if

one was in effect for a certain NDC in the relevant time period and if it would result in a lower

amount paid.



B. The Impact of Alternative AWPs on Louisiana Medicaid Spending: 1995Q1 – 2007Q3




50
  The scaling factors are different for chain pharmacies beginning on July 1, 1999, when 0.865 was used. This then
fell to 0.835 on February 1, 2000 and increased to 0.850 on August 6, 2001.


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        Of the 223,317 claims summarized in Table 23A, there are 231 that have a non-positive

paid amount or number of units, 48 with a paid amount that exceeds the billed amount, 2,389 that

have service dates in quarters with incomplete data (which includes two quarters in the middle of

the period 2002Q1 and 2002Q2), and 374 with a non-zero other third party payment amount. I

drop these claims from my analysis sample. I then drop 514 claims for which I am unable to

replicate the amount paid, 8 with an unsupported dispensing fee, and 1 for which I do not have

an average price from Abbott’s transaction data. These revisions leave me with a sample of

219,752 claims accounting for $2.712 million in Louisiana Medicaid spending.

        I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 203,166 of the 219,752 claims, which represents

92.5 percent of all claims in the analysis sample. The total value of DIFFERENCE is equal to

$680,770 ($483,610 federal), which represents 25.1 percent of Medicaid spending for claims in

the analysis sample. My results further indicate that there are 57,125 pharmacy payments that

had at least one claim with a value of DIFFERENCE that exceeded zero.51



C. The 2002Q1 to 2002Q2 Period

        As described above, the Louisiana Medicaid claims data are incomplete for the first and

second quarter of 2002. According to the MAX data summarized in Table 23B, Louisiana’s

Medicaid program spent $125,724 on Abbott Complaint products during this six-month period.

To estimate the value of DIFFERENCE during this period, I utilize an algorithm that is

51
  Louisiana Medicaid claims data does not include the provider identifier and I thus follow an algorithm similar to
the one above for Massachusetts to estimate the number of pharmacy payments with at least one claim with a value
of DIFFERENCE greater than zero.


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analogous to the one described above for the preceding states that used SMRF/MAX individual-

level claims data. Of the 9,365 claims summarized in Table 23B, I drop 15 with a positive other

third party payment amount, resulting in a sample of 9,350 claims.

       Applying the algorithm described above on a claim-by-claim basis, I determine that 9,164

claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My results

further indicate that there are 5,438 pharmacy payments with at least one claim having a

DIFFERENCE greater than zero and that the total value of DIFFERENCE is $40,831 ($28,704

federal), which represents 32.5 percent of Louisiana Medicaid spending on Abbott Complaint

products in the sample during this period.



D. The 1994Q1 to 1994Q4 and 2007Q4 to 2008Q1 Periods

       As described above, the Louisiana Medicaid claims data combined with the SMRF /

MAX data is incomplete before 1995Q1 and after 2007Q3. According to the SDUD data

displayed in Table 23C, the Louisiana Medicaid program spent a total of $313,750 on Complaint

products from 1994Q1 to 1994Q4 and from 2007Q4 to 2008Q1. To estimate the total value of

DIFFERENCE during these two periods, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Louisiana Medicaid spending would have been $47,926 lower

(federal share $35,025) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Louisiana’s Medicaid adjudication

calculations. My results further indicate that 22,501 of the 29,202 prescriptions during this period

had a DIFFERENCE that exceeded zero.




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       Taken together, my results for Louisiana Medicaid reveal a total DIFFERENCE during

the study period of $769,527 along with 234,831 claims and at least 62,563 pharmacy payments

that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE represents 24.4

percent of all Louisiana Medicaid spending considered during the 1994Q1 to 2008Q1 period and

the federal share of this DIFFERENCE is $547,339.



XVIII. Michigan Medicaid

       According to the CMS SDUD data, the state of Michigan was thirteenth among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time periods considered. The Michigan Department of Community Health provided the United

States with Medicaid claims data. The data included claims with service dates from January of

2000 to June of 2007.

       The Michigan Medicaid NDC-based claims data are summarized in Table 24A. There are

72,473 claims for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $608,204. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All but two of the 43 Complaint NDCs appear in

the Michigan Medicaid claims data. Consistent with the data for the U.S. as a whole, Michigan

Medicaid spending is greatest for the 74632013 NDC, which accounted for 17.8 percent of

Michigan’s Medicaid spending on Complaint products.

       The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims before 2000Q1 or after 2007Q2. Additionally the data for 2000Q1 through




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2000Q3 appears to be incomplete. Michigan Medicaid spending on Complaint products during

the time period displayed reached its peak in the first quarter of 2005 and declined by almost 75

percent during the next two years.



A. Michigan Medicaid Reimbursement

           The state of Michigan employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled in the state’s

adjudication formula fell from 0.90 to either 0.849 or 0.865, depending on the type of pharmacy,

on September 1, 1995. The standard dispensing fee was equal to $3.72 until October 1, 2000,

when it increased to $3.77. It then fell to $2.50 on November 1, 2004.52

           The sum of the estimated ingredient cost and the dispensing fee is compared with the

provider charged amount, with the Michigan Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC (state maximum allowable cost) price would be used to calculate

the estimated ingredient cost if one was in effect for a certain NDC in the relevant time period

and if it would result in a lower amount paid. Additionally, through August of 1995, Michigan

Medicaid considered the pharmacy’s reported actual acquisition cost, and paid this amount (plus

the dispensing fee) if it was lower than the calculated or charged amount.



B. The Impact of Alternative AWPs on Michigan Medicaid Spending: 2000Q4 – 2007Q2

           Of the 72,473 claims summarized in Table 24A, there are 78 compound drug claims,

1,531 that have a non-positive number of units or paid amount, 4 with an amount paid greater

than the amount charged, 32 that have service dates in quarters with incomplete data, and 3,899

with a non-zero other third party payment amount. I drop these claims from my analysis sample.
52
     Beginning on November 1, 2004, there was a different dispensing fee of $2.75 for long-term care pharmacies.


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I then drop 1,139 claims with an unsupported dispensing fee and 1 for which I do not have an

average price from Abbott’s transaction data. These revisions leave me with a sample of 65,789

claims accounting for $571,560 in Michigan Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 59,157 claims, which represents 89.9 percent of

all claims in the analysis sample. The total value of DIFFERENCE is equal to $143,667 ($81,279

federal), which represents 25.1 percent of Medicaid spending for claims in the analysis sample.

My results further indicate that there are 35,094 pharmacy payments that had at least one claim

with a value of DIFFERENCE that exceeded zero.



C. The 1994Q1 to 2000Q3 Period

       As described above, the Michigan Medicaid claims data are incomplete prior to 2000Q4.

According to the SMRF/MAX data summarized in Table 24B, Michigan’s Medicaid program

spent a total of approximately $1.772 million on Complaint products during this period. To

estimate the total value of DIFFERENCE from 1994Q1 to 2000Q3, I utilize an algorithm that is

analogous to the one described above for the preceding states using SMRF/MAX data. Of the

226,160 claims summarized in Table 24B, I drop 7 with an undefined RATIO as described in

equation (3). This results in a sample of 226,153 claims.

       Applying the algorithm described above on a claim-by-claim basis, I determine that

197,221 claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My

results further indicate that there are 66,566 pharmacy payments with at least one claim having a




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DIFFERENCE greater than zero and that the total value of DIFFERENCE is $414,595

($231,531 federal), which represents 23.4 percent of Michigan Medicaid spending on Abbott

Complaint products in the sample during this period.



D. The 2007Q3 to 2008Q1 Period

       As described above, the Michigan Medicaid claims data are incomplete after 2007Q2.

According to the SDUD data displayed in Table 24C, the Michigan Medicaid program spent a

total of $33,020 on Complaint products during this period. To estimate the total value of

DIFFERENCE from 2007Q3 to 2008Q1, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Michigan Medicaid spending would have been $8,695 lower

(federal share $5,012) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Michigan’s Medicaid adjudication

calculations. My results further indicate that 3,708 of the 3,899 prescriptions during this period

had a DIFFERENCE that exceeded zero.

       Taken together, my results for Michigan Medicaid reveal a total DIFFERENCE during

the study period of approximately $566,957 along with 260,086 claims and at least 101,660

pharmacy payments that had a DIFFERENCE that exceeded zero. The total value of

DIFFERENCE represents 23.5 percent of all Michigan Medicaid spending considered during the

1994Q1 to 2008Q1 period and the federal share of this DIFFERENCE is $317,823.




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XIX. Virginia Medicaid

        According to the CMS SDUD data, the state of Virginia was seventeenth among all states

in terms of total Medicaid spending on NDC-based claims for Complaint products during the

time periods considered. The Virginia Department of Medical Assistance Services provided the

United States with Medicaid claims data. The data included claims with service dates from

August of 1998 to December of 2006.

        The Virginia Medicaid NDC-based claims data are summarized in Table 25A. There are

37,011 claims53 for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $424,412. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All but one of the 43 Complaint NDCs appear in

the Virginia Medicaid claims data. Consistent with the data for the U.S. as a whole, Virginia

Medicaid spending is greatest for the 74632013 NDC, which accounted for 23.6 percent of

Virginia’s Medicaid spending on Complaint products.

        The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2006Q4 and the data prior to 2000Q3 appear to be incomplete.



A. Virginia Medicaid Reimbursement

        The state of Virginia employed an adjudication formula that utilized the AWP throughout

the time period of interest. The amount by which this AWP was scaled in the state’s adjudication

formula fell from 0.91 to 0.8975 on July 1, 2002, where it remained for the rest of the study


53
  There were initially 38,162 claims but 1,151 of them were dropped from the sample because they represented
reversals and their pairs or similar adjustments of earlier claims.


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period. The estimated acquisition cost was then added to a dispensing fee, which fell from $4.40

to $4.25 on July 1, 1995, then to $3.75 on July 1, 2003, and increased to $4.00 on July 1, 2005.

       The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the Virginia Medicaid program paying the lesser of the two. In

certain cases, a FUL or SMAC price would be used to calculate the estimated ingredient cost if

one was in effect for a certain NDC in the relevant time period and if it would result in a lower

amount paid.



B. The Impact of Alternative AWPs on Virginia Medicaid Spending: 2000Q3 – 2006Q4

       Of the 37,011 claims summarized in Table 25A, there are 23 with a non-positive number

of units or amount paid, 5 with an amount paid greater than the amount charged, 202 from

quarters with incomplete data, and 433 with a non-zero other third party payment amount. I drop

these claims from my analysis sample. I then drop 28 claims for which I am unable to replicate

the amount paid and 24 for which I do not have an average price from Abbott’s transaction data.

These revisions leave me with a sample of 36,296 claims accounting for $418,413 in Virginia

Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 35,705 claims, which represents 98.4 percent of

all claims in the analysis sample. The total value of DIFFERENCE is equal to $144,905 ($74,465

federal), which represents 34.6 percent of Medicaid spending for claims in the analysis sample.




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My results further indicate that there are 23,557 pharmacy payments that had at least one claim

with a value of DIFFERENCE that exceeded zero.54



C. The 1999Q1 to 2000Q2 Period

         As described above, the Virginia Medicaid claims data are incomplete prior to 2000Q3.

According to the MAX data summarized in Table 25B, Virginia’s Medicaid program spent a

total of approximately $156,928 on Complaint products during this period. To estimate the total

value of DIFFERENCE from 1999Q1 to 2000Q2, I utilize an algorithm that is analogous to the

one described above for the preceding states using SMRF/MAX data. Of the 20,269 claims

summarized in Table 25B, I drop 15 with a positive other third party payment amount and 5,574

with a non-positive amount paid. This results in a sample of 14,680 claims with $156,806 in

Medicaid spending.

         Applying the algorithm described above on a claim-by-claim basis, I determine that

13,590 claims remaining in my sample have a value of DIFFERENCE that exceeds zero. My

results further indicate that there are 11,297 pharmacy payments with at least one claim having a

DIFFERENCE greater than zero and that the total value of DIFFERENCE is $53,396 ($27,570

federal), which represents 34.1 percent of Virginia Medicaid spending on Abbott Complaint

products in the sample during this period.



D. The 1994Q1 to 1998Q4 and 2007Q1 to 2008Q1 Periods

         As described above, the Virginia Medicaid claims data combined with the SMRF / MAX

data is incomplete before 1999Q1 and after 2006Q4. According to the SDUD data displayed in

54
  Virginia Medicaid claims data does not include the provider identifier and I thus follow an algorithm similar to the
one above for Massachusetts and Louisiana to estimate the number of pharmacy payments with at least one claim
with a value of DIFFERENCE greater than zero.


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Tables 25C and 25D, the Virginia Medicaid program spent a total of $1.152 million on

Complaint products from 1994Q1 to 1998Q4 and 2007Q1 to 2008Q1. To estimate the total value

of DIFFERENCE during these two periods, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Virginia Medicaid spending would have been $345,259 lower

(federal share $175,644) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Virginia’s Medicaid adjudication

calculations. My results further indicate that 100,113 of the 114,554 prescriptions during this

period had a DIFFERENCE that exceeded zero.

       Taken together, my results for Virginia Medicaid reveal a total DIFFERENCE during the

study period of $543,560 along with 149,408 claims and at least 34,854 pharmacy payments that

had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE represents 31.4

percent of all Virginia Medicaid spending considered during the 1994Q1 to 2008Q1 period and

the federal share of this DIFFERENCE is $277,679.



XX. Wisconsin Medicaid

       According to the CMS SDUD data, the state of Wisconsin was twenty-fourth among all

states in terms of total Medicaid spending on NDC-based claims for Complaint products during

the time periods considered. Electronic Data Systems provided the United States with Medicaid

claims data, which included service dates from January of 1994 to December of 2005.

       The Wisconsin Medicaid NDC-based claims data are summarized in Table 26A. There

are 120,696 claims for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $1.204 million. The first panel of this table lists the number of




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claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the

Wisconsin Medicaid claims data. Consistent with the data for the U.S. as a whole, Wisconsin

Medicaid spending is greatest for the 74632013 NDC, which accounted for 27.8 percent of

Wisconsin’s Medicaid spending on Complaint products.

       The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date

instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2005Q4. Wisconsin Medicaid spending on Complaint products during the

time period displayed reached its peak in the first quarter of 1995 and declined steadily during

the subsequent years.



A. Wisconsin Medicaid Reimbursement

       The state of Wisconsin employed an adjudication formula that utilized the AWP

throughout the time period of interest. The scaling factor changed over time, from 0.900 through

June of 2001 to 0.8875 thereafter. The most common dispensing fee was $4.69 through June of

1997, with this changing to $4.78 in July 1997 and then to $4.88 in July 1998.

       The sum of the estimated ingredient cost and the dispensing fee was then compared with

the provider charged amount, with the state paying the lesser of the two. In certain cases, a FUL

or SMAC (state maximum allowable cost) price would be used to calculate the estimated

ingredient cost if one was in effect for a certain NDC in the relevant time period and if it would

result in a lower amount paid.



B. The Impact of Alternative AWPs on Wisconsin Medicaid Spending: 1994Q1 – 2005Q4




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       Of the 120,696 claims summarized in Table 26A, there are 563 with a non-positive

number of units or paid amount, 1,639 with a non-zero other third party payment amount, and

367 claims with a manual medical cutback. I drop these claims from my analysis sample. I then

drop 32,122 claims for which I am unable to replicate the amount paid. These revisions leave me

with a sample of 86,005 claims accounting for $870,471 in Wisconsin Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 79,101 claims, which represents 92.0 percent of

all claims in the analysis sample. The total value of DIFFERENCE is equal to $205,035

($120,923 federal), which represents 23.6 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 58,260 pharmacy payments that had at

least one claim with a value of DIFFERENCE that exceeded zero.



C. The 2006Q1 to 2008Q1 Period

       As described above, the Wisconsin Medicaid claims data are incomplete after 2005Q4.

According to the SDUD data displayed in Table 26B, the Wisconsin Medicaid program spent a

total of $67,004 on Complaint products during this period. To estimate the total value of

DIFFERENCE from 2006Q1 to 2008Q1, I utilize an algorithm that is analogous to the one

described above for the preceding states.

       My findings indicate that Wisconsin Medicaid spending would have been $7,524 lower

(federal share $4,331) during these before and after periods if 125 percent of the average

pharmacy indirect price had been used as the AWP in Wisconsin’s Medicaid adjudication




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calculations. My results further indicate that 5,864 of the 6,187 prescriptions during this period

had a DIFFERENCE that exceeded zero.

       Taken together, my results for Wisconsin Medicaid reveal a total DIFFERENCE during

the study period of $212,558 along with 84,965 claims and 58,260 pharmacy payments that had a

DIFFERENCE that exceeded zero. The total value of DIFFERENCE represents 16.7 percent of

all Wisconsin Medicaid spending considered during the 1994Q1 to 2008Q1 period and the

federal share of this DIFFERENCE is $125,254.



XXI. New Jersey Medicaid

       According to the CMS SDUD data, the state of New Jersey was twenty-sixth among all

states in terms of total Medicaid spending on NDC-based claims for Complaint products during

the time periods considered. The New Jersey Department of Human Services provided the

United States with Medicaid claims data. The data included claims with service dates from

January of 1994 to December of 2006.

       The New Jersey Medicaid NDC-based claims data are summarized in Table 27A. There

are 121,923 claims for the Complaint NDCs, during the time periods considered with Medicaid

spending for these claims equal to $1.224 million. The first panel of this table lists the number of

claims and total Medicaid spending by NDC. All 43 of the Complaint NDCs appear in the New

Jersey Medicaid claims data. Consistent with the data for the U.S. as a whole, New Jersey

Medicaid spending is greatest for the 74632013 NDC, which accounted for 20.0 percent of New

Jersey’s Medicaid spending on Complaint products.

       The second panel of this same table lists the number of claims and total Medicaid

spending by year and quarter. When assigning claims to time periods, I use the service date




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instead of, for example, the prescription date or the adjudication date. As the table shows, there

are no claims after 2006Q4. Spending for Complaint products peaks in the first quarter of 1995

and declines during the subsequent years.



A. New Jersey Medicaid Reimbursement

        The state of New Jersey employed an adjudication formula that utilized the AWP

throughout the time period of interest. The amount by which this AWP was scaled varied across

time periods and also across claims within a time period.55 In my analyses for New Jersey, I

account for the claim-specific scaling factor when determining the amount that would have been

paid if 125 percent of Abbott’s average pharmacy indirect price had been used as the AWP.

        Throughout the time period of interest, the baseline dispensing fee was equal to $3.73,

though additional increments could be made to this depending on whether there was 24-hour

emergency availability at the pharmacy ($0.11 extra), patient consultation ($0.08 extra), and an

“impact allowance” ($0.15 extra). An examination of the claims data reveals that the most

common dispensing fee paid for Complaint claims during the time period was $3.92, with the

second, third, and fourth most common equal to $4.07, $3.73, and $3.81, respectively.

        The sum of the estimated acquisition cost and the dispensing fee is compared with the

provider charged amount, with the New Jersey Medicaid program paying the lesser of the two. In

certain cases, a FUL would be used to calculate the estimated ingredient cost if one was in effect

for a certain NDC in the relevant time period and if it would result in a lower amount paid.



B. The Impact of Alternative AWPs on New Jersey Medicaid Spending: 1994Q1 – 2006Q4

55
  The scaling factor depended on the pharmacy’s prior year prescription volume, with high volume pharmacies
having somewhat lower scaling factors. Additionally, from 1994 through February 20, 1995, this scaling factor also
depended on the total ingredient cost, with a scaling factor of 1.00 used if the ingredient cost exceeded $24.99.


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       Of the 121,923 claims summarized in Table 27A, there are 79 that have a non-positive

number of units or paid amount and an additional 295 with a non-zero other third party payment

amount. I drop these claims from my analysis sample. I then drop 356 with an unsupported

dispensing fee or with an amount paid that is less than the dispensing fee, 330 for which I am

unable to replicate the amount paid, and 4 for which I do not have an average price from

Abbott’s transaction data. These revisions leave me with a sample of 120,859 claims accounting

for $1.219 million in New Jersey Medicaid spending.

       I then apply an algorithm analogous to the one described above for the preceding states. I

use 125 percent of the average pharmacy indirect price as the alternative AWP for each NDC-

quarter. Applying this alternative AWP on a claim-by-claim basis, I find that the value of

DIFFERENCE is strictly greater than zero for 116,964 claims, which represents 96.8 percent of

all claims in the analysis sample. The total value of DIFFERENCE is equal to $354,571

($177,128 federal), which represents 29.0 percent of Medicaid spending for claims in the

analysis sample. My results further indicate that there are 85,818 pharmacy payments that had at

least one claim with a value of DIFFERENCE that exceeded zero.



C. The 2007Q1 to 2008Q1 Period

       As described above, the New Jersey Medicaid claims data are incomplete after 2006Q4.

According to the SDUD data displayed in Table 27B, the New Jersey Medicaid program spent a

total of approximately $22,805 on Complaint products during this period. To estimate the total

value of DIFFERENCE from 2007Q1 to 2008Q1, I utilize an algorithm that is analogous to the

one described above for the preceding states.




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       My findings indicate that New Jersey Medicaid spending would have been approximately

$4,465 lower (federal share $2,232) during these before and after periods if 125 percent of the

average pharmacy indirect price had been used as the AWP in New Jersey’s Medicaid

adjudication calculations. My results further indicate that 2,124 of the 2,176 prescriptions during

this period had a DIFFERENCE that exceeded zero.

       Taken together, my results for New Jersey Medicaid reveal a total DIFFERENCE during

the study period of $359,036 along with 119,088 claims and at least 85,818 pharmacy payments

that had a DIFFERENCE that exceeded zero. The total value of DIFFERENCE represents 28.8

percent of all New Jersey Medicaid spending considered during the 1994Q1 to 2008Q1 period

and the federal share of this DIFFERENCE is $179,360.



XXII. Medicaid Summary for the First Fifteen States

       According to the SDUD data displayed in Table 11, the fifteen states considered so far

account for approximately 74 percent of total Medicaid spending on and 74 percent of total

Medicaid prescriptions for Abbott’s Complaint products during the time period considered.

Table 28 summarizes the results from the analyses described above for each of these 15 states,

including the analyses of state-specific claims data, SMRF / MAX / MSIS claims data, and/or

CMS SDUD data. In the third column, I list the time period that is relevant for each data source.

For example, for the state of New York, I utilized state claims data from 1994Q1 to 2007Q2 and

SDUD data for from 2007Q3 to 2008Q1.

       The next two columns of the table list the number of NDC-based Medicaid claims with a

value of DIFFERENCE greater than zero and the total number of claims considered,

respectively. As the third-to-last row of the table shows, the Medicaid program would have paid




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less for 6.107 million out of 7.825 million claims (78.0 percent) if the transaction-based AWPs,

WACs, and Direct Prices described above had been in effect during the time period of interest

for Abbott’s Complaint products. The next two columns list the corresponding information for

the total value of DIFFERENCE and the total amount of Medicaid spending. My results indicate

that Medicaid spending would have been lower by $18.566 million out of $77.169 million paid

in these fifteen states during the 1994Q1 to 2008Q1 period. The total value of DIFFERENCE is

24.1 percent of total Medicaid spending for Complaint products during this period.

       In the next column, I report the federal share of this DIFFERENCE. In calculating this, I

use the federal matching rate in effect for each state in each year. As shown in the table, the

federal share of DIFFERENCE for these fifteen states is $10.315 million. The final column lists

the number of pharmacy payments with at least one claim with a value of DIFFERENCE greater

than zero. My results indicate that there were at least 2.931 million unique pharmacy payments

with at least one Medicaid claim with a value of DIFFERENCE greater than zero in these fifteen

states during the time period of interest.



XXIII. Medicaid Summary for the Remaining Thirty-Four States

       For analyses for the remaining 34 (33 + D.C.) states, I utilize the SMRF / MAX and

MSIS individual-level claims data as well as the SDUD data described above. When it is

available, I use the SMRF / MAX or MSIS claims data, which allows me to construct analysis

samples analogous to those described above with the state-level claims data. When this data is

not available for a state in a particular year, I instead use the SDUD data.

       Tables 29A, 29B, and 29C summarize Medicaid spending on Abbott’s 43 Complaint

products by state and year for these 34 states in the SMRF / MAX, SDUD, and MSIS data,




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respectively. States are sorted in descending order of Medicaid spending on Complaint products

during the time period of interest. I follow the approach above and use SMRF/MAX or MSIS

claims data when it is available56 and otherwise use SDUD data. Total NDC-based Medicaid

spending in the SMRF / MAX, MSIS, and SDUD data for these 34 states (including the District

of Columbia but excluding Arizona and Ohio) during the 1994Q1 to 2007Q4 period57 is $32.841

million while the total number of claims is 3.226 million.

         I begin my analysis of each state’s SMRF / MAX and MSIS claims data by applying

inclusion criteria analogous to those described above for the fifteen preceding states. For

example, I drop claims with a paid amount of zero or with a strictly positive third party payment

amount. I then aggregate this data to the NDC-quarter level and merge the resulting file for each

of the remaining 34 states to a data set in which the unit of observation is the NDC-quarter, and

that is constructed using the fifteen states’ Medicaid claims data described above. For each

NDC-quarter, I first calculate the average fraction of claims with DIFFERENCE greater than

zero across all fifteen states (fewer, if not all fifteen have data). I also calculate the average value

of the ratio of DIFFERENCE to the amount of spending on these claims. In calculating these

averages, I weight each of the fifteen states that have data for that NDC-quarter equally, while

states with no claims data for that NDC-quarter have a weight of zero. I subsequently refer to

these averages for NDC j in quarter t as POS-DIFF15jt and DIFF-FRAC15jt, respectively.

         My comparison of the Medicaid adjudication algorithms used by the 15 states described

above with the 34 remaining states suggests that the two groups are quite similar.58 The vast



56
   I use the MSIS data instead of MAX in 2004 because it has more comprehensive coverage.
57
   I do not consider 2008Q1 for these 33 states because I do not have state claims in this same quarter for any of the
preceding fifteen states and thus DIFF-FRAC15 and POS-DIFF15, which are defined below, are missing.
58
   The same is true for Medicaid reimbursement per claim. For example, from 1999 to 2004 when all 49 states have
MAX claims data, one can calculate the average amount spent per claim for each NDC in each of the two groups of
states. For 31 of 43 NDCs, the average per claim Medicaid spending is higher for the remaining 34 states and these


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majority of states in both groups rely primarily on the AWP during the time period of interest,

though some also use the WAC. Two of the fifteen states (Florida and Massachusetts) analyzed

above were primarily WAC states during the time period of interest versus four (Alabama,

Maryland, North Dakota, and Rhode Island) of the thirty-four remaining states.

        To estimate the number of claims with a value of DIFFERENCE greater than zero in a

state-NDC-quarter, I multiply the number of claims in that cell by POS-DIFF15jt. I employ a

similar algorithm for the total value of DIFFERENCE for each state-NDC-quarter, multiplying

Medicaid spending in that cell by DIFF-FRAC15jt. To estimate the number of provider payments

with at least one claim with a value of DIFFERENCE greater than zero, I merge the individual

claims data from each state’s analysis sample with the NDC-quarter data on POS-DIFF15jt. I

then use an algorithm similar to the one used for other states’ SMRF / MAX data above,

assigning each claim a probability POS-DIFF15jt of having a value of DIFFERENCE greater

than zero and then calculating the implied number of provider payments with at least one claim

with a DIFFERENCE greater than zero.

        I follow a similar algorithm for the SDUD data. Specifically, I multiply the number of

claims in each state-NDC-quarter cell by POS-DIFF15jt to estimate the number of claims with

DIFFERENCE greater than zero. Similarly, I multiply Medicaid spending in the state-NDC-

quarter cell by DIFF-FRAC15jt.

        The results from these analyses for the remaining 33 states and the District of Columbia

are summarized in Tables 30A and 30B. For virtually every state, I list three sets of information

– one that uses SMRF / MAX claims data, another that uses MSIS claims data, and a final one

using the SDUD data. The format of the tables is the same as in Table 28 above. Consistent with


31 NDCs account for 80.6 percent of Medicaid spending. It therefore is not the case that these 34 states had on
average have very low reimbursement per claim during this period.


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the approach for the fifteen states described above, I do not estimate provider payments when

using SDUD data.

       Aggregating across these 34 states and employing the algorithms described above, I find

that 2.534 million out of 3.226 million claims (78.6 percent) have a value of DIFFERENCE that

is greater than zero. This information is listed in the second-to-last row of Table 28. The fraction

with a value of DIFFERENCE greater than zero is similar to the corresponding fraction of 78.0

percent for the 15 states considered above.

       My results further indicate that the total value of DIFFERENCE for Complaint products

during the 1994Q1 to 2007Q4 period in these 34 states is $8.251 million, which represents 25.1

percent of the $32.841 million in Medicaid spending for these same states. This ratio is similar to

the corresponding one of 24.1 percent for the 15 preceding states. The federal share of this

DIFFERENCE is $5.244 million and the number of pharmacy payments with one or more claims

with a value of DIFFERENCE greater than zero is 928,746.

       The final row of Table 28 summarizes the results of my NDC-based Medicaid analyses

for the 49 states (including D.C.) considered. My results indicate that 8.641 million claims (78.2

percent of the total) have a value of DIFFERENCE greater than zero. I also find a total value of

DIFFERENCE of $26.817 million (24.4 percent of total Medicaid spending), with the federal

share of this equal to $15.559 million. The total number of unique pharmacy payments with at

least one claim with a value of DIFFERENCE greater than zero is 3.860 million. This final

number is understated because it does not consider pharmacy payments for those state-NDC-

quarter cells in which I use aggregate SDUD data.




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XXIV. Conclusion

       In this report I use data from several different sources to determine the amount by which

spending by the federal-state Medicaid program would have changed if prices reflective of the

actual prices at which Abbott was transacting business had been used for the AWP, WAC, and

Direct Price of Abbott products. For my analyses of the Medicaid program, I focus on the 43

NDCs listed in the Complaint.

       The results that I summarize above indicate that federal expenditures for the Medicaid

program would have been $15.559 million lower during the 1994Q1 to 2008Q1 period for the 43

NDCs listed in the Complaint. This dollar amount does not include the $11.258 million impact

on state governments’ Medicaid expenditures.

       At various stages in my analysis – indeed at virtually every step where I believed there

were two or more acceptable ways to proceed in analyzing the Abbott transaction data and the

Medicaid claims and SDUD data – I deliberately chose the conservative approach, that is, the

approach that minimized the dollar difference and the number of provider payments and claims

reported in the Executive Summary of this Report. My results are also conservative because I

have ignored the effect on Medicaid HCPCS claims and have ignored any effect of Abbott

AWPs on the FUL or SMAC prices for drugs in the same group.



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Mark G. Duggan, Ph.D.

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                                        Figure 1: Abbott's FDB DP and AWP versus Abbott's Direct Avg Price for Erythromycin (00074632013)


                         $45



                         $40



                         $35



                         $30
Price per Package in $




                         $25
                                                                                                                                            AWP
                                                                                                                                            DP
                         $20                                                                                                                Average



                         $15



                         $10



                         $5



                         $0
                               1994   1995   1996   1997    1998    1999    2000    2001      2002   2003   2004   2005    2006    2007
                                                                               Year-Quarter
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                                      Figure 2: Abbott's FDB AWP and WAC vs. Indirect Avg Price for Pharm COTs for Eyrthromycin (00074632013)


                         $45



                         $40



                         $35



                         $30
Price per Package in $




                         $25
                                                                                                                                                AWP
                                                                                                                                                WAC
                         $20                                                                                                                    Ph Avg



                         $15



                         $10



                         $5



                         $0
                               1994   1995    1996    1997    1998    1999    2000    2001      2002   2003   2004   2005    2006    2007
                                                                                 Year-Quarter
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                                     Table 1: Direct Transaction Data: Observations and Revenues by NDC

    NDC        # Observations Sum of Units Sum of Extprice Sum of Chargebacks                Net        Price Per    Direct / Price   AWP / Price

00074258913            161,677     2,167,737 $       24,714.91   $          (3,242.77) $    21,472.14        $9.91             1.98           2.35
00074258953             34,790       141,114 $        7,436.74   $            (902.66) $     6,534.08       $46.30             2.01           2.38
00074374716            129,537     1,416,219 $       14,697.45   $          (4,350.35) $    10,347.10        $7.31             2.39           2.84
00074374816             99,742       665,054 $       13,736.02   $          (4,039.93) $     9,696.09       $14.58             2.23           2.65
00074572911             51,257        69,262 $        1,176.79   $            (181.22) $       995.57       $14.37             1.50           1.78
00074572913            321,158     1,246,340 $       17,881.17   $          (2,196.69) $    15,684.48       $12.58             1.56           1.85
00074572919              4,262        25,528 $        3,408.69   $            (241.66) $     3,167.03      $124.06             1.40           1.66
00074572953             75,475       169,858 $       11,226.68   $          (1,652.23) $     9,574.45       $56.37             1.65           1.96
00074622713            298,616     1,686,757 $       25,198.48   $          (2,832.83) $    22,365.64       $13.26             1.72           2.05
00074630113            191,566     1,967,391 $       20,846.99   $          (3,219.84) $    17,627.14        $8.96             2.42           2.88
00074630153             46,122       128,750 $        6,881.85   $            (752.38) $     6,129.46       $47.61             2.21           2.63
00074630411             96,580       194,178 $        1,648.32   $            (530.02) $     1,118.30        $5.76             4.03           4.78
00074630413            398,299     3,050,983 $       24,677.43   $          (4,006.79) $    20,670.64        $6.78             3.13           3.72
00074630430                479       101,232 $          188.45   $              (2.54) $       185.91        $1.84             3.46           4.11
00074630440              7,778       840,192 $        2,090.74   $            (406.82) $     1,683.93        $2.00             4.23           5.02
00074630453            194,488       612,801 $       23,428.22   $          (7,030.06) $    16,398.16       $26.76             3.76           4.47
00074630613             29,544       258,956 $          887.00   $             (31.48) $       855.52        $3.30             1.22           1.44
00074630616            113,140       360,778 $        4,082.42   $            (651.47) $     3,430.96        $9.51             1.84           2.18
00074631613            367,692     2,950,770 $       40,217.29   $          (4,156.06) $    36,061.24       $12.22             1.82           2.16
00074632011             53,152        82,054 $        1,121.88   $            (344.11) $       777.77        $9.48             3.50           4.16
00074632013            704,963     6,675,397 $       83,158.98   $          (8,631.84) $    74,527.14       $11.16             2.80           3.32
00074632030              3,785       896,784 $        2,150.00   $             (64.34) $     2,085.66        $2.33             4.47           5.31
00074632053            242,769       778,959 $       48,695.44   $          (9,290.38) $    39,405.06       $50.59             2.93           3.48
00074632111             53,074        72,073 $        1,292.02   $            (123.63) $     1,168.40       $16.21             2.33           2.77
00074632113            314,312     1,892,100 $       34,300.35   $          (3,929.60) $    30,370.75       $16.05             2.23           2.65
00074632611             77,015       165,178 $        1,403.43   $            (432.78) $       970.65        $5.88             2.80           3.32
00074632613            241,622     1,713,514 $       12,107.77   $          (1,606.59) $    10,501.18        $6.13             2.03           2.41
00074632653            103,430       294,601 $        9,752.01   $          (1,613.35) $     8,138.65       $27.63             2.14           2.54
00074634619             11,773        23,649 $        1,460.54   $            (203.12) $     1,257.42       $53.17             2.13           2.53
00074634620            227,104     1,605,330 $       11,428.95   $          (1,826.37) $     9,602.59        $5.98             2.05           2.44
00074634638             32,891        57,069 $          520.75   $             (66.69) $       454.07        $7.96             1.79           2.13
00074634641              4,319       202,512 $          551.31   $             (66.43) $       484.88        $2.39             2.05           2.43
00074634653            122,554       533,214 $       15,787.38   $          (1,792.28) $    13,995.11       $26.25             2.22           2.64
00074636902             22,080        86,349 $          544.50   $             (44.46) $       500.04        $5.79             1.22           1.45
00074636910             32,772       296,008 $        2,705.20   $            (945.48) $     1,759.72        $5.94             2.21           2.63
00074637313             19,644       106,326 $          641.61   $             (21.76) $       619.85        $5.83             1.24           1.47
00074637316             75,527       195,321 $        4,151.44   $            (741.91) $     3,409.54       $17.46             1.87           2.22
00074715613             98,705     1,378,039 $        5,628.02   $            (582.52) $     5,045.50        $3.66             2.94           3.49
00074715643             85,984     1,707,819 $        9,825.69   $            (881.96) $     8,943.73        $5.24             3.04           3.61
00074715653             83,391     1,275,289 $       10,411.30   $          (1,592.83) $     8,818.46        $6.91             3.02           3.59
00074803013            169,404       856,361 $        8,790.65   $          (3,114.59) $     5,676.06        $6.63             2.26           2.68
00074803043            113,012       775,560 $       11,613.36   $          (3,410.47) $     8,202.89       $10.58             2.10           2.49
00074803053            126,672     1,253,867 $       22,767.30   $          (9,940.85) $    12,826.45       $10.23             2.85           3.39

    Total            5,642,156    40,977,273 $      545,235.54 $           (91,696.12) $ 453,539.42        Average             2.39           2.84

Dollar values are in thousands. Values exclude returns (instruction codes 60 through 64).
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                Table 2: Direct Transaction Data: Observations and Revenues by Year-Quarter

Year Quarter # Observations Sum of Units        Sum of Extprice    Sum of Chargebacks            Net         # NDCs

1994      1            143,965      1,469,887   $     19,428.08    $          (2,065.23)    $    17,362.85       40
1994      2            118,578      1,099,386   $     13,394.92    $          (1,629.68)    $    11,765.24       40
1994      3             96,506      1,065,204   $     13,456.07    $          (1,117.12)    $    12,338.95       40
1994      4            174,615      1,534,452   $     20,606.84    $          (2,079.64)    $    18,527.20       40
1995      1            254,739      1,612,553   $     22,625.07    $          (2,641.05)    $    19,984.02       40
1995      2            213,136      1,206,721   $     14,701.59    $          (2,967.93)    $    11,733.66       40
1995      3            176,034      1,012,490   $     12,541.75    $          (1,987.09)    $    10,554.67       43
1995      4            227,644      1,911,408   $     21,822.41    $          (2,874.51)    $    18,947.90       43
1996      1            301,673      1,342,884   $     17,180.47    $          (4,323.49)    $    12,856.99       43
1996      2            232,545      1,024,758   $     12,138.14    $          (2,466.13)    $     9,672.01       43
1996      3            190,143        887,419   $      9,738.49    $          (1,403.20)    $     8,335.29       43
1996      4            234,206      1,275,696   $     14,806.16    $          (1,593.75)    $    13,212.40       43
1997      1            263,515      1,457,259   $     16,883.07    $          (1,933.20)    $    14,949.87       43
1997      2            200,674        811,452   $      9,280.43    $          (1,283.35)    $     7,997.08       43
1997      3            146,904        856,530   $      9,484.44    $            (867.97)    $     8,616.47       43
1997      4            200,404      1,268,947   $     14,185.12    $          (1,183.36)    $    13,001.76       43
1998      1            225,646      1,048,321   $     11,637.13    $          (1,300.66)    $    10,336.47       43
1998      2            164,803        699,453   $      7,346.12    $            (885.77)    $     6,460.35       43
1998      3            111,954        683,254   $      7,793.62    $            (802.28)    $     6,991.34       43
1998      4             61,565      1,024,540   $     10,971.88    $          (1,246.74)    $     9,725.14       43
1999      1             65,212      1,097,388   $     12,877.74    $          (1,466.82)    $    11,410.92       43
1999      2             53,599        621,455   $      6,795.19    $            (935.04)    $     5,860.15       43
1999      3             50,260        601,918   $      7,025.39    $            (791.69)    $     6,233.70       43
1999      4             51,466        811,412   $      9,543.33    $            (839.03)    $     8,704.30       43
2000      1             57,054        821,657   $      9,172.75    $            (940.84)    $     8,231.90       43
2000      2             52,347        530,525   $      6,055.52    $            (897.78)    $     5,157.73       43
2000      3             51,625        585,271   $      6,501.33    $            (760.45)    $     5,740.88       43
2000      4             60,800        777,533   $      8,614.96    $          (1,067.98)    $     7,546.98       43
2001      1             60,234        697,136   $      7,313.93    $          (1,209.27)    $     6,104.66       43
2001      2             54,039        468,258   $      5,430.76    $            (811.64)    $     4,619.12       43
2001      3             48,158        509,173   $      6,003.17    $            (771.58)    $     5,231.60       42
2001      4             58,836        689,220   $      7,806.82    $            (953.26)    $     6,853.56       42
2002      1             52,974        502,069   $      5,806.52    $          (1,015.13)    $     4,791.39       42
2002      2             48,130        485,663   $      6,074.84    $            (804.47)    $     5,270.37       40
2002      3             47,746        438,557   $      5,049.80    $            (695.32)    $     4,354.47       39
2002      4             48,861        566,755   $      6,489.74    $            (833.57)    $     5,656.17       33
2003      1             47,284        463,452   $      5,231.38    $            (925.31)    $     4,306.08       34
2003      2             57,003        469,713   $      5,399.34    $            (771.24)    $     4,628.10       33
2003      3             44,343        393,885   $      7,824.70    $          (2,175.96)    $     5,648.73       32
2003      4             50,828        567,191   $     11,369.83    $          (3,216.33)    $     8,153.50       33
2004      1             46,391        465,338   $      8,971.37    $          (3,052.77)    $     5,918.60       32
2004      2             48,947        377,637   $      7,761.61    $          (2,711.05)    $     5,050.56       31
2004      3             56,834        387,227   $      8,102.85    $          (2,490.11)    $     5,612.73       31
2004      4             60,066        503,145   $     10,602.44    $          (2,917.75)    $     7,684.69       31
2005      1             57,648        463,564   $      9,066.49    $          (3,149.43)    $     5,917.05       31
2005      2             56,314        354,530   $      6,708.84    $          (2,516.89)    $     4,191.95       31
2005      3             58,546        359,295   $      7,943.91    $          (1,857.02)    $     6,086.89       31
2005      4             56,566        455,900   $     10,417.35    $          (2,008.86)    $     8,408.49       32
2006      1             52,221        327,872   $      6,685.96    $          (1,842.30)    $     4,843.66       30
2006      2             52,929        289,954   $      5,496.07    $          (1,668.40)    $     3,827.67       30
2006      3             44,256        287,386   $      6,027.59    $          (1,309.18)    $     4,718.42       30
2006      4             47,484        353,178   $      7,344.95    $          (1,573.11)    $     5,771.85       30
2007      1             49,926        269,861   $      5,642.87    $          (1,610.09)    $     4,032.78       30
2007      2             45,633        250,122   $      5,134.23    $          (1,323.17)    $     3,811.07       28
2007      3             52,532        173,663   $      6,439.40    $          (1,439.78)    $     4,999.62       30
2007      4             55,815        267,756   $      6,480.78    $          (1,691.38)    $     4,789.40       28

Total                5,642,156     40,977,273 $      545,235.54    $         (91,696.12) $      453,539.42       43

Dollar values are in thousands. Values exclude returns (instruction codes 60 through 64).
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                      Table 3: Direct Transaction Data: Observations and Revenues by Instruction and Transaction Codes

Description                     # Observations Sum of Units Sum of Extprice     Sum of Chargebacks        Net         InstrCode TransCode

Normal Billing                         637,596   30,029,922   $   353,796.28    $              -      $ 353,796.29           0          1
Special Price Deal                     215,411    5,238,159   $   110,750.77    $              -      $ 110,750.78           0          4
Manual Split Special Deal               57,444    1,877,137   $    37,586.78    $              -      $ 37,586.78            4          4
B.O. Shipment                           42,974    2,532,432   $    35,679.30    $              -      $ 35,679.30            1          2
Manual Split                            25,382    1,376,644   $    14,175.80    $              -      $ 14,175.80            4          1
Add. Prod. Charge                       13,396        1,877   $    10,566.87    $              -      $ 10,566.87            7          1
B.O. Shipment 1**                        1,988      157,164   $     1,851.28    $              -      $ 1,851.28             1          1
Bill-Do-Not-Ship                           481       30,551   $       346.35    $              -      $     346.35           5          1
Reverse 60 or 74                         5,027      140,640   $        42.07    $              -      $      42.07          13          1
Mch. Td By Sales Rep                        66        1,963   $        36.15    $              -      $      36.15           6          1
Normal Billing                              12          411   $         8.30    $              -      $       8.30           0          2
Manual Split 2****                           6          186   $         3.92    $              -      $       3.92           4          2
Exchange Account                             1            0   $         1.74    $              -      $       1.74           9          1
Back Order 4***                              5           41   $         0.56    $              -      $       0.56           1          4
Adjust Non-Prod Lines                       11            0   $        (2.25)   $              -      $      (2.25)         71          1
Mdse Td By Sales Rep                        90       -2,690   $       (58.48)   $              -      $     (58.48)         83          1
Short Ship                                 783      -38,644   $      (493.89)   $              -      $    (493.89)         84          1
Customer Allowance                      10,096     -368,746   $      (837.00)   $              -      $    (837.00)         74          1
Adjust Product Price                   280,181            0   $   (18,220.14)   $              -      $ (18,220.14)         70          1
Chargeback*                          4,351,206          226   $         1.13    $       (91,696.12)   $ (91,694.99)                     1

              Total                  5,642,156   40,977,273 $     545,235.54    $       (91,696.12) $ 453,539.42

Dollar values are in thousands. Values exclude returns (instruction codes 60 through 64).
Note the category "Chargeback*" in this table is defined by the InstrCode and TransCode pair listed whereas PPD chargebacks (e.g., values
listed in the "Sum of Chargebacks" column) are identified based on P1 and P2 branch codes.
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                                                  Table 4: Direct Transaction Data: Observations and Revenues by Class of Trade

                          COT Code Meaning                                 Code      # Obs          Sum of Units Sum of Extprice Sum of Cbacks        Net        Avg Ratio   # Ratios

WHOLESALER (FDA REGISTRY NUMBER MUST BE SHOWN ON CSM W050                           5,209,904        18,203,837 $   321,765.20    $   (91,618.61) $ 230,146.59       1.037       2,054
CHAIN PHARMACY WAREHOUSE                                                   A077       187,703        17,696,767 $   181,801.26    $         -     $ 181,801.26       0.967       1,356
KAISER HOSPITAL INPATIENT PHARMACY - NON-PROFIT HMO                       HK21              3,850     2,282,745 $    10,926.30    $         -     $ 10,926.30        0.860         641
RETAIL PHARMACY                                                            A003       122,814           475,365 $      6,989.32   $         -     $   6,989.32       1.304       1,482
PHYSICIANS SUPPLY HOUSES                                                   A012             7,278       443,668 $      5,637.17   $        (0.03) $   5,637.14       1.130       1,014
CHAIN PHARMACY                                                             A007        25,707           360,239 $      3,762.40   $         -     $   3,762.40       1.188       1,054
KAISER HOSPITAL OUTPATIENT PHARMACY - NON-PROFIT HMO                      HK26               846        141,853 $      2,485.39   $         -     $   2,485.39       0.782         255
DEFENSE PERSONNEL SUPPORT CENTER DEPOT                                    US60              1,680       283,895 $      1,364.53   $         -     $   1,364.53       0.681         151
RESEARCH FOUNDATION AND PHARMACY MFG.                                      A073             1,342        54,133 $      1,208.27   $       (17.34) $   1,190.93       1.249         354
PUBLIC HEALTH DEPOT                                                       US66               274        233,557 $      1,149.07   $         -     $   1,149.07       0.805         130
DISTRIBUTOR                                                               M060              5,185        62,522 $       871.73    $         -     $    871.73        1.538         642
STATE UNIFORM PRICING                                                     AW50              8,253        48,769 $       892.06    $       (49.25) $    842.80        1.169         610
MISC STATE-TAX SUPPORTED HOSP ADMIN OFFICES                                TP26             1,601        64,353 $       577.13    $         -     $    577.13        1.181         498
CITY OR COUNTY HOSPITAL                                                    T022             7,618        56,319 $       517.60    $         -     $    517.60        0.990         642
REMAINING 79 CLASSES OF TRADE                                               ----       58,101           569,251 $      5,288.07   $       (10.90) $   5,277.17       0.981       1,434

                                  Total                                             5,642,156        40,977,273 $   545,235.54    $   (91,696.12) $ 453,539.42

Dollar values are in thousands. Values exclude returns (instruction codes 60 through 64).
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                         Table 5: Comparison of Price Statistics with Direct Price for Erythromycin 00074632013
                                                    All Direct Customers                            Pharmacy Direct Customers
Year Quarter   WAC       Direct Price Avg Price 95th Pctile # Customers # Transactions Avg Price 95th Pctile # Customers # Transactions

1994    1                     29.450     9.682     12.150         2,078         10,549     11.543     12.150        1,186         1,282
1994    2                     29.450     9.662     12.150         1,957          9,027     10.292     12.150        1,130         1,210
1994    3       29.450        29.450     9.433     12.150         1,981          8,942     12.835     29.450        1,248         1,318
1994    4       29.450        29.450     9.744     12.150         1,673         21,222     12.837     29.450        1,249         1,320
1995    1       29.450        29.450     9.960     14.094         1,897         32,934     16.551     29.450        1,520         1,620
1995    2       29.450        29.450     8.889     12.006         1,804         30,094     12.582     29.450        1,398         1,480
1995    3       29.450        29.450     9.022     11.555         1,811         23,176     11.498     29.450        1,406         1,479
1995    4       29.450        29.450     8.898     11.909         1,917         30,735      5.127     29.450        1,443         1,561
1996    1       29.450        29.450     9.091     11.366         1,888         47,396     10.535     29.450        1,471         1,546
1996    2       29.450        29.450     8.914     11.115         1,854         36,876     10.822     29.450        1,448         1,533
1996    3       29.450        29.450     8.791     10.993         1,700         26,473     10.318     25.920        1,260         1,335
1996    4       28.790        30.300     9.067     11.243         1,243         41,153      9.685      9.950          850           908
1997    1       28.790        30.300     9.282     11.620         1,558         44,088      9.649      9.950        1,114         1,199
1997    2       28.790        30.300     8.689     11.278         1,788         32,558      9.983      9.950        1,298         1,384
1997    3       28.790        30.300     9.589     11.759         1,693         24,375     10.626     10.650        1,181         1,283
1997    4       28.790        30.300     9.755     11.784         1,859         36,194     10.162     10.650        1,301         1,415
1998    1       28.790        30.300     9.601     11.632         2,230         44,071     10.394     10.650        1,663         1,799
1998    2       28.790        30.300     9.352     10.823         2,092         28,017     10.492     10.650        1,567         1,685
1998    3       28.790        30.300     9.765     11.366           964         15,593      9.911     10.650          593           676
1998    4       28.790        30.300     8.937     11.047           211          3,529      9.415     10.475           32           115
1999    1       28.790        30.300     9.905     11.808           237          3,572      9.600     10.597           34           123
1999    2       28.790        30.300     9.167     10.894           191          2,745     10.130     10.584           33            83
1999    3       28.790        30.300    10.080     12.389           183          2,899     10.146     10.841           27            71
1999    4       29.650        31.210    10.396     12.382           198          3,100     10.137     10.868           26            78
2000    1       29.650        31.210    10.082     12.357           205          3,392     10.125     10.841           33            84
2000    2       29.650        31.210     8.655     12.041           200          3,142     11.098     10.950           38            68
2000    3       29.650        31.210     9.186     11.480           159          2,851     10.064     10.732           19            36
2000    4       29.650        31.210     9.782     11.587           214          3,613     10.980     10.863           57            92
2001    1       29.650        31.210     9.205     10.862           207          3,374     11.559     31.210           47            70
2001    2       29.650        31.210     9.180     10.851           204          3,421     11.242     12.385           54            70
2001    3       29.650        31.210     9.914     12.219           195          3,118     10.769     12.400           37            52
2001    4       29.650        31.210     9.754     11.140           199          3,807     11.372     12.354           33            69
2002    1       29.650        31.210     9.453     11.043           201          3,618     10.773     12.385           37            67
2002    2       29.650        31.210     9.924     11.656           197          3,641     10.781     12.448           34            70
2002    3       29.650        31.210     9.971     12.510           170          3,179     11.779     10.406           14            58
2002    4       29.650        31.210    10.114     11.405           149          3,494     15.565     29.453           13            50
2003    1       29.650        31.210     9.307     10.330           139          3,223     10.071     10.366            7            42
2003    2       29.650        31.210     9.749     10.568           156          4,373     10.139     10.375           25            91
2003    3       29.650        31.210    19.528     23.977           138          3,170     19.810     20.230           11            33
2003    4       29.650        31.210    19.842     24.603           137          3,560     19.561     20.159            9            25
2004    1       29.650        31.210    17.817     21.482           131          3,060     20.008     20.103            9            27
2004    2       31.100        32.740    18.375     22.187           147          3,522     19.548     20.280           16            24
2004    3       31.100        32.740    20.630     30.909           141          4,496     20.088     20.193           11            28
2004    4       31.100        32.740    21.063     30.671           130          4,819     19.778     19.943            8            23
2005    1       31.100        32.740    20.993     30.812           142          4,216     19.825     20.078           15            38
2005    2       31.100        32.740    19.401     30.763           112          4,188     19.747     19.997           10            26
2005    3       31.100        32.740    24.969     30.788           121          4,736     25.914     30.645           14            37
2005    4       31.100        32.740    26.051     31.029           111          4,520     22.731     30.633            8            21
2006    1       31.100        32.740    23.036     30.757           104          4,288     22.649     22.915            6            20
2006    2       31.100        32.740    20.599     30.816            95          2,929     23.079     23.384           16            23
2006    3       31.100        32.740    25.093     30.950            77          2,371     23.277     23.384            7            17
2006    4       31.100        32.740    24.896     30.807            75          2,471     23.135     23.556            6            13
2007    1       31.100        32.740    24.264     30.857            74          2,360     22.879     23.195            5            19
2007    2       31.100        32.740    25.095     30.770            77          2,361     23.159     23.620            8            16
2007    3       31.100        32.740    25.064     30.816            87          2,656
2007    4       31.100        32.740    24.841     30.835            77          2,806     22.085     23.620            8            13
  Average       29.828                  13.598     17.242           707         11,966     14.161     18.280          456          506
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                            Table 6: Indirect Transaction Data: Observations and Revenues by NDC
    NDC        # Observations Sum of Units     Sum of Credits       Sum of Debits          Net        Price Per       AWP in 00Q4

00074258913            436,209       508,341   $     5,443.27   $            (107.61) $    5,335.66       $10.50           $23.24
00074258953             30,751        36,557   $     1,811.08   $             (86.95) $    1,724.13       $47.16          $110.38
00074374716            356,602       504,049   $     3,514.20   $             (59.39) $    3,454.81        $6.85           $20.76
00074374816            190,730       247,152   $     3,129.84   $             (72.14) $    3,057.71       $12.37           $38.67
00074572911             39,545        43,121   $       619.31   $             (22.17) $      597.14       $13.85           $25.61
00074572913            418,254       516,685   $     6,618.31   $            (168.47) $    6,449.83       $12.48           $23.24
00074572919              2,393         5,826   $       643.82   $             (22.71) $      621.11      $106.61          $205.52
00074572953             61,673        80,385   $     4,764.55   $            (161.95) $    4,602.59       $57.26          $110.38
00074622713            573,783       744,081   $    10,383.02   $            (203.25) $   10,179.77       $13.68           $27.15
00074630113            341,624       406,922   $     3,823.46   $            (120.14) $    3,703.32        $9.10           $25.77
00074630153             34,934        46,934   $     2,166.14   $             (84.72) $    2,081.42       $44.35          $124.98
00074630411             82,884       126,861   $       663.11   $             (16.50) $      646.60        $5.10           $27.55
00074630413            716,831     1,079,669   $     8,228.10   $            (174.78) $    8,053.32        $7.46           $25.18
00074630430                231         3,049   $         5.57   $              (0.19) $        5.38        $1.76            $7.55
00074630440              6,140       300,116   $       629.86   $             (12.48) $      617.38        $2.06           $10.07
00074630453            210,717       369,276   $    10,015.11   $            (250.46) $    9,764.66       $26.44          $119.58
00074630613             16,590        49,706   $       156.00   $              (1.63) $      154.37        $3.11            $4.77
00074630616            107,332       149,996   $     1,383.24   $             (28.32) $    1,354.92        $9.03           $20.76
00074631613            635,628       994,269   $    12,634.31   $            (263.13) $   12,371.18       $12.44           $26.35
00074632011             41,577        45,943   $       333.02   $             (12.50) $      320.52        $6.98           $39.44
00074632013          1,439,401     1,772,426   $    22,601.69   $            (380.98) $   22,220.71       $12.54           $37.06
00074632030              3,326        43,306   $       113.41   $              (0.57) $      112.85        $2.61           $12.35
00074632053            294,164       420,525   $    21,834.33   $            (545.46) $   21,288.87       $50.62          $176.05
00074632111             41,648        51,145   $       817.80   $             (20.90) $      796.90       $15.58           $44.88
00074632113            566,727       778,692   $    13,697.13   $            (263.39) $   13,433.74       $17.25           $42.50
00074632611             75,264       117,845   $       628.01   $             (11.04) $      616.97        $5.24           $19.53
00074632613            430,948       626,554   $     4,131.77   $             (68.10) $    4,063.67        $6.49           $14.78
00074632653             92,070       134,767   $     3,565.05   $            (107.08) $    3,457.97       $25.66           $70.24
00074634619              9,049        11,728   $       656.89   $             (54.39) $      602.49       $51.37          $134.42
00074634620            369,794       586,414   $     3,592.72   $             (73.01) $    3,519.71        $6.00           $14.58
00074634638             24,297        34,428   $       261.51   $              (9.24) $      252.27        $7.33           $16.96
00074634641              3,327       107,352   $       270.01   $              (6.78) $      263.23        $2.45            $5.83
00074634653            121,192       167,063   $     4,738.35   $            (150.28) $    4,588.07       $27.46           $69.29
00074636902             16,428        30,363   $       164.28   $              (6.00) $      158.28        $5.21            $8.38
00074636910             26,969       170,580   $     1,109.81   $             (21.94) $    1,087.86        $6.38           $15.61
00074637313              8,985        21,305   $       118.30   $              (1.28) $      117.02        $5.49            $8.57
00074637316             64,478        88,120   $     1,446.72   $             (41.12) $    1,405.59       $15.95           $38.67
00074715613            176,490       384,864   $     1,357.47   $             (39.21) $    1,318.27        $3.43           $12.77
00074715643            157,342       392,148   $     1,980.18   $             (59.86) $    1,920.32        $4.90           $18.88
00074715653            144,514       447,566   $     2,822.04   $             (77.25) $    2,744.79        $6.13           $24.82
00074803013            145,152       438,320   $     2,529.13   $             (63.66) $    2,465.47        $5.62           $17.75
00074803043             97,398       337,645   $     3,036.46   $             (77.65) $    2,958.81        $8.76           $26.37
00074803053            107,655       700,959   $     6,567.80   $            (170.80) $    6,397.00        $9.13           $34.63
    Total            8,721,046    14,123,053 $     175,006.15   $          (4,119.47) $ 170,886.69                -             -

Dollar values are in thousands.
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                     Table 7: Indirect Transaction Data: Observations and Revenues by Year-Quarter
     Year Quarter # Observations Sum of Units          Sum of Credits       Sum of Debits             Net    # NDCs

    1994         1          105,004      263,521   $        2,490.68    $         (39.98)   $     2,450.69       36
    1994         2           80,757      200,164   $        1,990.83    $         (50.63)   $     1,940.21       37
    1994         3           85,193      176,239   $        1,891.80    $         (33.06)   $     1,858.74       39
    1994         4          172,125      370,161   $        4,237.12    $         (67.81)   $     4,169.31       39
    1995         1          218,257      465,763   $        5,506.27    $        (133.31)   $     5,372.96       39
    1995         2          166,126      343,270   $        3,959.13    $         (77.35)   $     3,881.77       39
    1995         3          146,170      276,331   $        3,406.91    $         (97.18)   $     3,309.73       42
    1995         4          239,170      489,553   $        5,634.56    $        (122.81)   $     5,511.75       42
    1996         1          238,312      471,592   $        5,534.85    $        (130.42)   $     5,404.43       42
    1996         2          187,284      351,826   $        4,136.21    $         (90.41)   $     4,045.80       42
    1996         3          149,656      251,982   $        2,893.74    $         (74.89)   $     2,818.85       43
    1996         4          223,749      364,122   $        4,258.75    $         (93.39)   $     4,165.37       43
    1997         1          221,042      381,937   $        4,401.60    $         (81.00)   $     4,320.60       43
    1997         2          162,879      263,888   $        2,972.33    $         (64.45)   $     2,907.87       43
    1997         3          129,571      207,134   $        2,458.66    $         (49.34)   $     2,409.32       43
    1997         4          173,259      272,685   $        3,226.17    $         (54.36)   $     3,171.81       43
    1998         1          183,972      295,063   $        3,400.08    $         (75.50)   $     3,324.57       43
    1998         2          123,208      188,880   $        2,141.46    $         (59.48)   $     2,081.98       43
    1998         3          115,850      185,238   $        2,139.98    $         (62.62)   $     2,077.36       43
    1998         4          144,524      303,811   $        3,433.85    $        (123.24)   $     3,310.61       43
    1999         1          173,604      350,465   $        3,859.00    $         (76.41)   $     3,782.59       43
    1999         2          120,668      225,277   $        2,479.75    $         (47.78)   $     2,431.98       43
    1999         3          106,825      191,326   $        2,205.13    $         (69.77)   $     2,135.36       43
    1999         4          145,635      275,929   $        3,108.83    $         (49.76)   $     3,059.07       43
    2000         1          154,652      265,440   $        2,937.47    $        (147.64)   $     2,789.82       43
    2000         2          185,272      236,445   $        2,937.81    $        (383.70)   $     2,554.12       43
    2000         3          159,329      225,304   $        2,595.20    $        (193.39)   $     2,401.82       43
    2000         4          187,340      279,927   $        3,119.24    $        (137.08)   $     2,982.15       43
    2001         1          200,887      312,121   $        3,355.52    $        (121.66)   $     3,233.86       43
    2001         2          150,627      224,803   $        2,458.38    $         (53.89)   $     2,404.50       43
    2001         3          137,108      201,456   $        2,204.59    $         (55.95)   $     2,148.64       42
    2001         4          181,771      270,021   $        2,934.92    $         (68.40)   $     2,866.53       42
    2002         1          190,317      285,530   $        2,879.00    $         (49.86)   $     2,829.14       41
    2002         2          143,374      208,583   $        2,309.78    $         (42.13)   $     2,267.65       38
    2002         3          131,862      183,423   $        2,071.02    $         (54.13)   $     2,016.89       36
    2002         4          157,103      218,989   $        2,367.37    $         (34.40)   $     2,332.97       33
    2003         1          167,790      233,806   $        2,462.78    $         (31.91)   $     2,430.87       34
    2003         2          139,724      196,602   $        2,094.37    $         (40.49)   $     2,053.88       33
    2003         3          146,528      200,137   $        2,980.81    $         (84.34)   $     2,896.47       32
    2003         4          196,617      271,363   $        4,050.32    $         (77.99)   $     3,972.33       31
    2004         1          184,907      251,168   $        3,770.88    $         (81.93)   $     3,688.95       31
    2004         2          161,076      217,316   $        3,181.31    $         (70.19)   $     3,111.12       31
    2004         3          154,116      207,864   $        3,040.41    $         (80.76)   $     2,959.65       31
    2004         4          175,037      236,741   $        3,454.30    $         (74.43)   $     3,379.87       31
    2005         1          195,766      267,798   $        3,846.43    $         (59.63)   $     3,786.80       31
    2005         2          152,152      210,700   $        3,008.39    $         (28.07)   $     2,980.32       31
    2005         3          124,871      172,828   $        2,788.29    $         (30.73)   $     2,757.56       30
    2005         4          140,707      203,054   $        3,358.01    $         (36.63)   $     3,321.38       30
    2006         1          148,280      200,811   $        3,429.92    $         (40.05)   $     3,389.87       30
    2006         2          124,316      172,232   $        2,903.27    $         (37.83)   $     2,865.44       30
    2006         3          111,639      150,817   $        2,526.33    $         (27.96)   $     2,498.36       30
    2006         4          128,487      172,382   $        2,941.49    $         (28.99)   $     2,912.50       30
    2007         1          135,698      179,445   $        3,026.90    $         (40.29)   $     2,986.62       30
    2007         2          113,744      149,716   $        2,467.75    $         (25.52)   $     2,442.23       28
    2007         3          111,087      168,174   $        2,834.26    $         (35.22)   $     2,799.04       27
    2007         4          116,022      181,900   $        2,901.95    $         (19.36)   $     2,882.59       25
         Total             8,721,046   14,123,053 $       175,006.15    $       (4,119.47) $    170,886.69      43
    Dollar values are in thousands.
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                                            Table 8: Indirect Transaction Data: Observations and Revenues by Class of Trade
                       COT Code Meaning                  Code # Observations Sum of Units    Sum of Credits       Sum of Debits         Net        Avg Ratio    # Ratios

RETAIL PHARMACY                                          A003        3,562,067    4,381,986 $     64,054.87   $          (1,856.57) $ 62,198.30         1.085        1,747
CHAIN PHARMACY                                           A007        3,197,641    3,532,170 $     46,317.32   $          (1,051.48) $ 45,265.84         1.018        1,643
CHAIN PHARMACY WAREHOUSE                                 A077          17,073      847,346 $      12,747.27   $             (21.50) $ 12,725.77         1.011          670
NON-PROFIT HOSPITAL                                      H021         551,894      837,783 $       7,253.48   $            (219.58) $   7,033.90        0.967        1,793
MILITARY HOSPITALS                                       US32         103,304      985,138 $       7,129.32   $             (99.61) $   7,029.71        0.770        1,551
CLOSED PHARMACY                                          M070         161,493      235,289 $       3,486.31   $            (100.08) $   3,386.24        1.097        1,791
KAISER HOSP OUTPATIENT PHARMACY - NON-PROFIT HMO HK26                  88,786      312,312 $       3,232.10   $             (53.03) $   3,179.07        0.789          942
                                                                      149,137      392,823 $       2,938.33   $             (80.19) $   2,858.14        0.981          705
HMO OUTPATIENT PHARMACY - NON-PROFIT                     HH26          49,218      274,626 $       2,714.94   $             (24.96) $   2,689.98        0.978        1,149
HMO OUTPATIENT PHARMACY (PROFIT)                         MH26          83,284      222,225 $       2,504.71   $             (35.81) $   2,468.90        0.897        1,270
DSH HOSPITALS ELIGIBLE FOR PHS PRICING                   GV11          64,931      240,149 $       2,360.40   $             (36.36) $   2,324.04        0.901        1,851
PUBLIC HEALTH SERVICE HOSP                               US31          29,851      292,713 $       2,096.51   $             (29.47) $   2,067.05        0.767        1,338
V.A. HOSPITALS                                           US30          58,360      177,747 $       1,872.59   $             (22.18) $   1,850.41        0.791        1,456
CITY OR COUNTY HOSPITAL                                  T022         134,224      217,134 $       1,861.33   $             (64.45) $   1,796.88        0.975        1,618
PROFIT HOSPITAL                                          M021          99,062      152,525 $       1,460.35   $             (48.94) $   1,411.41        1.011        1,575
RESEARCH FOUNDATION AND PHARMACY MFG.                    A073           5,443        55,303 $      1,408.00   $             (32.44) $   1,375.56        1.045          892
STATE HOSPITAL                                           TP25          38,628      110,098 $       1,172.30   $             (22.70) $   1,149.60        0.959        1,368
MISC STATE-TAX SUPPORTED HOSP ADMIN OFFICES              TP26          24,622        88,093 $      1,052.91   $             (25.22) $   1,027.69        0.916        1,199
STATE TEACHING INSTITUTIONS                              TP28          28,435        74,691 $      1,026.09   $             (17.17) $   1,008.92        0.885        1,249
REMAINING 78 CLASSES OF TRADE                             ----        273,593      692,902 $       8,317.01   $            (277.75) $   8,039.28        0.927        2,025
                              Total                                  8,721,046   14,123,053 $   175,006.15    $          (4,119.47) $ 170,886.69

Dollar values are in thousands.
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                             Table 9: Most Frequent Wholesalers in Abbott Direct Transaction Data
           Wholesaler Name                    # Obs         Sum of Units     Sum of Extprice     Sum of Cbacks           Net
MCKESSON                                       1,611,695         5,194,019   $      99,591.43   $      (28,567.35)   $    71,024.08
AMERISOURCE-BERGEN-BRUNSWIG                    1,678,752         5,569,750   $      94,752.42   $      (29,040.78)   $    65,711.64
CARDINAL-BINDLEY                                 705,918         3,217,619   $      56,305.89   $      (17,268.65)   $    39,037.23
WHITMIRE                                         329,487         1,139,701   $      17,869.05   $       (5,254.23)   $    12,614.82
MORRIS & DICKSON                                  84,268           277,920   $       4,475.08   $         (898.62)   $     3,576.46
HD SMITH                                          68,825           218,870   $       4,015.22   $         (914.92)   $     3,100.30
KINRAY                                            45,527           207,220   $       3,559.38   $         (779.27)   $     2,780.11
D&K                                               53,530           159,441   $       2,942.65   $         (598.93)   $     2,343.73
FRANK W KERR                                      61,391           170,004   $       2,962.25   $       (1,009.26)   $     1,952.99
WALSH                                             47,943           176,386   $       2,872.51   $       (1,116.74)   $     1,755.76
MCQUEARY                                          33,423           101,657   $       1,808.54   $         (431.93)   $     1,376.61
C D SMITH                                         45,358            74,301   $       1,150.65   $         (246.66)   $       903.98
NC MUTUAL                                         36,762            71,947   $       1,221.46   $         (326.20)   $       895.26
FOXMEYER                                          31,500            50,128   $       1,024.83   $         (218.19)   $       806.64
OTHER                                            375,525         1,574,874   $      27,213.84   $       (4,946.86)   $    22,266.98
                 Total                         5,209,904        18,203,837 $       321,765.20   $      (91,618.61) $     230,146.59
Dollar values are in thousands. No wholesalers in the 'other' category have more than 25,000 transactions.
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                        Table 10: Comparison of Price Statistics with AWP for Erythromycin 00074632013
                                         All Indirect Customers                         Pharmacy Indirect Customers
Year Quarter   AWP         Avg Price 95th Pctile # Customers # Transactions Avg Price 95th Pctile # Customers # Transactions

1994     1     34.970          6.942     10.570         2,132         6,967    10.541      10.690         1,160        3,721
1994     2     34.970          7.512     10.570         2,101         6,009    10.583      10.690         1,272        3,473
1994     3     34.970          7.867      9.950         4,047         9,897     9.613       9.950         3,071        7,261
1994     4     34.970          8.445      9.950         6,907        23,368     9.721       9.950         5,644       19,309
1995     1     34.970          8.553      9.950         8,484        31,527     9.730       9.950         7,079       26,858
1995     2     34.970          8.585      9.950         8,068        24,496     9.681       9.950         6,869       21,086
1995     3     34.970          8.589      9.950         7,762        19,756     9.608       9.950         6,608       16,837
1995     4     34.970          8.712      9.950        10,728        36,143     9.593       9.950         9,289       31,684
1996     1     34.970          8.799      9.950        11,572        39,430     9.543       9.950        10,125       35,150
1996     2     34.970          9.081      9.950        10,498        31,053     9.608       9.950         9,377       28,001
1996     3     34.970          8.854      9.950         9,641        24,335     9.512       9.950         8,568       21,778
1996     4     35.980          8.925      9.950        12,733        42,480     9.479       9.950        11,378       38,563
1997     1     35.980          8.909      9.950        12,508        38,848     9.491       9.950        11,242       35,644
1997     2     35.980          9.051      9.950        10,192        28,862     9.484       9.950         9,296       26,714
1997     3     35.980          9.615     10.650         9,409        23,140    10.177      10.650         8,611       21,366
1997     4     35.980          9.731     10.650        11,095        34,575    10.190      10.650        10,176       32,206
1998     1     35.980          9.728     10.650        11,666        38,339    10.186      10.650        10,718       35,879
1998     2     35.980          9.709     10.650         9,538        23,568    10.159      10.650         8,805       21,949
1998     3     35.980          9.716     10.650         9,589        21,703    10.165      10.650         8,841       20,169
1998     4     35.980          9.704     10.650        10,661        24,379    10.219      10.650         9,779       22,543
1999     1     35.980          9.784     10.650        10,561        25,576    10.290      10.650         9,697       23,629
1999     2     35.980          9.759     10.650         8,945        19,455    10.192      10.650         8,208       17,896
1999     3     35.980          9.941     10.950         8,577        17,567    10.359      10.950         7,919       16,289
1999     4     37.060          9.907     10.950        10,633        27,213    10.363      10.950         9,756       25,284
2000     1     37.060          9.835     10.950        11,543        29,137    10.274      10.950        10,663       27,256
2000     2     37.060          9.903     10.950        11,056        27,126    10.203      10.950        10,358       25,664
2000     3     37.060          9.835     10.950        11,051        23,977    10.125      10.950        10,350       22,560
2000     4     37.060          9.833     10.950        13,167        31,546    10.104      10.950        12,311       29,690
2001     1     37.060          9.860     10.950        13,511        33,967    10.133      10.950        12,648       31,939
2001     2     37.060          9.973     10.950        12,284        24,760    10.253      10.950        11,521       23,243
2001     3     37.060         10.060     10.470        12,234        22,447    10.239      10.470        11,482       21,073
2001     4     37.060         10.054     10.470        15,529        32,833    10.224      10.470        14,529       30,773
2002     1     37.060          9.945     10.470        16,736        35,604    10.109      10.470        15,481       33,046
2002     2     37.060          9.891     10.470        16,635        28,013    10.097      10.470        14,906       25,417
2002     3     37.060          9.928     10.470        13,999        24,507    10.105      10.470        12,879       22,602
2002     4     37.060          9.946     10.470        16,329        31,118    10.103      10.470        15,245       29,011
2003     1     37.060          9.921     10.470        16,982        34,100    10.104      10.470        15,719       31,586
2003     2     37.060          9.954     10.470        15,004        27,335    10.113      10.470        13,941       25,379
2003     3     37.060         18.804     20.280        14,163        23,920    19.699      20.280        12,982       21,814
2003     4     37.060         19.416     20.280        17,260        34,023    20.132      20.280        15,737       31,082
2004     1     37.060         19.732     20.280        16,279        30,250    20.172      20.280        14,953       27,598
2004     2     38.880         19.731     20.280        14,371        24,354    20.162      20.280        13,137       22,124
2004     3     38.880         19.745     20.280        13,597        22,051    20.170      20.280        12,357       19,867
2004     4     38.880         19.831     20.280        15,355        26,964    20.169      20.280        14,057       24,487
2005     1     38.880         19.857     20.280        17,429        33,303    20.166      20.280        15,998       30,376
2005     2     38.880         19.814     20.280        14,255        23,310    20.171      20.280        12,900       20,966
2005     3     38.880         21.725     23.620        11,702        18,118    22.434      23.620        10,638       16,267
2005     4     38.880         21.863     23.620        13,100        21,951    22.599      23.620        11,976       19,795
2006     1     38.880         22.779     23.620        13,929        23,694    23.367      23.620        12,594       21,312
2006     2     38.880         22.730     23.620        11,996        18,203    23.333      23.620        10,819       16,269
2006     3     38.880         22.698     23.620        10,628        15,581    23.321      23.620         9,591       13,959
2006     4     38.880         22.740     23.620        12,399        19,161    23.327      23.620        11,166       17,094
2007     1     38.880         22.730     23.620        12,531        19,831    23.311      23.620        11,460       17,936
2007     2     38.880         22.770     23.620        10,904        16,009    23.321      23.620         9,903       14,451
2007     3     38.880         22.773     23.620        10,938        15,376    23.299      23.620         9,872       13,766
2007     4     38.880         22.711     23.620        11,725        16,509    23.299      23.832        10,645       14,821
  Average      36.906         13.175     14.206        11,726        25,496    13.806      14.214        10,648       23,152
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                           Table 11: Medicaid Spending on Abbott Complaint NDCs by State, NDC, and Yr-Quarter: CMS SDUD Data
                A. Breakdown by State                                  B. Breakdown by NDC                         C. Breakdown by Year-Quarter
     State   # Scripts         Paid       Cumulative                NDC        # Scripts      Paid                 YrQuart     # Scripts    Paid

                                                                                                               1   1994,1        507,787      $4,861
                                                                                                               2   1994,2        376,345      $3,619
                                                                                                               3   1994,3        294,241      $2,766
 1    CA      2,841,702         $29,385       26.01%                                                           4   1994,4        378,127      $3,572
 2    TX        764,629          $8,469       33.51%                                                           5   1995,1        416,034      $3,921
 3    NY        685,432          $7,373       40.03%                                                           6   1995,2        323,437      $3,061
 4    IL        530,951          $5,489       44.89%        1    00074632013   1,622,184       $18,556         7   1995,3        284,603      $2,745
 5    FL        451,944          $4,945       49.27%        2    00074631613   1,260,112       $13,106         8   1995,4        375,172      $3,891
 6    KY        369,545          $4,217       53.00%        3    00074374716     859,536        $7,116         9   1996,1        424,963      $4,627
 7    GA        361,337          $3,705       56.28%        4    00074632053     461,961        $5,286        10   1996,2        330,170      $3,548
 8    PA        330,214          $3,348       59.24%        5    00074622713     487,239        $4,833        11   1996,3        254,371      $2,664
 9    NC        290,643          $3,225       62.10%        6    00074630413     473,616        $4,740        12   1996,4        323,615      $3,405
10    MA        342,625          $3,208       64.94%        7    00074715643     262,488        $4,727        13   1997,1        352,863      $3,682
11    LA        256,409          $3,134       67.71%        8    00074258913     481,587        $4,626        14   1997,2        231,013      $2,285
12    MO        233,565          $2,736       70.13%        9    00074634620     550,985        $4,419        15   1997,3        181,004      $1,789
13    MI        302,362          $2,402       72.26%        10 00074634653       552,193        $4,363        16   1997,4        254,527      $2,630
14    AL        171,887          $1,942       73.98%        11 00074630113       393,902        $4,179        17   1998,1        270,064      $2,805
15    WV        189,722          $1,845       75.61%        12 00074715653       195,130        $4,146        18   1998,2        193,367      $2,021
16    WA        187,588          $1,754       77.16%        13 00074632113       324,549        $4,070        19   1998,3        150,013      $1,570
17    VA        166,079          $1,724       78.69%        14 00074374816       326,789        $3,630        20   1998,4        213,904      $2,249
18    IN        135,927          $1,374       79.91%        15 00074715613       252,203        $3,552        21   1999,1        234,734      $2,465
19    MN        102,170          $1,359       81.11%        16 00074634619       428,113        $3,359        22   1999,2        162,842      $1,703
20    SC        132,631          $1,348       82.30%        17 00074632613       412,727        $3,320        23   1999,3        131,197      $1,373
21    AR        113,739          $1,321       83.47%        18   00074572913     268,732        $2,638        24   1999,4        179,631      $1,868
22    TN        135,232          $1,318       84.64%        19   00074630453     184,171        $1,877        25   2000,1        177,965      $1,895
23    IA        118,627          $1,305       85.79%        20   00074803053      65,065        $1,568        26   2000,2        131,304      $1,429
24    WI        128,319          $1,288       86.93%        21   00074630616     174,449        $1,455        27   2000,3        118,012      $1,291
25    OK        110,545          $1,217       88.01%        22   00074803043      55,949        $1,150        28   2000,4        163,547      $1,820
26    NJ        120,569          $1,210       89.08%        23   00074803013      66,305        $1,046        29   2001,1        179,241      $2,070
27    ME        106,611          $1,178       90.12%        24   00074632653     122,786        $1,027        30   2001,2        132,373      $1,544
28    MS        111,157          $1,175       91.16%        25   00074630613      95,626          $709        31   2001,3        110,060      $1,262
29    CO         88,394            $829       91.90%        26 00074630153        66,773          $702        32   2001,4        149,742      $1,715
30    CT         76,411            $820       92.62%        27 00074637316        64,898          $697        33   2002,1        159,612      $1,854
31    OR         71,450            $795       93.33%        28 00074572953        65,194          $643        34   2002,2        130,081      $1,490
32    KS         65,325            $733       93.98%        29 00074258953        45,804          $444        35   2002,3        112,618      $1,272
33    UT         56,552            $691       94.59%        30 00074636910         9,244          $182        36   2002,4        141,095      $1,608
34    MD         72,328            $690       95.20%        31 00074637313        13,874          $146        37   2003,1        148,367      $1,701
35    NM         54,195            $624        95.75%       32   00074632011      10,970          $120        38   2003,2        128,469      $1,441
36    NE         62,670            $623        96.30%       33   00074636902       8,596          $104        39   2003,3        121,724      $1,343
37    ID         42,043            $539        96.78%       34   00074632611      11,710           $84        40   2003,4        167,133      $1,866
38    MT         42,312            $450        97.18%       35   00074572911       8,653           $83        41   2004,1        156,942      $1,776
39    VT         41,552            $424        97.55%       36   00074630411       7,070           $65        42   2004,2        131,319      $1,504
40    NH         37,439            $390        97.90%       37   00074634638       8,928           $59        43   2004,3        108,701      $1,260
41    NV         28,737            $352        98.21%       38   00074632030       3,208           $37        44   2004,4        132,494      $1,566
42    HI         31,028            $323        98.50%       39   00074572919       3,335           $33        45   2005,1        144,367      $1,714
43    RI         33,317            $323        98.78%       40   00074632111       2,470           $28        46   2005,2        124,581      $1,461
44    AK         21,135            $321        99.07%       41   00074634641       2,872           $23        47   2005,3        103,893      $1,206
45    DE         25,268            $266        99.30%       42   00074630440       1,778           $20        48   2005,4        121,476      $1,410
46    SD         19,194            $236        99.51%       43   00074630430         949            $9        49   2006,1         88,098        $984
47    ND         18,007            $213        99.70%                                                         50   2006,2         73,801        $805
48    DC         17,401            $187        99.86%                                                         51   2006,3         55,622        $622
49    WY         17,804            $153       100.00%                                                         52   2006,4         71,324        $797
                                                                                                              53   2007,1          70600        $763
                                                                                                              54   2007,2          54780        $584
                                                                                                              55   2007,3          52157        $570
                                                                                                              56   2007,4          51584        $577
                                                                                                              57   2008,1          57617        $650
     Total     10714723        $112,976             1               Total       10714723      $112,976              Total       10714723    $112,976

Dollar amounts are in thousands of dollars.
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  Table 12A: Comparison of Abbott CMS State Drug Utilization and MAX Claims Data: 1999 - 2004
                     SDUD Data                                MAX Data
State      Paid         Scripts     # Quarts        Paid          Claims      # Quarts    % Pd Diff

CA       $8,826.50        790,778          24    $7,479.85        1,425,291          24    -15.3
TX       $3,532.33        300,900          24    $3,604.51          306,086          24     2.0
NY       $2,891.06        269,030          24    $2,872.41          265,546          24     -0.6
IL       $2,016.02        182,659          24    $2,048.26          189,660          24     1.6
FL       $1,989.25        168,730          24    $2,012.58          170,751          24     1.2
KY       $1,395.68        117,935          24    $1,400.80          133,789          24     0.4
LA       $1,333.17        103,798          24    $1,328.59          103,567          24     -0.3
GA       $1,301.99        130,134          24    $1,291.46          129,290          24     -0.8
MA       $1,233.17        130,141          24    $1,155.76          127,515          24     -6.3
MO       $1,104.85         89,806          24    $1,072.44          121,068          24     -2.9
NC       $1,095.15         94,596          23    $1,141.84           98,636          24     4.3
TN        $959.54          95,776          19    $1,174.23          417,108          23    22.4
PA        $729.71          67,052          23     $732.73            67,253          24     0.4
AL        $716.46          63,580          24     $723.30            64,743          24     1.0
IN        $638.38          57,900          23     $692.02            81,309          24     8.4
WA        $593.42          63,961          24     $595.97            64,802          24     0.4
AR        $555.89          47,244          23     $666.10            52,615          24    19.8
WV        $555.30          52,710          23     $613.10            57,773          24    10.4
SC        $552.12          53,874          24     $528.43            54,316          24     -4.3
MI        $494.67          59,238          23     $509.50            60,317          24     3.0
OK        $484.87          41,638          24     $535.90            59,505          24    10.5
ME        $481.50          41,564          24     $499.97            42,678          24     3.8
VA        $470.50          42,607          24     $468.54            59,299          24     -0.4
IA        $464.85          32,866          18     $606.15            44,272          24    30.4
MS        $435.27          39,977          20     $519.84            47,718          24    19.4
MN        $432.73          23,716          23     $389.19            54,508          24    -10.1
WI        $356.78          36,396          24     $352.69            56,771          24     -1.1
OR        $299.14          25,536          24     $287.04            25,322          24     -4.0
KS        $280.57          23,800          22     $320.11            32,709          24    14.1
NJ        $274.52          27,133          24     $273.70            62,926          24     -0.3
CO        $263.91          32,620          23     $339.45            29,539          24    28.6
NE        $237.20          21,300          24     $248.86            22,249          24     4.9
UT        $213.33          16,959          23     $214.47            16,999          24     0.5
ID        $212.11          15,757          24     $247.30            18,108          24    16.6
CT        $191.12          16,939          24     $182.13            16,141          24     -4.7
NV        $154.75          12,260          23     $161.17            12,995          24     4.2
MT        $154.17          13,147          24     $159.19            13,466          24     3.3
AK        $145.30           9,039          24     $143.21             8,848          24     -1.4
NH        $134.65          12,513          23     $150.73            14,057          24    11.9
NM        $132.50          10,976          24     $122.32            37,171          24     -7.7
VT        $127.18          11,334          22     $259.71            25,195          24    104.2
HI        $124.95          11,441          23     $124.78            37,696          24     -0.1
RI        $100.12           9,407          24     $99.99             19,465          24     -0.1
SD        $91.15            6,781          24     $93.67              6,971          24     2.8
MD        $87.65           11,352          24     $92.46             44,176          24     5.5
DE        $73.13            6,795          20     $93.76              8,751          24    28.2
WY        $72.61            5,946          24     $64.31              5,368          20    -11.4
ND        $72.59            5,923          24     $74.19              6,040          24     2.2
DC        $34.60            3,639          23     $36.47              3,911          24     5.4
Total   $39,118.38      3,509,203      -        $38,805.14        4,824,289      -          -0.8

                            Paid amounts are in thousands of dollars.
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        Table 12B: Comparison of Abbott CMS State Drug Utilization and SMRF Claims Data: 1996 - 1998
                             SDUD Data                                  SMRF Data
   State          Paid          Scripts     # Quarts         Paid              Claims      # Quarts    % Pd Diff

    CA          $10,032.51       951,586            12    $5,120.98             521,966           8      -49.0
    TX          $2,250.16        204,042            12
    NY          $2,221.37        198,448            12
    IL          $1,502.69        150,181            12
    KY          $1,317.13        115,220            12    $1,255.78             110,356           12     -4.7
    FL          $1,285.02        123,167            12    $1,295.78             123,883           12     0.8
    PA          $1,130.74        111,472            12    $1,095.68             107,946           12     -3.1
    MA          $1,061.33        118,178            12
    GA          $1,058.91         98,775            12    $1,133.14             107,747           12      7.0
    NC           $996.98          87,228            10
    LA           $885.75          73,712            12
    MI           $807.44          99,317            12     $787.31               95,358           12     -2.5
    WV           $646.75          66,582            12
    MO           $595.10          55,424            11     $635.61               62,425           12      6.8
    VA           $577.47          56,129            12
    AL           $490.81          45,567            12
    WA           $472.37          53,011            12     $447.24               50,895           12     -5.3
    WI           $374.71          37,454            12     $369.07               37,009           12     -1.5
    MN           $364.95          33,941            12     $379.24               33,070           12     3.9
    NJ           $359.60          36,626            12     $339.26               34,322           12     -5.7
    SC           $340.17          32,476            10
    ME           $325.49          29,616            12     $321.50               29,212           12     -1.2
    MS           $311.37          28,943            12     $326.61               30,003           12     4.9
    AR           $303.67          25,470            11     $354.71               28,750           12     16.8
    NM           $277.53          24,255            12     $264.22               22,981           12     -4.8
    IA           $253.58          38,488            11     $499.77               42,177           12     97.1
    OK           $252.10          23,241            12
    MD           $247.60          25,125            12
    CT           $235.71          21,398            12
    CO           $227.68          20,585             9     $324.14               28,958           12     42.4
    KS           $215.65          19,166            10     $278.31               24,567           12     29.1
    UT           $213.47          17,226            12     $209.87               16,962           12     -1.7
    OR           $172.54          15,470            12
    NE           $168.01          17,546            11
    IN           $163.73          16,204             4     $528.30               57,734           12    222.7
    VT           $142.92          14,491            11     $161.44               16,169           12    13.0
    ID           $137.41          11,088            10     $159.19               12,917           12    15.9
    MT           $135.03          13,825            12     $139.79               13,299           12     3.5
    NH           $106.27           9,981             9     $152.21               14,381           12    43.2
    DE            $94.61           8,887            11     $98.17                 9,243           12     3.8
    RI            $81.36           9,683            11
    HI            $72.81           7,551            12
    NV            $70.62           5,770             9
    DC            $67.26           6,317            11
    SD            $65.78           5,682            12
    ND            $59.61           5,067            12      $62.64                5,375           12     5.1
    AK            $54.12           4,341            12      $55.94                4,440           12     3.4
    WY            $48.52           5,922            12      $71.47                6,088           12     47.3
Total-Partial   $20,869.17     2,009,548        -         $16,867.34           1,648,233      -          -19.2
  Total-All     $33,276.45     3,179,874        -
                                   Paid amounts are in thousands of dollars.
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              Table 12C: Comparison of Abbott CMS State Drug Utilization and SMRF Claims Data: 1994 - 1995

                                SDUD Data                                      SMRF Data


   State              Paid          Scripts      # Quarts          Paid              Claims       # Quarts   % Paid Diff

    CA             $8,202.76           920,996            8     $7,025.56               757,488          8      -14.4
    TX             $1,559.48           158,086            8
    NY             $1,505.22           137,302            6
    PA             $1,236.94           126,989            8     $1,180.25               120,710          8      -4.6
    IL             $1,172.30           123,282            7
    KY             $1,053.24            96,880            8     $1,110.43               101,527          8       5.4
    FL             $1,023.82           105,749            7     $1,149.87               118,536          8      12.3
    GA              $990.71             96,149            8     $1,036.16                99,662          8       4.6
    MI              $871.68            117,147            8      $864.70                115,253          8      -0.8
    NC              $761.93             75,890            8
    MA              $720.05             73,244            7
    MO              $612.60             61,847            7      $667.28                 70,353          8       8.9
    VA              $537.00             55,043            8
    WA              $520.05             56,257            7      $556.19                 59,857          8       6.9
    WV              $499.04             55,599            8
    NJ              $490.05             48,440            8      $539.07                 52,813          8      10.0
    LA              $448.01             42,290            7
    AL              $446.10             38,307            8      $440.08                 37,877          8       -1.3
    WI              $423.45             42,245            8      $372.40                 37,239          8      -12.1
    MN              $420.03             37,753            8      $418.95                 36,987          8       -0.3
    IN              $412.24             46,000            6      $540.30                 56,513          8       31.1
    IA              $383.95             32,816            7      $412.21                 37,289          8        7.4
    CT              $351.81             34,245            8
    MD              $316.79             30,992            8
    MS              $272.74             26,922            8      $264.00                 25,926          8      -3.2
    SC              $271.76             29,493            8
    OR              $264.02             25,327            8
    ME              $232.67             23,891            8      $579.15                 20,476          8     148.9
    OK              $230.35             21,440            8
    AR              $224.77             20,255            8      $208.80                 18,622          8      -7.1
    CO              $210.49             21,443            5      $290.70                 29,858          8      38.1
    NM              $198.52             17,740            6
    UT              $182.23             15,524            7      $204.59                 17,438          8      12.3
    KS              $144.74             14,438            5      $239.37                 23,373          8      65.4
    NE              $143.27             16,779            8
    VT              $134.19             14,082            7      $147.42                 15,432          8        9.9
    MT              $122.37             12,580            8      $112.48                 11,506          8       -8.1
    RI              $122.05             12,356            6      $52.30                   5,205          4      -57.2
    NH              $118.96             11,688            8      $116.97                 11,428          8       -1.7
    ID              $110.06              9,428            8
    HI               $88.95              8,852            6
    NV               $77.20              6,732            8
    DC              $75.49               6,602            8
    DE               $66.21              6,554            8       $65.48                  6,455          8      -1.1
    ND              $61.89               5,536            8       $60.22                  5,323          8      -2.7
    AK               $52.42              4,174            8       $51.65                  4,105          8      -1.5
    SD               $52.31              4,767            8
    TN               $11.89              1,527            1
    WY                $7.80              4,068            6       $54.60                  4,883          8     600.3
Total-Partial      $19,041.15        2,021,086       -         $18,761.16             1,902,134      -          -1.5
  Total-All        $28,436.59        2,955,746       -
                                         Paid amounts are in thousands of dollars.
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    Table 13A: Breakdown of California Medicaid Spending by NDC and Year-Quarter for 1994-2001

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913              26             $272       1994           1            6,682          $64,317
00074258953               2              $22       1994           2           79,094         $733,596
00074374716         123,432         $928,746       1994           3           79,950         $735,253
00074374816          26,521         $286,495       1994           4          109,103       $1,001,869
00074572913              22             $198       1995           1          116,511       $1,021,521
00074572953               1              $10       1995           2           96,331         $863,056
00074622713          18,761         $201,585       1995           3           80,172         $736,568
00074630113           3,461          $36,807       1995           4          122,494       $1,237,801
00074630153           2,031          $21,516       1996           1          118,173       $1,262,945
00074630411              26             $259       1996           2           85,767         $934,693
00074630413          14,829         $159,989       1996           3           68,807         $738,021
00074630430              34             $313       1996           4           87,353         $980,647
00074630440             149           $1,368       1997           1           54,861         $636,324
00074630453           4,427          $49,692       1997           2           24,587         $245,894
00074630613           2,947          $25,937       1997           3           30,139         $300,797
00074630616          25,976         $193,376       1997           4           63,918         $638,295
00074631613         499,687       $5,248,353       1998           1           57,104         $565,105
00074632011              57             $730       1998           2           39,995         $399,281
00074632013          22,045         $273,486       1998           3           30,137         $303,518
00074632030             412           $5,132       1998           4           40,125         $396,554
00074632053          10,017         $126,440       1999           1           43,145         $430,517
00074632111               9              $86       1999           2           27,244         $269,337
00074632113          14,606         $213,385       1999           3           21,836         $217,628
00074632611             218           $1,714       1999           4           31,827         $319,128
00074632613          17,339         $139,962       2000           1           30,093         $311,343
00074632653           9,022          $73,546       2000           2           20,425         $214,463
00074634619          37,178         $296,684       2000           3           18,810         $196,811
00074634620         335,337       $2,687,573       2000           4           30,548         $341,371
00074634638             378           $2,590       2001           1           34,183         $414,689
00074634641           1,357           $9,833       2001           2           21,958         $263,086
00074634653         375,007       $2,994,921       2001           3           17,989         $212,775
00074636902             660           $7,836       2001           4           22,157         $253,743
00074636910           1,596          $32,902
00074637313             451           $6,678              Total            1,711,518      $17,240,944
00074637316           7,719          $79,396
00074715613          42,591         $631,215
00074715643          48,924         $982,600
00074715653          30,050         $789,367
00074803013          11,427         $187,921
00074803043           8,156         $168,484
00074803053          14,630         $373,525

   Total          1,711,518      $17,240,944
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            Table 13B: The Impact of Alternative Price Statistics on Medicaid Spending in California
     Price Statistic Used      # w/DIFF>0   % w/DIFF>0     Total Difference   # Pharm. Payments   Federal Difference

       Avg. Pharmacy           1,660,641      97.61%        $5,022,585            616,035            $2,531,035

  95th Percentile Pharmacy     1,119,002      65.77%        $3,055,627            473,848            $1,545,510

    1.25 * Avg. Pharmacy       1,631,982      95.92%        $3,647,672            609,266            $1,837,222

  1.25 * Avg. All Customer     1,665,068      97.87%        $4,296,600            616,422            $2,162,129

1.25 * Avg. Pharm Unweighted   1,556,098      91.46%        $2,732,293            594,640            $1,375,005
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           Table 13C: California MAX Medicaid Spending by NDC and Year-Quarter for 2002-2004
      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
   NDC            # of Claims     Paid Amount        Year     Quarter      # of Claims     Paid Amount
00074258913             4,385             $306       2002           1           70,757         $356,398
00074258953               313               $0       2002           2           47,671         $246,204
00074374716           107,119         $247,264       2002           3           40,556         $206,098
00074374816            25,041         $121,474       2002           4           55,361         $270,054
00074572911                 1               $0       2003           1           69,626         $336,920
00074572913             2,570             $189       2003           2           50,924         $233,986
00074572919                 4               $0       2003           3           43,341         $202,196
00074572953               108              $10       2003           4           72,026         $323,002
00074622713            16,380         $114,690       2004           1           65,026         $303,135
00074630113             4,728          $29,184       2004           2           43,217         $217,694
00074630153               887           $5,665       2004           3           34,297         $210,973
00074630411                 3              $19       2004           4           46,213         $297,049
00074630413             7,524          $40,955
00074630430                 8              $85              Total              639,015       $3,203,709
00074630440                22              $63
00074630453             7,640          $53,421
00074630613               827           $2,659
00074630616             7,878          $13,395
00074631613           140,229         $843,383
00074632011                18              $82
00074632013            56,060         $364,545
00074632030               117             $270
00074632053            32,927         $187,096
00074632111                 1               $0
00074632113            11,285          $73,792
00074632611                81             $495
00074632613             9,656          $53,572
00074632653             3,881          $20,396
00074634619             3,008          $12,447
00074634620            59,573         $268,389
00074634638                75             $305
00074634641                53             $347
00074634653            29,463         $133,005
00074636902                57             $602
00074636910               122           $1,346
00074637313               178           $1,193
00074637316             1,855           $6,698
00074715613            26,394         $132,329
00074715643            44,397         $245,195
00074715653            33,555         $217,071
00074803013               127           $2,258
00074803043               187           $3,831
00074803053               278           $5,683
   Total              639,015       $3,203,709
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           Table 13D: California MSIS Medicaid Spending by NDC and Year-Quarter for 2005
      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount        Year     Quarter      # of Claims     Paid Amount
00074258913           1,481             $120       2005           1           71,100         $353,108
00074258953              40               $0       2005           2           56,881         $286,307
00074374716          31,150          $92,600       2005           3           28,009         $190,945
00074374816           7,957          $37,918
00074572913             727              $79              Total              155,990         $830,360
00074572953              33              $10
00074622713           5,601          $36,163
00074630113           2,755          $13,812
00074630153             206           $1,302
00074630413             736             $203
00074630453           2,015          $11,231
00074630613             143             $694
00074630616           1,776           $5,462
00074631613          33,485         $230,083
00074632013          12,367          $90,885
00074632053           7,878          $45,814
00074632111               1               $0
00074632113           1,386             $886
00074632611               2               $0
00074632613           2,913          $16,478
00074632653             849           $5,363
00074634619              27              $10
00074634620          15,080          $81,053
00074634638              19               $0
00074634653           5,394          $33,658
00074636902              26             $137
00074636910              17              $56
00074637313              51             $190
00074637316             472           $2,147
00074715613           5,277          $27,923
00074715643           9,543          $50,437
00074715653           6,331          $41,637
00074803013              31             $194
00074803043             105           $1,654
00074803053             116           $2,161
   Total            155,990         $830,360
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     Table 13E: California Medicaid Spending by NDC and Yr-Quart for 1994Q1 and 2005Q4-2008Q1
               SMRF: 1994Q1                                     SDUD: 2005Q4 - 2008Q1
   NDC         # of Scripts    Paid Amount              NDC          # of Scripts    Paid Amount
00074374716            2,445         $19,327        00074258913                429           $3,365
00074374816              382          $4,266        00074258953                 15            $106
00074630413                1             $14        00074374716             31,084         $314,129
00074630613               13           $104         00074374816              5,003          $71,560
00074630616               71           $561         00074572913                196           $1,654
00074631613            6,398         $65,358        00074572953                 13            $121
00074632613                1             $11        00074622713              4,395          $56,893
00074634619               38           $337         00074630113              1,508          $18,430
00074634620           12,480        $104,676        00074630153                 97           $1,486
00074634638                4             $25        00074630413                688           $8,624
00074634641                1              $9        00074630453                919          $12,504
00074634653              921          $7,873        00074630613                 82            $911
00074636902               33           $386         00074630616              1,024          $10,388
00074636910                5             $83        00074631613             27,794         $376,675
00074637313                1             $13        00074632013              7,677         $119,822
00074637316               33           $357         00074632030                  1              $13
00074803013              598          $9,040        00074632053              2,890          $43,578
00074803043              344          $6,046        00074632113                530           $6,490
00074803053              806         $15,894        00074632613              1,876          $20,502
                                                    00074632653                491           $5,239
   Total              24,575        $234,380        00074634620              8,902          $94,411
                                                    00074634653              3,840          $41,554
                                                    00074636902                 32            $519
                                                    00074636910                 47            $957
                                                    00074637313                 13            $215
                                                    00074637316                348           $4,961
                                                    00074715613              2,238          $39,315
                                                    00074715643              2,298          $33,115
                                                    00074715653              2,377          $56,095
                                                    00074803013                 22            $649
                                                    00074803043                 19            $619
                                                    00074803053                 34           $1,217
                                                        Total              106,882        $1,346,117


Year-Quarter     # of Claims    Paid Amount         Year-Quarter       # of Claims      Paid Amount
  1994Q1              24,575        $234,380          2005Q4                25,644         $341,214
                                                      2006Q1                10,452         $127,539
   Total              24,575        $234,380          2006Q2                 7,657          $90,448
                                                      2006Q3                 6,748          $82,108
                                                      2006Q4                13,307         $160,444
                                                      2007Q1                 8,905         $104,131
                                                      2007Q2                 5,977          $69,534
                                                      2007Q3                 7,811         $100,943
                                                      2007Q4                10,183         $133,607
                                                      2008Q1                10,198         $136,150
                                                        Total              106,882        $1,346,117
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      Table 14A: Breakdown of Texas Medicaid Spending by NDC and Year-Quarter for 1994-2005

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913          41,068         $409,257      1994           2                2              $27
00074258953           1,190          $12,147      1995           1               21             $243
00074374716          99,158         $784,249      1995           2              119           $1,565
00074374816          31,080         $317,388      1995           3            7,082          $72,150
00074572913          19,397         $202,120      1995           4           22,871         $238,216
00074572953           4,930          $50,203      1996           1           23,442         $247,021
00074622713          14,072         $162,996      1996           2           15,247         $160,005
00074630113          32,494         $337,655      1996           3           13,261         $136,808
00074630153           3,052          $31,059      1996           4           19,223         $200,809
00074630413          16,604         $150,197      1997           1           20,251         $211,388
00074630453           2,161          $18,163      1997           2           13,680         $141,946
00074630613               3               $0      1997           3            9,924         $103,406
00074630616          10,102          $81,235      1997           4           17,176         $199,159
00074631613          36,603         $383,578      1998           1           21,574         $255,039
00074632013          63,427         $799,313      1998           2           14,992         $176,568
00074632053             828          $11,836      1998           3           12,509         $144,911
00074632113           9,136         $125,710      1998           4           17,490         $206,016
00074632613           9,404          $83,520      1999           1           20,313         $242,883
00074632653             202           $1,974      1999           2           11,918         $140,160
00074634620          16,981         $145,684      1999           3           10,996         $126,202
00074634653          12,465         $103,055      1999           4           15,591         $181,772
00074636902             644           $7,768      2000           1           13,763         $160,371
00074636910             394           $6,477      2000           2            9,901         $113,491
00074637316           2,997          $31,463      2000           3            8,869         $100,330
00074715613          55,751         $736,735      2000           4           14,153         $167,033
00074715643          46,125         $744,194      2001           1           14,810         $176,168
00074715653          29,431         $563,808      2001           2            9,364         $110,914
00074803013           4,176          $58,753      2001           3            8,549         $101,272
00074803043           3,417          $66,287      2001           4           12,294         $148,451
00074803053           2,505          $62,665      2002           1           14,213         $173,551
                                                  2002           2           10,949         $132,049
   Total            569,797       $6,489,488      2002           3           10,126         $120,028
                                                  2002           4           15,501         $183,489
                                                  2003           1           15,872         $189,106
                                                  2003           2           11,678         $137,784
                                                  2003           3           10,091         $117,176
                                                  2003           4           16,042         $181,373
                                                  2004           1           13,735         $156,080
                                                  2004           2            9,605         $108,005
                                                  2004           3            9,021         $102,320
                                                  2004           4           11,604         $134,390
                                                  2005           1           13,974         $165,171
                                                  2005           2            9,609         $111,698
                                                  2005           3            7,971          $91,922
                                                  2005           4           10,421         $121,027

                                                         Total              569,797       $6,489,488
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           Table 14B: Texas SDUD Medicaid Spending by NDC and Year-Quarter for 1994-1995

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC         # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913            2,366         $22,352       1994           1           26,098         $254,626
00074258953              250          $2,383       1994           2           17,225         $182,902
00074374716            3,526         $26,220       1994           3           16,752         $154,529
00074374816            1,175         $11,889       1994           4           21,259         $202,474
00074572913           14,643        $138,457       1995           1           24,768         $232,402
00074572953            3,466         $33,190       1995           2           15,576         $156,722
00074622713            1,893         $19,992       1995           3           14,217         $144,614
00074630113           14,547        $150,852
00074630153            2,002         $21,049              Total              135,895        $1,328,269
00074630413            4,185         $37,642
00074630453              626          $5,048
00074630616           23,021        $179,963
00074631613           10,512        $100,362
00074632013           15,732        $166,111
00074632113            1,545         $15,743
00074632613            2,367         $20,133
00074634620            6,675         $51,546
00074634653            7,608         $57,973
00074636902              227          $2,350
00074636910              449          $5,022
00074637316            7,015         $69,530
00074803013            4,857         $59,650
00074803043            3,676         $63,096
00074803053            3,532         $67,713

   Total             135,895       $1,328,269


           Table 14C: Texas SDUD Medicaid Spending by NDC and Year-Quarter for 2006-2008

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC           # of Claims    Paid Amount        Year     Quarter      # of Claims     Paid Amount

00074258913            5,721         $61,889       2006           1            8,817         $100,568
00074258953              122          $1,373       2006           2            6,559          $71,643
00074374716           24,834        $211,601       2006           3            5,214          $53,816
00074374816            9,304        $101,202       2006           4            7,271          $73,143
00074572913              405          $4,483       2007           1            7,149          $70,431
00074622713            4,549         $57,279       2007           2            5,341          $51,084
00074630113            3,535         $37,932       2007           3            4,880          $49,459
00074630153               86            $909       2007           4            7,115          $81,120
00074630413              366          $3,632       2008           1            7,032          $82,232
00074630453               13            $124
00074630616              389          $4,319              Total               59,378         $633,496
00074631613            1,327         $14,652
00074632013            1,097         $17,193
00074632053               19            $314
00074632113              315          $5,982
00074632613            2,004         $19,116
00074632653                9             $86
00074634620              977          $8,555
00074634653               17            $162
00074636902               20            $291
00074636910               16            $275
00074637316               54            $730
00074715613            2,443         $43,433
00074715643              587         $10,338
00074715653            1,169         $27,625

   Total              59,378        $633,496
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    Table 15A: Breakdown of New York Medicaid Spending by NDC and Year-Quarter for 1994-2007

      Breakdown by National Drug Code                   Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount

00074258913          23,886        $238,893      1994           1           33,433         $334,570
00074258953             891           $9,211     1994           2           28,309         $282,605
00074374716          38,359        $335,462      1994           3           24,065         $245,490
00074374816          15,811        $194,032      1994           4           33,585         $340,363
00074572913          12,270        $124,494      1995           1           32,836         $380,603
00074572919             102           $1,140     1995           2           22,934         $262,980
00074572953           1,732          $17,925     1995           3           17,984         $202,299
00074622713         137,053       $1,424,107     1995           4           26,114         $300,696
00074630113          38,966        $420,679      1996           1           23,813         $271,530
00074630153           2,764          $30,499     1996           2           20,050         $225,975
00074630413          38,857        $424,799      1996           3           17,020         $185,103
00074630430             154           $1,705     1996           4           23,968         $265,274
00074630440             928          $10,890     1997           1           21,030         $236,287
00074630453          19,561        $185,654      1997           2           17,075         $187,552
00074630613             603           $6,602     1997           3           14,181         $155,064
00074630616           7,762          $65,264     1997           4           17,423         $197,339
00074631613          31,626        $319,488      1998           1           17,668         $200,648
00074632013         126,994       $1,587,167     1998           2           12,816         $143,324
00074632030             228           $3,117     1998           3           13,061         $141,698
00074632053          27,266        $329,731      1998           4           18,813         $199,556
00074632113          21,166        $273,714      1999           1           19,640         $209,769
00074632613         134,772       $1,117,444     1999           2           13,557         $143,326
00074632653          23,841        $190,699      1999           3           11,795         $126,081
00074634619             106            $860      1999           4           15,684         $169,877
00074634620          19,514        $157,842      2000           1           13,948         $149,955
00074634638              36            $329      2000           2           11,181         $121,028
00074634641             195           $1,669     2000           3            9,587         $104,016
00074634653           9,131          $76,691     2000           4           12,418         $137,499
00074636902           1,014          $15,205     2001           1           12,430         $143,060
00074636910             756          $12,766     2001           2            9,550         $109,179
00074637313             153           $1,846     2001           3            8,101          $91,734
00074637316           2,110          $23,618     2001           4           11,435         $130,634
00074715613           5,121          $76,188     2002           1           12,306         $143,069
00074715643           5,197          $99,057     2002           2            9,474         $106,183
00074715653           4,883        $110,227      2002           3            8,483          $93,576
00074803013           4,790          $89,105     2002           4           10,293         $113,935
00074803043           5,151        $134,091      2003           1           10,356         $110,333
00074803053           5,782        $166,355      2003           2            9,694         $100,474
                                                 2003           3            8,468          $87,115
   Total            769,531       $8,278,563     2003           4           11,135         $113,696
                                                 2004           1           10,018         $105,904
                                                 2004           2            8,868          $90,745
                                                 2004           3            7,931          $83,437
                                                 2004           4            9,649         $100,123
                                                 2005           1            9,819         $103,082
                                                 2005           2            8,144          $80,352
                                                 2005           3            6,729          $61,609
                                                 2005           4            8,048          $74,615
                                                 2006           1            7,179          $67,685
                                                 2006           2            6,107          $56,344
                                                 2006           3            4,818          $42,426
                                                 2006           4            5,857          $52,131
                                                 2007           1            5,727          $52,206
                                                 2007           2            4,794          $43,312
                                                 2007           3              130           $1,099

                                                        Total              769,531       $8,278,563
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            Table 15B: The Impact of Alternative Price Statistics on Medicaid Spending in New York
     Price Statistic Used      # w/DIFF>0   % w/DIFF>0    Total Difference   # Pharm. Payments Federal Difference

       Avg. Pharmacy            497,366      66.67%         $2,027,656            354,438          $1,018,172

  95th Percentile Pharmacy      495,853      66.47%         $1,982,714            353,300           $995,556

    1.25 * Avg. Pharmacy        479,826      64.32%         $1,689,289            341,352           $848,022

  1.25 * Avg. All Customer      483,524      64.81%         $1,794,609            343,859           $900,836

1.25 * Avg. Pharm Unweighted    480,018      64.34%         $1,688,966            341,489           $847,938
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           Table 15C: New York SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008

      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter

   NDC           # of Claims    Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913               461            $3,840     2007            3            3,999          $35,255
00074258953                25              $220     2007            4            5,040          $44,721
00074374716             2,713           $24,710     2008            1            4,776          $42,819
00074374816               851           $10,703
00074572913               179            $1,455             Total               13,815         $122,794
00074572953                 5               $33
00074622713             2,872           $21,886
00074630113               423            $4,532
00074630153                 4               $57
00074630413               257            $2,666
00074630453               109            $1,177
00074630613                40              $367
00074630616               240            $2,138
00074631613               746            $5,566
00074632013             1,433           $15,887
00074632053               419            $4,903
00074632113               335            $4,162
00074632613             1,729           $11,055
00074632653               200            $1,182
00074634620               549            $3,563
00074634653                35              $223
00074636902                79              $773
00074636910                26              $361
00074637313                23              $289
00074637316                40              $584
00074715613                 8              $132
00074715643                 5              $107
00074715653                 9              $223

   Total               13,815         $122,794
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     Table 16A: Breakdown of Illinois Medicaid Spending by NDC and Year-Quarter for 1994-2006

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913          37,110         $350,960       1994           1           21,714         $200,537
00074258953           6,510          $62,484       1994           2           16,896         $156,169
00074374716          57,629         $408,982       1994           3           15,774         $150,781
00074374816          19,641         $185,948       1994           4           18,656         $179,005
00074572911             371           $3,765       1995           1           21,537         $208,421
00074572913          12,690         $121,427       1995           2           15,369         $150,627
00074572919             290           $2,607       1995           3           12,468         $119,344
00074572953           5,713          $52,857       1995           4           17,078         $167,124
00074622713          15,249         $137,622       1996           1           15,744         $155,912
00074630113          19,323         $206,119       1996           2           13,881         $135,028
00074630153           4,456          $46,528       1996           3           10,931         $105,826
00074630411              87             $800       1996           4           16,583         $163,466
00074630413          20,082         $189,210       1997           1           14,086         $138,051
00074630430              82             $741       1997           2           11,445         $111,848
00074630440              10              $95       1997           3           10,550          $98,479
00074630453          10,369          $99,493       1997           4           13,934         $135,386
00074630613             375           $2,761       1998           1           14,825         $149,164
00074630616          10,320          $75,951       1998           2            9,792          $95,962
00074631613          61,326         $746,742       1998           3            9,454          $92,430
00074632011             216           $2,420       1998           4           11,956         $118,988
00074632013         104,787       $1,166,053       1999           1           12,654         $126,025
00074632030             723           $6,974       1999           2            8,109          $79,916
00074632053          40,092         $457,433       1999           3            7,316          $73,521
00074632111             165           $1,717       1999           4            9,700          $98,282
00074632113          20,035         $240,431       2000           1            9,538          $96,432
00074632611             521           $2,891       2000           2            6,935          $72,071
00074632613          10,248          $73,525       2000           3            7,024          $72,157
00074632653           5,867          $73,941       2000           4            8,492          $91,166
00074634619             295           $2,201       2001           1            9,604         $107,115
00074634620          21,821         $158,861       2001           2            6,854          $76,105
00074634638              90             $652       2001           3            6,205          $71,663
00074634641               4              $30       2001           4            8,461          $99,753
00074634653          32,854         $255,328       2002           1            9,045         $102,895
00074636902             238           $2,609       2002           2            6,240          $68,227
00074636910             228           $9,022       2002           3            6,263          $59,771
00074637313             188           $1,847       2002           4            7,610          $74,016
00074637316           2,206          $20,967       2003           1            8,972          $88,542
00074715613           6,822          $87,292       2003           2            7,229          $80,606
00074715643           9,823         $160,786       2003           3            7,169          $81,849
00074715653           6,021         $116,036       2003           4           10,114         $122,522
00074803013           1,416          $18,655       2004           1            9,205         $103,822
00074803043           1,148          $19,942       2004           2            7,765          $89,421
00074803053           1,610          $32,875       2004           3            7,811          $83,531
                                                   2004           4            9,488         $103,882
   Total            549,051       $5,607,581       2005           1           11,808         $134,950
                                                   2005           2            8,380          $89,192
                                                   2005           3            7,548          $82,624
                                                   2005           4            9,074         $107,199
                                                   2006           1            7,947          $84,107
                                                   2006           2            5,641          $63,899
                                                   2006           3            5,498          $57,933
                                                   2006           4            2,679          $31,841

                                                          Total              549,051       $5,607,581
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           Table 16B: Illinois SDUD Medicaid Spending by NDC and Year-Quarter for 2006-2008

      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter

   NDC          # of Claims    Paid Amount           Year     Quarter    # of Claims     Paid Amount

00074258913            2,649            $25,023      2006           4            5,102          $58,128
00074258953              411             $4,018      2007           1            5,573          $50,452
00074374716            5,667            $41,460      2007           2            4,865          $43,641
00074374816            1,804            $16,759      2007           3            4,666          $41,385
00074572913              447             $4,592      2007           4            2,191          $19,869
00074572953               53               $581      2008           1            3,643          $32,265
00074622713            1,230            $10,575
00074630113              924             $9,196             Total               26,040         $245,740
00074630153               13               $120
00074630413              691             $6,824
00074630453              100             $1,572
00074630613               17               $130
00074630616              691             $5,170
00074631613            2,840            $30,969
00074632013            3,861            $43,351
00074632053              648             $7,260
00074632113              824             $9,704
00074632613              577             $4,076
00074632653              107             $2,284
00074634620            1,898            $12,733
00074634653              132             $1,719
00074636902               27               $292
00074636910               19             $1,467
00074637313                4                $40
00074637316               96               $791
00074715613              115             $1,590
00074715643              110             $1,813
00074715653               79             $1,515
00074803053                6               $118

   Total              26,040         $245,740
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      Table 17A: Breakdown of Florida Medicaid Spending by NDC and Year-Quarter for 1994-2005

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913          30,237         $295,162       1994           1           19,400         $185,679
00074258953             796           $7,303       1994           2           15,078         $146,121
00074374716          42,533         $403,614       1994           3           13,691         $131,288
00074374816          16,282         $198,395       1994           4           15,705         $150,351
00074572911           1,003           $9,792       1995           1           17,370         $168,326
00074572913          12,561         $124,978       1995           2           11,547         $112,013
00074572919              51             $438       1995           3           10,761         $104,671
00074572953           2,073          $19,915       1995           4           15,019         $150,124
00074622713          18,223         $171,565       1996           1           13,676         $137,569
00074630113          29,499         $315,639       1996           2           10,543         $105,564
00074630153           1,170          $11,645       1996           3            9,552          $93,490
00074630411             388           $4,448       1996           4           12,237         $122,628
00074630413          13,571         $140,029       1997           1           11,788         $117,895
00074630430              31             $476       1997           2            8,897          $88,127
00074630440              18             $229       1997           3            8,082          $80,770
00074630453           1,535          $13,229       1997           4           12,449         $139,052
00074630613             579           $5,615       1998           1           11,248         $125,814
00074630616           9,183          $78,853       1998           2            8,372          $93,081
00074631613          39,402         $389,989       1998           3            7,475          $82,170
00074632011             772           $9,743       1998           4            8,844          $97,778
00074632013          55,605         $654,503       1999           1            8,973          $96,546
00074632030              63             $742       1999           2            6,111          $65,281
00074632053           3,879          $44,392       1999           3            5,734          $61,514
00074632111             228           $2,872       1999           4            5,487          $60,091
00074632113           7,138          $86,728       2000           1            5,685          $61,020
00074632611             708           $6,094       2000           2            4,508          $48,149
00074632613           8,763          $72,959       2000           3              213           $2,201
00074632653           1,928          $14,695       2000           4              653           $7,196
00074634619             187           $1,350       2001           1            3,696          $44,765
00074634620          18,969         $153,481       2001           2            5,404          $65,129
00074634638             814           $6,204       2001           3            6,203          $73,279
00074634641              25             $230       2001           4            4,606          $54,967
00074634653          15,797         $125,454       2002           1               46             $462
00074636902             456           $5,670       2002           2               50             $491
00074636910             539           $8,597       2002           3            2,352          $28,763
00074637313             311           $3,877       2002           4            2,294          $27,783
00074637316           3,741          $39,326       2003           1            2,344          $28,978
00074715613           9,846         $132,306       2003           2            3,445          $41,578
00074715643          11,021         $187,186       2003           3            5,833          $69,400
00074715653           6,867         $130,874       2003           4            7,792          $95,492
00074803013           2,149          $29,790       2004           1            7,377          $91,421
00074803043           2,102          $39,201       2004           2            6,341          $80,819
00074803053           2,094          $45,813       2004           3            5,702          $72,642
                                                   2004           4            6,294          $81,565
   Total            373,137       $3,993,398       2005           1            7,121          $90,800
                                                   2005           2            5,977          $74,985
                                                   2005           3            5,409          $66,793
                                                   2005           4            5,753          $68,776

                                                          Total              373,137       $3,993,398
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           Table 17B: Florida SDUD Medicaid Spending by NDC and Year-Quarter for 2006-2008

      Breakdown by National Drug Code                      Breakdown by Service Year and Quarter

   NDC          # of Claims    Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913            2,976            $30,506     2006           1            4,681          $54,074
00074258953               17               $158     2006           2            3,474          $41,387
00074374716            6,968            $78,994     2006           3            3,174          $36,716
00074374816            3,084            $38,018     2006           4            3,698          $41,865
00074572913              275             $2,966     2007           1            3,364          $39,128
00074572953                4                $43     2007           2            2,786          $32,680
00074622713            2,274            $23,038     2007           3            2,649          $31,439
00074630113            1,101            $14,159     2007           4            2,963          $33,704
00074630153                6                $61     2008           1            3,081          $35,173
00074630413              669             $8,556
00074630453               20               $244            Total               29,870         $346,166
00074630613               90               $802
00074630616              169             $2,306
00074631613            3,288            $33,736
00074632013            4,108            $59,517
00074632053               76             $1,062
00074632113              738             $9,743
00074632613              830             $7,739
00074632653               31               $290
00074634620            1,803            $16,384
00074634653               59               $498
00074636902               58               $704
00074636910               20               $379
00074637313               49               $771
00074637316               81             $1,262
00074715613              512             $6,093
00074715643              229             $3,033
00074715653              328             $4,986
00074803013                2                $44
00074803043                2                $23
00074803053                3                $50

   Total              29,870         $346,166
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    Table 18A: Breakdown of Kentucky Medicaid Spending by NDC and Year-Quarter for 1995-2005

      Breakdown by National Drug Code                   Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount

00074258913          22,248         $244,434     1995           1           15,170         $164,291
00074258953           7,501          $77,088     1995           2            6,702          $72,500
00074374716          15,158         $133,796     1995           3            9,468         $103,857
00074374816           7,046          $82,275     1995           4           14,522         $170,655
00074572911             611           $6,550     1996           1           14,712         $174,964
00074572913          10,313         $109,787     1996           2           11,053         $129,359
00074572919           1,274          $13,426     1996           3            9,277         $105,555
00074572953           3,686          $38,816     1996           4           13,316         $151,854
00074622713           7,558          $80,452     1997           1           12,339         $137,736
00074630113          13,706         $154,315     1997           2            8,861          $98,023
00074630153           4,529          $50,266     1997           3            7,392          $81,709
00074630411             582           $7,537     1997           4            9,581         $108,893
00074630413          18,656         $209,081     1998           1            8,527          $96,460
00074630430              43             $513     1998           2            4,599          $52,429
00074630440               3              $40     1998           3            4,436          $50,603
00074630453           6,404          $70,466     1998           4            6,023          $67,799
00074630613             241           $2,521     1999           1            7,363          $83,842
00074630616           3,366          $29,161     1999           2            4,010          $46,143
00074631613          16,119         $169,615     1999           3            3,987          $46,142
00074632011             450           $5,512     1999           4            5,484          $63,042
00074632013          50,659         $646,751     2000           1            5,745          $66,986
00074632030               9             $101     2000           2            3,843          $45,800
00074632053          22,246         $276,036     2000           3            4,481          $53,079
00074632111             221           $2,978     2000           4            6,219          $73,955
00074632113          12,680         $174,676     2001           1            7,109          $86,860
00074632611             800           $7,728     2001           2            4,362          $52,631
00074632613           8,396          $73,808     2001           3            3,973          $48,180
00074632653           3,459          $30,162     2001           4            5,818          $70,833
00074634619             316           $2,564     2002           1            6,205          $77,896
00074634620           9,988          $86,501     2002           2            4,519          $55,173
00074634638             664           $7,155     2002           3            4,113          $49,800
00074634641               1               $6     2002           4            5,414          $64,769
00074634653           8,536          $71,944     2003           1            5,648          $68,040
00074636902              81           $1,280     2003           2            4,173          $47,566
00074636910              42             $702     2003           3            3,855          $44,542
00074637313              86           $1,227     2003           4            5,692          $65,029
00074637316           1,208          $13,359     2004           1            4,892          $62,906
00074715613           4,539          $63,602     2004           2            3,546          $40,650
00074715643           5,806         $102,721     2004           3            3,376          $39,264
00074715653           3,736          $76,523     2004           4            4,131          $47,777
00074803013           1,322          $22,535     2005           1            2,312          $26,569
00074803043           1,154          $25,169
00074803053             805          $20,978            Total              276,248       $3,194,157

   Total            276,248       $3,194,157
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           Table 18B: Kentucky SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1994
      Breakdown by National Drug Code                      Breakdown by Service Year and Quarter
   NDC           # of Claims    Paid Amount         Year     Quarter    # of Claims     Paid Amount
00074258913             2,862         $29,876       1994           1           14,777         $160,910
00074258953                 4             $36       1994           2           10,859         $116,481
00074374716             3,173         $25,532       1994           3            8,997          $96,765
00074374816             1,071         $13,133       1994           4           17,699         $187,979
00074572911               116          $1,193
00074572913             2,619         $28,253              Total               52,332         $562,135
00074572919                59            $648
00074572953               921          $9,538
00074622713               598          $5,964
00074630113             6,741         $77,478
00074630153             1,412         $15,837
00074630411                19            $135
00074630413             3,787         $38,489
00074630430                12            $139
00074630440                84            $777
00074630453               753          $7,954
00074630613               146          $1,413
00074630616             1,924         $15,059
00074631613             2,306         $23,383
00074632011                 8             $97
00074632013             8,602        $101,782
00074632030                54            $761
00074632053             2,118         $24,931
00074632111                63            $584
00074632113             1,541         $19,511
00074632611               212          $2,151
00074632613             1,986         $17,075
00074632653               878          $7,157
00074634619                30            $264
00074634620             2,594         $22,098
00074634638               223          $2,421
00074634641                 6             $51
00074634653             2,567         $20,713
00074636902                16            $202
00074636910                 2             $24
00074637313                33            $413
00074637316               626          $6,787
00074803013               761         $11,326
00074803043               879         $16,858
00074803053               526         $12,092
   Total               52,332        $562,135
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           Table 18C: Kentucky MSIS Medicaid Spending by NDC and Year-Quarter for 2005
      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount       Year     Quarter      # of Claims      Paid Amount
00074258913             902              $8,645   2005           2            4,307          $40,865
00074258953             198              $2,041   2005           3            2,909          $28,395
00074374716             702              $6,381
00074374816             355              $3,724          Total                7,216          $69,260
00074572913             158              $1,727
00074572953              22                $271
00074622713             435              $3,417
00074630113             476              $4,457
00074630153              57                $625
00074630413             475              $4,537
00074630453             133              $1,452
00074630613               3                 $37
00074630616              48                $426
00074631613             448              $3,468
00074632013           1,149             $12,960
00074632053             467              $4,608
00074632113             361              $4,402
00074632613             270              $1,632
00074632653              43                $254
00074634620             242              $1,330
00074634653              77                $497
00074636902               1                 $21
00074636910               3                 $59
00074637316              24                $236
00074715613              32                $367
00074715643              46                $450
00074715653              88              $1,222
00074803013               1                 $14
   Total              7,216             $69,260
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           Table 18D: Kentucky SDUD Medicaid Spending by NDC and Year-Quarter for 2005-2008
      Breakdown by National Drug Code                      Breakdown by Service Year and Quarter
   NDC             # of Claims    Paid Amount       Year     Quarter      # of Claims     Paid Amount
00074258913             3,480           $37,378     2005           4            4,312          $49,689
00074258953               636            $6,973     2006           1            3,067          $35,377
00074374716             3,535           $37,185     2006           2            2,632          $29,743
00074374816             1,893           $23,571     2006           3            2,661          $30,942
00074572913               516            $5,781     2006           4            2,731          $31,313
00074572953                75              $881     2007           1            3,157          $35,754
00074622713             1,866           $19,122     2007           2            1,802          $20,740
00074630113             1,515           $16,361     2007           3            2,261          $25,457
00074630153               251            $2,944     2007           4            2,304          $26,183
00074630413             1,325           $16,026     2008           1            2,638          $29,589
00074630453               378            $4,365
00074630613                47              $453            Total               27,565         $314,787
00074630616               229            $2,316
00074631613             1,931           $19,253
00074632013             3,992           $54,314
00074632053             1,491           $18,758
00074632113             1,602           $22,255
00074632613             1,006            $8,985
00074632653               121            $1,014
00074634620             1,143            $9,222
00074634653               184            $1,416
00074636902                17              $195
00074636910                12              $161
00074637313                 7               $92
00074637316                64              $728
00074715613                82            $1,442
00074715643                55            $1,067
00074715653               107            $2,445
00074803013                 3               $29
00074803053                 2               $53
   Total               27,565         $314,787
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     Table 19A: Breakdown of Georgia Medicaid Spending by NDC and Year-Quarter for 2000-2006

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913          10,260          $84,901      2000           4            6,198          $63,512
00074258953             234           $2,269      2001           1            6,672          $65,486
00074374716          15,934         $114,136      2001           2            4,297          $40,472
00074374816           8,014          $74,565      2001           3            4,320          $40,089
00074572911              21             $168      2001           4            5,518          $54,746
00074572913           2,576          $25,910      2002           1            6,087          $60,785
00074572919               9              $84      2002           2            4,458          $43,314
00074572953             497           $4,605      2002           3            4,263          $42,390
00074622713           7,601          $65,633      2002           4            5,692          $58,098
00074630113           3,979          $37,136      2003           1            6,454          $65,734
00074630153             304           $2,934      2003           2            4,471          $45,080
00074630411              38             $391      2003           3            4,505          $44,986
00074630413           6,865          $68,912      2003           4            6,194          $64,266
00074630430               3              $32      2004           1            5,361          $56,532
00074630440               1               $9      2004           2            4,432          $45,259
00074630453             865          $10,092      2004           3            4,425          $43,394
00074630613             194           $1,662      2004           4            5,427          $54,790
00074630616           1,360          $12,795      2005           1            6,530          $67,040
00074631613           9,050          $79,172      2005           2            4,759          $48,828
00074632011              46             $469      2005           3            4,582          $45,229
00074632013          20,558         $221,109      2005           4            5,554          $54,386
00074632030               2              $12      2006           1            4,607          $43,957
00074632053           2,883          $31,851      2006           2            2,732          $24,894
00074632111              17             $182      2006           3            1,658          $15,074
00074632113           5,588          $65,365      2006           4            1,320          $12,055
00074632611              57             $451
00074632613           4,271          $33,415             Total              120,516       $1,200,394
00074632653             388           $3,573
00074634619              48             $407
00074634620           4,811          $34,206
00074634638               9              $70
00074634641               8              $60
00074634653             965           $8,011
00074636902              72             $962
00074636910              51             $830
00074637313              65             $695
00074637316             421           $4,815
00074715613           4,277          $58,194
00074715643           4,291          $72,761
00074715653           3,575          $71,367
00074803013             110           $1,841
00074803043              66           $1,446
00074803053             132           $2,896

   Total            120,516       $1,200,394
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      Table 19B: Georgia SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1994-2000
      Breakdown by National Drug Code                   Breakdown by Service Year and Quarter
   NDC        # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount
00074258913          12,345          $94,859     1994           1           14,750         $151,885
00074258953             565           $5,462     1994           2            9,374          $95,440
00074374716          22,843         $145,087     1994           3            9,486          $95,350
00074374816           8,253          $74,209     1994           4           14,430         $149,021
00074572911             630           $6,562     1995           1           14,268         $139,473
00074572913          13,500         $121,281     1995           2            9,687          $93,191
00074572919              59             $588     1995           3            9,070          $87,958
00074572953           1,285          $12,564     1995           4           18,597         $223,841
00074622713           6,407          $57,435     1996           1           17,437         $215,773
00074630113          15,292         $151,448     1996           2           11,800         $142,862
00074630153           1,322          $13,186     1996           3            8,089          $90,148
00074630411             194           $1,417     1996           4           11,032         $114,481
00074630413          10,710          $91,875     1997           1            9,784          $93,188
00074630430               7              $95     1997           2            7,198          $66,351
00074630440              12             $115     1997           3            5,984          $55,197
00074630453           5,603          $49,580     1997           4            9,008          $88,972
00074630613             262           $2,390     1998           1            9,002          $87,185
00074630616           6,876          $50,420     1998           2            5,429          $51,965
00074631613          16,318         $143,747     1998           3            5,175          $51,373
00074632011             196           $2,168     1998           4            7,809          $75,641
00074632013          42,595         $442,422     1999           1            8,794          $86,009
00074632030              12             $150     1999           2            4,958          $48,261
00074632053           5,400          $59,894     1999           3            4,758          $46,497
00074632111              88             $967     1999           4            6,798          $69,644
00074632113           4,538          $50,099     2000           1            6,710          $66,522
00074632611             229           $1,860     2000           2            4,595          $45,910
00074632613           5,944          $45,914     2000           3            4,068          $40,470
00074632653             994           $7,874
00074634619              87             $704            Total              248,090       $2,572,608
00074634620           9,651          $70,521
00074634638             127           $1,060
00074634641              12             $107
00074634653           7,262          $52,136
00074636902             316           $3,730
00074636910             140           $2,093
00074637313             115           $1,406
00074637316           2,674          $27,253
00074715613          11,762         $152,422
00074715643          12,438         $219,783
00074715653           6,821         $142,302
00074803013           4,710          $68,818
00074803043           3,485          $72,624
00074803053           6,011         $123,981
   Total            248,090       $2,572,608
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              Table 19C: Georgia SDUD Medicaid Spending by NDC and Year-Quarter for 2007
      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
   NDC             # of Claims    Paid Amount        Year     Quarter      # of Claims     Paid Amount
00074258913               252            $2,061     2007            1            1,324          $11,972
00074258953                 7               $88     2007            2              955           $8,720
00074374716               978            $7,767     2007            3              905           $8,195
00074374816               258            $2,462     2007            4            1,035           $9,104
00074572913                76              $728
00074572953                23              $170             Total                4,219          $37,990
00074622713               482            $3,761
00074630113               165            $1,663
00074630153                 1                $7
00074630413               161            $1,481
00074630453                 7               $69
00074630613                16              $143
00074630616                25              $208
00074631613               326            $2,811
00074632013               612            $7,050
00074632053                73              $893
00074632113               202            $2,219
00074632613               270            $2,049
00074632653                24              $141
00074634620               204            $1,378
00074634653                 9               $66
00074636910                 1               $19
00074637313                 2               $21
00074637316                26              $380
00074715613                 9              $118
00074715643                 4               $89
00074715653                 6              $147
   Total                4,219           $37,990
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   Table 20A: Breakdown of Pennsylvania Medicaid Spending by NDC and Year-Quarter for 1997-2007

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913           8,188          $80,563      1997           4                4              $47
00074258953             301           $2,564      1998           1               12             $109
00074374716           8,768          $79,902      1998           2            1,187          $11,497
00074374816           4,327          $57,072      1998           3            4,475          $45,392
00074572911              83             $783      1998           4            6,267          $66,293
00074572913           1,593          $15,392      1999           1            6,234          $66,688
00074572919              15             $132      1999           2            3,824          $40,007
00074572953             223           $2,186      1999           3            2,971          $30,297
00074622713           6,857          $66,472      1999           4            3,872          $39,513
00074630113           3,320          $34,795      2000           1            3,888          $39,910
00074630153             216           $2,177      2000           2            3,030          $31,661
00074630411             198           $1,881      2000           3            2,706          $28,206
00074630413           7,421          $81,938      2000           4            2,222          $23,196
00074630430              21             $363      2001           1            3,609          $39,106
00074630440              14             $157      2001           2            2,859          $30,649
00074630453           2,850          $31,749      2001           3            2,376          $26,269
00074630613              68             $606      2001           4            1,900          $20,543
00074630616             491           $4,734      2002           1            2,918          $32,608
00074631613           4,478          $42,525      2002           2            2,020          $22,348
00074632011             152           $1,620      2002           3            1,967          $21,895
00074632013          16,874         $200,942      2002           4            1,554          $17,263
00074632030              12             $160      2003           1            2,572          $28,521
00074632053           6,623          $81,743      2003           2            2,244          $24,647
00074632111              70             $915      2003           3            2,119          $23,841
00074632113           4,789          $64,127      2003           4            1,931          $21,760
00074632611             663           $5,039      2004           1            2,521          $28,682
00074632613           6,923          $55,669      2004           2            2,327          $26,898
00074632653             487           $4,109      2004           3            2,132          $24,955
00074634619              47             $326      2004           4            1,746          $20,378
00074634620           5,063          $40,176      2005           1            2,725          $31,038
00074634638             261           $1,688      2005           2            2,269          $26,345
00074634641               3              $30      2005           3            2,054          $21,648
00074634653           1,266          $10,208      2005           4            1,782          $17,311
00074636902              93           $1,235      2006           1            2,161          $20,355
00074636910              39             $706      2006           2            1,751          $15,838
00074637313              42             $429      2006           3            1,613          $13,948
00074637316             184           $2,440      2006           4            1,272          $11,559
00074715613             492           $7,388      2007           1            1,427          $13,107
00074715643             577           $9,928
00074715653             431           $8,981             Total               94,541       $1,004,327
00074803013               5             $115
00074803043               7             $196
00074803053               6             $164

   Total             94,541       $1,004,327
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    Table 20B: Pennsylvania SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1994-1998
      Breakdown by National Drug Code                   Breakdown by Service Year and Quarter
   NDC        # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount
00074258913           9,638          $86,455     1994           1           18,739         $189,814
00074258953             169           $1,536     1994           2           15,354         $155,003
00074374716          10,858          $88,590     1994           3           12,920         $122,489
00074374816           5,531          $63,077     1994           4           16,726         $157,837
00074572911             175           $1,615     1995           1           18,695         $177,537
00074572913           9,569          $85,108     1995           2           12,877         $123,392
00074572919             143           $1,221     1995           3           10,684         $103,154
00074572953           1,717          $15,432     1995           4           14,715         $151,027
00074622713           9,205          $87,632     1996           1           15,622         $169,236
00074630113          17,860         $182,115     1996           2           12,379         $128,856
00074630153           2,451          $25,848     1996           3            9,925          $98,829
00074630411             255           $2,372     1996           4           13,638         $136,609
00074630413          20,316         $189,149     1997           1           11,749         $116,101
00074630430              27             $273     1997           2            7,585          $73,647
00074630440              29             $290     1997           3            5,808          $55,388
00074630453           2,133          $19,848     1997           4            7,013          $69,544
00074630613             226           $1,991     1998           1            7,366          $73,189
00074630616           5,085          $43,549     1998           2            4,737          $48,280
00074631613          10,105          $86,221
00074632011             247           $2,877            Total              216,532       $2,149,932
00074632013          50,003         $534,336
00074632030              15             $212
00074632053           4,326          $48,098
00074632111              63             $688
00074632113           5,572          $69,230
00074632611           1,091           $7,959
00074632613          15,680         $115,199
00074632653           1,409           $9,327
00074634619             205           $1,400
00074634620          13,079          $90,799
00074634638             178           $1,266
00074634641               2              $18
00074634653           6,243          $39,660
00074636902             206           $2,491
00074636910             127           $2,030
00074637313             118           $1,305
00074637316           2,430          $30,640
00074715613           2,647          $40,525
00074715643           2,951          $59,428
00074715653           2,298          $54,727
00074803013             822          $15,631
00074803043             620          $16,024
00074803053             708          $23,740
   Total            216,532       $2,149,932
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      Table 20C: Pennsylvania SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008
      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount       Year     Quarter      # of Claims     Paid Amount
00074258913             596              $5,206   2007           2            1,714          $16,846
00074258953              18                 $96   2007           3            1,245          $11,873
00074374716           1,146             $10,611   2007           4            1,568          $15,136
00074374816             365              $4,740   2008           1            1,579          $15,140
00074572913               1                  $5
00074572953               1                  $9          Total                6,106          $58,996
00074622713             657              $5,499
00074630113             314              $3,448
00074630153               1                 $10
00074630413             320              $3,285
00074630453              98              $1,326
00074630616               1                 $13
00074631613             197              $1,572
00074632013             875              $9,452
00074632053             322              $3,770
00074632113             334              $4,257
00074632613             510              $3,401
00074632653              31                $235
00074634620             282              $1,776
00074634653              21                $128
00074637313              12                 $95
00074715613               1                  $9
00074715643               1                 $18
00074715653               1                 $25
00074803013               1                 $12
   Total              6,106             $58,996
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  Table 21A: Breakdown of North Carolina Medicaid Spending by NDC and Year-Quarter for 2001-2007

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913           8,688          $94,336      2001            1            3,102          $38,216
00074258953             195           $2,163      2001            2            3,663          $45,309
00074374716           8,854          $88,478      2001            3            3,452          $42,386
00074374816           5,523          $75,031      2001            4            4,132          $47,828
00074572911              46             $428      2002            1            4,398          $50,257
00074572913           1,841          $19,703      2002            2            3,486          $36,688
00074572953             112           $1,107      2002            3            3,514          $37,420
00074622713           4,551          $41,488      2002            4            4,154          $46,579
00074630113           2,605          $34,650      2003            1            4,497          $50,265
00074630153             118           $1,197      2003            2            3,631          $39,879
00074630411              21             $307      2003            3            3,410          $38,520
00074630413           9,400         $104,831      2003            4            4,545          $51,282
00074630440               7              $68      2004            1            3,769          $43,246
00074630453             424           $4,337      2004            2            3,481          $40,927
00074630613              54             $509      2004            3            3,359          $40,616
00074630616             363           $4,385      2004            4            3,606          $42,057
00074631613           3,903          $41,925      2005            1            3,741          $43,583
00074632011              55             $575      2005            2            3,080          $35,317
00074632013          19,911         $232,821      2005            3            2,881          $32,973
00074632030               3              $31      2005            4            3,302          $37,456
00074632053           1,303          $15,581      2006            1            2,756          $31,282
00074632111              21             $316      2006            2            2,226          $24,995
00074632113           7,540          $94,684      2006            3            2,063          $23,048
00074632611              87             $720      2006            4            2,420          $26,919
00074632613           1,979          $14,120      2007            1            2,154          $23,965
00074632653             118             $763
00074634619               2              $14              Total               84,822         $971,013
00074634620           2,867          $26,480
00074634638              40             $301
00074634641               1               $7
00074634653             506           $5,175
00074636902              88           $1,176
00074636910              29             $601
00074637313              27             $346
00074637316             152           $1,942
00074715613           1,181          $18,325
00074715643           1,094          $19,389
00074715653           1,046          $20,754
00074803013              17             $472
00074803043              17             $496
00074803053              33             $980

   Total             84,822         $971,013
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   Table 21B: North Carolina SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1999-2000
      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount       Year     Quarter      # of Claims     Paid Amount
00074258913           2,962          $28,794     1999            1            7,006          $79,586
00074258953              19             $231     1999            2            4,109          $47,348
00074374716           3,683          $32,028     1999            3            3,806          $43,714
00074374816           2,019          $22,459     1999            4            4,996          $57,545
00074572911              24             $272     2000            1            4,902          $56,714
00074572913           1,080          $12,173     2000            2            3,688          $43,278
00074572953              98             $980     2000            3            3,416          $40,506
00074622713             819           $9,078     2000            4            4,479          $53,832
00074630113             772           $8,737
00074630153              45             $420             Total               36,402         $422,523
00074630411              14             $227
00074630413           3,450          $37,789
00074630430               1              $11
00074630440              33             $329
00074630453             160           $1,721
00074630613              15             $147
00074630616             120           $1,098
00074631613           1,629          $18,710
00074632011             118           $1,681
00074632013          10,066         $121,080
00074632030              20             $237
00074632053             902          $11,834
00074632111              22             $242
00074632113           3,080          $42,982
00074632611              68             $653
00074632613             558           $5,181
00074632653              47             $448
00074634619               4              $35
00074634620           1,320          $12,002
00074634638              11             $123
00074634641               1               $8
00074634653             246           $2,468
00074636910               1              $19
00074637313               7              $77
00074637316              67             $716
00074715613             994          $13,686
00074715643           1,174          $19,505
00074715653             640          $12,219
00074803013              49             $750
00074803043              34             $650
00074803053              30             $723
   Total             36,402         $422,523
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      Table 21C: North Carolina SDUD Medicaid Spending by NDC and Year-Quarter for 1994-1998
      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter
   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount
00074258913           9,390          $76,294      1994            1           11,010         $108,156
00074258953              55             $536      1994            2            8,848          $88,118
00074374716          12,410          $96,345      1994            3            7,378          $72,479
00074374816           6,417          $67,201      1994            4            8,800          $84,616
00074572913          12,313         $111,518      1995            1           12,242         $119,782
00074572919             121           $1,357      1995            2            9,410          $93,583
00074572953             834           $8,292      1995            3            7,818          $77,884
00074622713           2,268          $25,105      1995            4           10,384         $117,310
00074630113           9,955         $105,215      1996            1           15,795         $205,551
00074630153             271           $3,363      1996            2           11,733         $145,178
00074630413          13,808         $120,428      1996            3            9,944         $118,001
00074630430              24             $268      1997            1           11,817         $122,203
00074630440              12             $172      1997            2            7,714          $77,093
00074630453             582           $5,775      1997            3            5,867          $58,850
00074630613             284           $2,797      1998            1            8,962          $96,994
00074630616           3,621          $31,500      1998            2            5,529          $60,570
00074631613           7,383          $72,604      1998            3            4,138          $47,224
00074632011             560           $6,941      1998            4            5,729          $65,320
00074632013          38,935         $402,893
00074632030             114           $1,467              Total              163,118       $1,758,913
00074632053           2,037          $24,100
00074632111              59             $712
00074632113           6,224          $70,990
00074632613           2,440          $21,531
00074632653              70             $569
00074634620           4,724          $40,394
00074634638              78             $813
00074634641               3              $25
00074634653           4,997          $36,271
00074636902              94           $1,342
00074636910              93           $1,696
00074637313             135           $1,565
00074637316           2,122          $23,617
00074715613           6,117          $93,408
00074715643           5,886         $119,967
00074715653           3,368          $79,905
00074803013           2,285          $38,128
00074803043           1,627          $31,819
00074803053           1,402          $31,991
   Total            163,118       $1,758,913
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      Table 21D: North Carolina SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008
      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount        Year     Quarter      # of Claims     Paid Amount
00074258913             743              $8,201   2007            2            1,783          $19,515
00074258953              12                $153   2007            3            1,957          $21,512
00074374716           1,785             $17,230   2007            4            1,874          $20,071
00074374816             662              $8,680   2008            1            2,327          $25,194
00074572913              84                $852
00074572953               4                 $34           Total                7,941          $86,292
00074622713             697              $7,190
00074630113             236              $2,948
00074630153               1                 $26
00074630413             662              $7,832
00074630453              72                $753
00074630613              15                $132
00074630616              34                $369
00074631613             272              $2,441
00074632013           1,170             $14,082
00074632053              90                $991
00074632113             513              $6,669
00074632613             363              $2,698
00074632653              22                $144
00074634620             372              $2,625
00074634653              29                $268
00074636902              30                $369
00074636910              17                $312
00074637313               6                 $73
00074637316               5                 $58
00074715613              20                $413
00074715643               9                $260
00074715653              16                $489
   Total              7,941             $86,292
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  Table 22A: Breakdown of Massachusetts Medicaid Spending by NDC and Year-Quarter for 1995-2007

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913          10,505          $81,193      1995           3               59            $270
00074258953             366           $2,838      1995           4              198            $711
00074374716          11,286          $79,398      1996           1              183            $711
00074374816           5,712          $56,108      1996           2            2,831          $25,889
00074572911               3              $23      1996           3            7,941          $68,130
00074572913           1,621          $12,722      1996           4           13,903         $126,637
00074572953             410           $3,397      1997           1           12,456         $110,751
00074622713          22,914         $183,347      1997           2            8,884          $77,566
00074630113           4,739          $41,592      1997           3            7,427          $64,768
00074630153             613           $5,640      1997           4           10,444          $95,069
00074630411             190            $963       1998           1           11,348         $102,563
00074630413          14,336         $106,461      1998           2            8,010          $71,709
00074630430              11              $57      1998           3            7,635          $67,715
00074630440               5              $39      1998           4           10,532          $93,996
00074630453           6,811          $48,568      1999           1           11,345         $100,209
00074630613              33            $255       1999           2            7,787          $67,264
00074630616             673           $4,375      1999           3            6,872          $62,449
00074631613           8,744          $71,771      1999           4            9,262          $83,316
00074632011             429           $4,330      2000           1            8,940          $81,233
00074632013          85,426         $881,665      2000           2            6,928          $65,644
00074632030              20            $232       2000           3            5,465          $52,030
00074632053          28,862         $297,330      2000           4            7,702          $74,313
00074632111              31            $352       2001           1            7,297          $70,710
00074632113           8,621         $108,407      2001           2            5,426          $52,345
00074632611              16              $89      2001           3            4,400          $43,932
00074632613          19,618         $110,659      2001           4            5,703          $57,192
00074632653           7,725          $49,933      2002           1            5,674          $56,384
00074634620           3,132          $19,802      2002           2            4,317          $43,717
00074634638               4              $22      2002           3            3,773          $37,859
00074634653           4,928          $31,141      2002           4            4,542          $45,818
00074636902              44            $570       2003           1            4,195          $38,092
00074636910              49            $770       2003           2            3,598          $32,851
00074637313              22            $194       2003           3            3,177          $28,677
00074637316             386           $3,487      2003           4            4,023          $36,036
00074715613           1,618          $19,333      2004           1            3,477          $29,959
00074715643           3,512          $55,977      2004           2            3,082          $26,731
00074715653           1,540          $29,615      2004           3            2,530          $22,164
00074803013             209           $3,237      2004           4            3,187          $27,635
00074803043             436           $9,231      2005           1            2,941          $25,898
00074803053             240           $6,874      2005           2            2,568          $22,768
                                                  2005           3            2,274          $20,468
   Total            255,840       $2,331,997      2005           4            2,573          $22,633
                                                  2006           1            1,858          $15,598
                                                  2006           2            1,425          $12,626
                                                  2006           3            1,303          $11,367
                                                  2006           4            1,516          $13,277
                                                  2007           1            1,420          $12,387
                                                  2007           2            1,271          $11,894
                                                  2007           3            1,106          $10,310
                                                  2007           4            1,032           $9,725

                                                         Total              255,840       $2,331,997
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         Table 22B: Massachusetts SDUD Medicaid Spending by NDC and Year-Quarter for 1994-1996
          Breakdown by National Drug Code                      Breakdown by Service Year and Quarter
       NDC           # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount
    00074258913              2,739         $22,300      1994           1           12,451         $129,430
    00074258953                 59           $402       1994           2            9,998         $103,160
    00074374716              3,592         $24,761      1994           3            9,705         $101,023
    00074374816              1,636         $15,366      1994           4           11,071         $116,445
    00074572911                  1              $7      1995           2           10,367         $106,567
    00074572913              1,115          $9,813      1995           3           11,832         $101,909
    00074572953                112          $1,022      1995           4            7,820          $61,520
    00074622713              5,981         $50,607      1996           1           11,221         $103,286
    00074630113              4,416         $45,318      1996           2            9,688          $85,789
    00074630153                382          $3,870
    00074630411                  9             $30             Total               94,153         $909,130
    00074630413              5,761         $43,655
    00074630430                  1              $7
    00074630440                  1              $7
    00074630453              2,754         $21,379
    00074630613                 12             $84
    00074630616                897          $6,517
    00074631613              2,217         $18,835
    00074632011                 41           $434
    00074632013             32,117        $338,992
    00074632053              8,049         $85,157
    00074632111                  7             $83
    00074632113              1,543         $17,014
    00074632611                  3             $15
    00074632613              9,624         $63,357
    00074632653              3,194         $21,794
    00074634620                448          $3,176
    00074634638                  6             $39
    00074634653              3,164         $23,921
    00074636902                 30           $369
    00074636910                 76          $1,225
    00074637313                 10           $102
    00074637316                424          $4,222
    00074715613                108          $1,505
    00074715643                115          $2,175
    00074715653                 66          $1,550
    00074803013                783         $13,005
    00074803043              1,353         $30,346
    00074803053              1,307         $36,667
       Total                94,153        $909,130


               Table 22C: Massachusetts SDUD Medicaid Spending by NDC and Year-Quarter for 2008
          Breakdown by National Drug Code                      Breakdown by Service Year and Quarter
       NDC             # of Claims    Paid Amount       Year     Quarter      # of Claims     Paid Amount
    00074258913                53             $458      2008           1            1,137          $10,912
    00074374716               130            $1,132
    00074374816                33             $334             Total                1,137          $10,912
    00074572913                 2               $16
    00074622713               196            $1,735
    00074630113                12             $133
    00074630413                49             $541
    00074630453                13             $129
    00074630613                 1                $4
    00074631613                31             $298
    00074632013               357            $4,081
    00074632053                33             $319
    00074632113                33             $424
    00074632613               138             $963
    00074632653                12               $86
    00074634620                44             $257
       Total                 1,137          $10,912
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    Table 23A: Breakdown of Louisiana Medicaid Spending by NDC and Year-Quarter for 1994-2007

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913          15,020         $157,442      1994           1               12             $128
00074258953             349           $4,215      1994           2               23             $185
00074374716          29,035         $280,475      1994           3               77             $663
00074374816          10,372         $129,627      1994           4            1,346          $14,298
00074572911              45             $515      1995           1            7,676          $83,027
00074572913          10,408         $112,809      1995           2            4,730          $50,224
00074572919               3              $36      1995           3            4,412          $45,676
00074572953           1,144          $12,093      1995           4            6,151          $65,386
00074622713           6,549          $72,418      1996           1            7,007          $76,013
00074630113          10,267         $112,881      1996           2            4,666          $51,254
00074630153             745           $8,259      1996           3            4,216          $47,103
00074630411              28             $417      1996           4            6,999          $87,232
00074630413           6,922          $79,842      1997           1            7,915          $97,276
00074630440               5              $53      1997           2            5,485          $67,453
00074630453           1,256          $15,614      1997           3            5,053          $60,529
00074630613             586           $6,142      1997           4            8,361         $105,229
00074630616           3,555          $33,020      1998           1            8,044         $100,627
00074631613          17,651         $188,560      1998           2            5,091          $62,558
00074632011              18             $259      1998           3            4,418          $53,258
00074632013          36,839         $468,470      1998           4            5,198          $62,300
00074632030              37             $495      1999           1            5,883          $69,994
00074632053           6,968          $89,539      1999           2            3,625          $41,727
00074632111               8             $107      1999           3            3,652          $43,242
00074632113           4,122          $54,348      1999           4            5,325          $64,997
00074632611              29             $304      2000           1            4,798          $57,585
00074632613           3,054          $27,833      2000           2            3,361          $40,009
00074632653             171           $1,523      2000           3            3,076          $36,502
00074634619              14             $125      2000           4            4,789          $61,013
00074634620           8,274          $77,112      2001           1            5,358          $70,188
00074634638              51             $314      2001           2            3,491          $45,243
00074634641               8              $73      2001           3            3,483          $44,515
00074634653           4,700          $40,791      2001           4            4,149          $54,183
00074636902             208           $3,053      2002           1               16             $207
00074636910              73           $1,253      2002           2              356           $4,664
00074637313             188           $2,527      2002           3            3,863          $51,176
00074637316           1,154          $13,800      2002           4            5,339          $72,220
00074715613          14,147         $206,102      2003           1            5,695          $77,134
00074715643          15,566         $272,816      2003           2            3,730          $48,917
00074715653          10,976         $218,952      2003           3            3,557          $47,427
00074803013           1,225          $19,195      2003           4            5,160          $69,282
00074803043             887          $18,236      2004           1            4,535          $61,616
00074803053             660          $15,494      2004           2            3,519          $45,388
                                                  2004           3            3,385          $42,896
   Total            223,317       $2,747,137      2004           4            3,914          $50,558
                                                  2005           1            4,886          $63,526
                                                  2005           2            3,279          $42,830
                                                  2005           3            2,986          $38,455
                                                  2005           4            3,424          $45,689
                                                  2006           1            3,225          $43,563
                                                  2006           2            2,442          $31,913
                                                  2006           3            2,243          $28,697
                                                  2006           4            2,801          $35,314
                                                  2007           1            2,527          $31,403
                                                  2007           2            2,018          $23,980
                                                  2007           3            1,956          $23,559
                                                  2007           4              591           $7,106

                                                         Total              223,317        $2,747,137
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    Table 23B: Louisiana SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 2002Q1-Q2
                2002Q1                                             2002Q2
   NDC         # of Claims    Paid Amount            NDC           # of Claims    Paid Amount
00074258913           230           $2,389       00074258913                189         $1,976
00074258953            11             $139       00074258953                  9           $121
00074374716           767           $7,517       00074374716                573         $5,829
00074374816           230           $3,068       00074374816                220         $2,825
00074572911             4              $43       00074572911                  2            $26
00074572913           120           $1,442       00074572913                106         $1,238
00074572953             5              $59       00074572953                 10           $105
00074622713           136           $1,607       00074622713                116         $1,367
00074630113           280           $3,003       00074630113                189         $2,147
00074630153             7              $64       00074630153                  1            $10
00074630411             5              $56       00074630411                  3            $51
00074630413           167           $2,018       00074630413                126         $1,525
00074630453            24             $334       00074630453                 36           $510
00074630613             3              $31       00074630613                  5            $46
00074630616            21             $230       00074630616                 19           $187
00074631613           323           $3,708       00074631613                305         $3,492
00074632013           862          $11,337       00074632013                652         $8,862
00074632053           178           $2,437       00074632053                137         $1,865
00074632113           127           $1,651       00074632113                114         $1,575
00074632613            66             $641       00074632613                 62           $632
00074632653             4              $43       00074632653                  3            $27
00074634620           160           $1,455       00074634620                148         $1,370
00074634653            41             $382       00074634653                 21           $200
00074636902             4              $52       00074636902                  3            $46
00074637313             1              $17       00074637313                  2            $34
00074637316             4              $62       00074637316                  9           $119
00074715613           523           $7,854       00074715613                294         $4,525
00074715643           597          $11,010       00074715643                392         $7,234
00074715653           453           $9,310       00074715653                245         $5,206
00074803013             8             $190       00074803013                  2            $44
00074803043             2              $65       00074803043                  1            $43
00074803053             3             $101       00074803053                  5           $172
   Total            5,366          $72,315           Total               3,999         $53,409
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           Table 23C: Louisiana SDUD Medicaid Spending by NDC and Year-Quarter for 1994
                1994Q1 - 1994Q4                                   2007Q4 - 2008Q1
   NDC           # of Claims      Paid Amount           NDC          # of Claims    Paid Amount
00074258913             1,092            $9,621     00074258913             363            $4,133
00074374716             1,815           $15,840     00074374716           1,356           $14,783
00074374816               557            $6,513     00074374816             250            $3,635
00074572913             3,127           $34,154     00074572913             171            $1,904
00074572919                56             $580      00074572953              13             $195
00074572953               313            $3,124     00074622713             302            $3,365
00074622713               378            $4,074     00074630113             139            $1,705
00074630113             1,940           $21,349     00074630153               4               $43
00074630153               282            $3,155     00074630413             127            $1,667
00074630411                 2               $16     00074630453              10             $108
00074630413               625            $5,647     00074630613              26             $281
00074630453                99             $937      00074630616             177            $1,873
00074630613               149            $1,481     00074631613             262            $3,030
00074630616             2,727           $23,322     00074632013             565            $8,081
00074631613             2,092           $21,790     00074632053              64             $894
00074632011                 2               $23     00074632113             104            $1,378
00074632013             4,597           $52,858     00074632613             112            $1,069
00074632053               379            $4,540     00074634620             302            $2,686
00074632113               145            $1,820     00074634653              89             $747
00074632611                 4               $34     00074636902               7             $112
00074632613               286            $2,565     00074637313              10             $128
00074632653                20             $155      00074637316              27             $268
00074634620               992            $8,466     00074715613              17             $278
00074634653               880            $7,047     00074715643               5             $100
00074636902                41             $565      00074715653              15             $373
00074636910                15             $213      00074803013               1               $21
00074637313                58             $562
00074637316               773            $8,595         Total              4,518          $52,856
00074803013               577            $8,286
00074803043               364            $6,946
00074803053               297            $6,616

   Total               24,684          $260,895



  Quarter        # of Claims      Paid Amount         Quarter        # of Claims    Paid Amount
  1994Q1                7,962           $83,772       2007Q4               2,174          $25,554
  1994Q2                5,731           $60,141       2008Q1               2,344          $27,302
  1994Q3                4,898           $52,334
  1994Q4                6,093           $64,647         Total              4,518          $52,856
   Total               24,684          $260,895
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    Table 24A: Breakdown of Michigan Medicaid Spending by NDC and Year-Quarter for 2000-2007

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913           7,047          $55,020     2000            1                3              $14
00074258953             335           $2,695     2000            2                9              $80
00074374716           6,915          $54,184     2000            3               21             $162
00074374816           3,470          $39,283     2000            4            2,656          $23,983
00074572911              16             $158     2001            1            3,168          $28,530
00074572913           1,111           $8,754     2001            2            2,234          $19,809
00074572953              70             $477     2001            3            2,098          $17,825
00074622713           5,385          $42,386     2001            4            3,072          $24,840
00074630113           2,579          $22,852     2002            1            2,661          $21,394
00074630153             427           $3,740     2002            2            1,819          $14,641
00074630411              30             $235     2002            3            2,052          $15,962
00074630413           4,375          $36,547     2002            4            2,731          $21,271
00074630430               1               $5     2003            1            3,053          $23,260
00074630440               4              $42     2003            2            2,647          $20,199
00074630453           1,864          $15,146     2003            3            2,545          $19,982
00074630613              49             $388     2003            4            3,914          $31,564
00074630616             347           $3,050     2004            1            3,539          $31,655
00074631613           6,318          $49,498     2004            2            3,007          $26,927
00074632011              42             $274     2004            3            2,756          $25,374
00074632013          13,009         $108,560     2004            4            3,791          $33,945
00074632030              13              $95     2005            1            4,518          $36,573
00074632053           5,591          $44,670     2005            2            3,275          $26,646
00074632111               8              $69     2005            3            2,736          $22,477
00074632113           5,919          $60,364     2005            4            3,578          $28,957
00074632611              23             $139     2006            1            2,204          $19,507
00074632613           2,073          $10,075     2006            2            1,549          $13,486
00074632653             227           $1,182     2006            3            1,475          $12,466
00074634619               4              $23     2006            4            2,059          $17,767
00074634620           2,908          $18,481     2007            1            2,206          $19,361
00074634638               1               $6     2007            2            1,097           $9,547
00074634653             367           $2,286
00074636902              19             $244             Total               72,473         $608,204
00074636910              18             $307
00074637313              13              $95
00074637316             127           $2,422
00074715613             547           $6,309
00074715643             656           $9,421
00074715653             555           $8,548
00074803013               5              $53
00074803043               4              $86
00074803053               1              $34

   Total             72,473         $608,204
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      Table 24B: Michigan SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1994-2000
      Breakdown by National Drug Code                   Breakdown by Service Year and Quarter
   NDC        # of Claims     Paid Amount        Year     Quarter    # of Claims     Paid Amount
00074258913          15,030         $112,835     1994           1           17,032         $130,947
00074258953           3,521          $24,083     1994           2           13,525         $104,065
00074374716          16,612         $107,660     1994           3           12,394          $94,195
00074374816           6,420          $56,220     1994           4           15,809         $117,267
00074572911             298           $2,320     1995           1           18,414         $132,927
00074572913           6,471          $48,485     1995           2           12,853          $90,360
00074572919              23             $174     1995           3           11,125          $82,045
00074572953           2,034          $15,163     1995           4           14,101         $112,895
00074622713           6,537          $57,915     1996           1           15,102         $125,323
00074630113           7,949          $75,545     1996           2           11,355          $96,885
00074630153           9,718          $80,606     1996           3            9,251          $79,860
00074630411             262           $1,852     1996           4           12,442         $106,202
00074630413          15,569         $116,741     1997           1            9,108          $75,695
00074630430              20             $133     1997           2            7,180          $57,427
00074630440               7              $44     1997           3            6,136          $47,729
00074630453           7,783          $57,745     1997           4            6,777          $53,797
00074630613              84             $598     1998           1            6,923          $56,598
00074630616           4,699          $31,079     1998           2            4,023          $32,482
00074631613          15,257         $108,290     1998           3            3,430          $26,598
00074632011             704           $5,453     1998           4            3,631          $28,714
00074632013          49,777         $375,044     1999           1            3,314          $25,666
00074632030              19             $118     1999           2            2,042          $15,013
00074632053          19,127         $148,931     1999           3            1,702          $12,497
00074632111             154           $1,628     1999           4            2,377          $17,721
00074632113           8,712          $84,372     2000           1            2,333          $17,338
00074632611             138             $827     2000           2            1,880          $15,464
00074632613           3,821          $22,911     2000           3            1,901          $16,664
00074632653           1,304           $7,609
00074634619              58             $302            Total              226,160       $1,772,374
00074634620           5,945          $36,538
00074634638              47             $280
00074634641               9              $54
00074634653           7,906          $45,310
00074636902              35             $300
00074636910              59             $549
00074637313              17             $168
00074637316           2,130          $18,809
00074715613           1,912          $24,510
00074715643           2,095          $37,010
00074715653           1,503          $29,929
00074803013             943          $10,528
00074803043             663          $10,398
00074803053             788          $13,308
   Total            226,160       $1,772,374
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           Table 24C: Michigan SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008
      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
   NDC             # of Claims    Paid Amount        Year     Quarter      # of Claims     Paid Amount
00074258913               411            $3,497     2007            3            1,011           $8,834
00074258953                13              $113     2007            4            1,415          $11,867
00074374716               766            $5,930     2008            1            1,473          $12,320
00074374816               371            $4,384
00074572913                63              $560             Total                3,899          $33,020
00074622713               379            $2,398
00074630113               149            $1,100
00074630153                 2               $17
00074630413               123            $1,145
00074630453                29              $234
00074630613                 1                $7
00074630616                27              $252
00074631613               274            $1,908
00074632013               597            $5,681
00074632053               122            $1,073
00074632113               253            $2,833
00074632613               105              $545
00074634620               166              $851
00074634653                11               $50
00074636902                 3               $37
00074636910                 8              $113
00074637313                 3               $28
00074637316                20              $221
00074715613                 2               $38
00074715653                 1                $5
   Total                3,899           $33,020
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     Table 25A: Breakdown of Virginia Medicaid Spending by NDC and Year-Quarter for 1998-2006

      Breakdown by National Drug Code                     Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount

00074258913           2,870          $31,067       1998           3                2              $11
00074258953              40             $430       1998           4                1               $6
00074374716           4,894          $49,868       1999           2                1               $6
00074374816           1,963          $26,596       1999           3                2              $11
00074572911              51             $432       1999           4                5              $35
00074572913             513           $5,100       2000           1                5              $37
00074572919               9              $84       2000           2              187           $1,984
00074572953              51             $456       2000           3            1,760          $19,185
00074622713           2,522          $23,705       2000           4            2,145          $23,817
00074630113           1,649          $20,715       2001           1            2,305          $27,033
00074630153              77             $748       2001           2            1,699          $19,689
00074630411              46             $420       2001           3            1,351          $15,960
00074630413           2,401          $30,021       2001           4            1,892          $22,466
00074630440               2              $31       2002           1            1,709          $19,453
00074630453             763           $7,369       2002           2            1,097          $12,973
00074630613               5              $45       2002           3            1,169          $13,183
00074630616             109           $1,084       2002           4            1,506          $16,974
00074631613           2,617          $26,084       2003           1            1,531          $17,440
00074632011              51             $605       2003           2            1,298          $14,900
00074632013           7,686         $100,352       2003           3            1,228          $15,025
00074632030              14             $185       2003           4            1,601          $18,799
00074632053           1,874          $24,800       2004           1            1,544          $18,032
00074632111              20             $220       2004           2            1,358          $15,825
00074632113           1,300          $15,972       2004           3            1,236          $14,003
00074632611              75           $1,143       2004           4            1,537          $17,249
00074632613           1,971          $17,913       2005           1            1,640          $18,596
00074632653              71             $526       2005           2            1,332          $14,740
00074634619              37             $284       2005           3            1,314          $15,264
00074634620           1,985          $16,888       2005           4            1,432          $16,538
00074634638              36             $376       2006           1              981          $11,443
00074634641               1               $9       2006           2              737           $8,127
00074634653             381           $3,731       2006           3              690           $7,744
00074636902               7             $117       2006           4              716           $7,861
00074636910              19             $335
00074637313               4              $45              Total               37,011         $424,412
00074637316              30             $450
00074715613             271           $4,087
00074715643             346           $6,742
00074715653             211           $3,967
00074803013               6             $127
00074803043               7             $155
00074803053              26           $1,126

   Total             37,011         $424,412
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      Table 25B: Virginia SMRF-MAX Medicaid Spending by NDC and Year-Quarter for 1999-2000
      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter
   NDC          # of Claims     Paid Amount       Year     Quarter      # of Claims     Paid Amount
00074258913           1,489             $11,883   1999           1            5,253          $41,857
00074258953              22                $198   1999           2            3,045          $22,112
00074374716           2,251             $11,277   1999           3            2,784          $20,698
00074374816           1,020              $6,798   1999           4            3,566          $26,765
00074572911              52                $468   2000           1            3,326          $26,398
00074572913             321              $2,909   2000           2            2,295          $19,098
00074572919               6                 $53
00074572953              19                $175          Total               20,269         $156,928
00074622713             755              $5,556
00074630113             615              $3,402
00074630153              34                $277
00074630411              89                $686
00074630413           1,307             $10,587
00074630430               1                 $10
00074630453             594              $4,351
00074630613               5                 $35
00074630616              83                $382
00074631613           1,131              $9,545
00074632011              60                $776
00074632013           4,341             $40,176
00074632030               5                 $46
00074632053           1,356             $13,583
00074632111              10                $101
00074632113             840              $7,490
00074632611              12                $152
00074632613             718              $5,023
00074632653             102                $612
00074634619               3                 $21
00074634620             891              $5,871
00074634638              14                $132
00074634641              11                 $65
00074634653             251              $1,684
00074636902               5                 $69
00074636910               7                 $98
00074637313               6                 $80
00074637316              30                $198
00074715613             541              $2,823
00074715643             809              $5,156
00074715653             386              $2,537
00074803013              24                $360
00074803043              14                $286
00074803053              39                $997
   Total             20,269         $156,928
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                   Table 25C: Virginia SDUD Medicaid Spending by NDC and Year-Quarter for 1994-1998
              Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
           NDC          # of Claims     Paid Amount          Year     Quarter    # of Claims     Paid Amount
        00074258913             5,690         $48,059        1994           1            7,664          $70,692
        00074258953                58           $551         1994           2            6,736          $62,146
        00074374716             8,674         $62,744        1994           3            5,868          $53,427
        00074374816             3,400         $32,052        1994           4            7,372          $78,283
        00074572911                36           $352         1995           1            9,455          $88,473
        00074572913             4,656         $38,607        1995           2            5,777          $53,134
        00074572919                63           $598         1995           3            4,187          $39,178
        00074572953               384          $3,640        1995           4            7,984          $91,670
        00074622713             3,094         $29,279        1996           1            7,496          $89,880
        00074630113             7,991         $81,731        1996           2            6,106          $68,107
        00074630153               497          $5,488        1996           3            4,222          $44,277
        00074630411               125          $1,178        1996           4            6,424          $64,663
        00074630413             8,111         $69,117        1997           1            6,374          $60,373
        00074630430                10           $115         1997           2            4,303          $39,585
        00074630440                 3             $22        1997           3            3,011          $28,868
        00074630453             1,576         $16,158        1997           4            4,172          $41,036
        00074630613               101           $895         1998           1            4,755          $46,593
        00074630616             2,030         $15,728        1998           2            3,142          $30,925
        00074631613             5,840         $53,995        1998           3            2,676          $27,223
        00074632011                51           $577         1998           4            3,448          $35,942
        00074632013            27,769        $273,519
        00074632030                 1              $9               Total              111,172        $1,114,474
        00074632053             2,976         $33,524
        00074632111                22           $170
        00074632113             2,099         $20,575
        00074632611               197          $1,651
        00074632613             4,750         $37,087
        00074632653               474          $3,419
        00074634619                11             $67
        00074634620             3,292         $25,053
        00074634638                91           $636
        00074634641                 7             $50
        00074634653             5,878         $39,642
        00074636902                36           $437
        00074636910                41           $639
        00074637313               127          $1,704
        00074637316               853          $9,028
        00074715613             2,533         $37,571
        00074715643             2,802         $56,567
        00074715653             1,807         $40,397
        00074803013               903         $23,584
        00074803043             1,000         $21,394
        00074803053             1,113         $26,865
           Total              111,172       $1,114,474


                   Table 25D: Virginia SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008
              Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
           NDC            # of Claims     Paid Amount        Year     Quarter      # of Claims     Paid Amount
        00074258913               222            $2,419      2007           1              778              $8,668
        00074258953                 1                $9      2007           2              665              $7,394
        00074374716             1,344           $13,782      2007           3              641              $7,097
        00074374816               197            $2,884      2007           4              685              $7,632
        00074572913                55             $508       2008           1              613              $6,870
        00074622713               344            $3,481
        00074630113                87            $1,086             Total                3,382          $37,661
        00074630153                 1               $13
        00074630413                 9             $127
        00074630453                 1                $3
        00074630613                 1                $4
        00074630616                15             $209
        00074631613               217            $2,251
        00074632013               401            $6,070
        00074632053                53             $748
        00074632113                 4               $65
        00074632613               199            $1,975
        00074632653                 2               $16
        00074634620               210            $1,680
        00074634653                 7               $63
        00074636902                 2               $32
        00074636910                 1               $15
        00074715613                 2               $42
        00074715643                 2               $53
        00074715653                 5             $126
           Total                3,382           $37,661
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    Table 26A: Breakdown of Wisconsin Medicaid Spending by NDC and Year-Quarter for 1994-2005

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913           5,996          $55,962      1994           1            6,257          $63,212
00074258953             778           $7,027      1994           2            4,816          $48,008
00074374716           3,510          $28,681      1994           3            4,673          $46,170
00074374816           2,837          $30,464      1994           4            5,772          $57,469
00074572911             567           $5,795      1995           1            6,374          $64,012
00074572913           3,633          $34,592      1995           2            4,749          $47,122
00074572919              16             $125      1995           3            4,057          $39,075
00074572953           1,195          $11,203      1995           4            5,512          $54,459
00074622713           3,623          $32,639      1996           1            5,352          $53,223
00074630113           2,724          $31,269      1996           2            4,251          $41,901
00074630153             530           $6,116      1996           3            3,495          $33,848
00074630411             521           $5,022      1996           4            4,488          $44,416
00074630413           7,246          $66,102      1997           1            3,748          $37,303
00074630430               1               $7      1997           2            2,809          $27,111
00074630440              12              $95      1997           3            2,235          $21,665
00074630453           5,560          $47,262      1997           4            2,609          $26,105
00074630613              42             $350      1998           1            2,871          $29,460
00074630616             841           $6,830      1998           2            1,816          $18,332
00074631613           6,189          $50,654      1998           3            1,743          $17,864
00074632011           1,565          $19,546      1998           4            2,126          $21,846
00074632013          31,503         $334,305      1999           1            2,151          $22,099
00074632030              21             $196      1999           2            1,429          $14,443
00074632053          15,637         $167,562      1999           3            1,563          $16,002
00074632111             128           $1,257      1999           4            1,912          $19,593
00074632113           5,340          $55,401      2000           1            1,829          $19,058
00074632611             561           $5,652      2000           2            1,658          $17,909
00074632613           4,709          $41,412      2000           3            1,536          $16,082
00074632653           1,405          $11,916      2000           4            1,629          $14,886
00074634619              57             $430      2001           1            1,631          $15,140
00074634620           2,557          $19,751      2001           2            1,349          $12,393
00074634638             421           $3,646      2001           3            1,159          $10,769
00074634641               1               $8      2001           4            1,541          $14,127
00074634653           5,436          $37,464      2002           1            1,408          $12,981
00074636902             280           $3,233      2002           2            1,178          $10,903
00074636910              78           $1,166      2002           3            1,080          $10,263
00074637313              14             $143      2002           4            1,251          $11,735
00074637316             501           $5,466      2003           1            1,382          $12,591
00074715613             718           $8,706      2003           2            1,309          $12,406
00074715643           1,110          $17,724      2003           3            1,165          $11,357
00074715653             474           $8,409      2003           4            1,424          $12,936
00074803013             905          $12,634      2004           1            1,408          $13,154
00074803043             800          $14,623      2004           2            1,376          $13,574
00074803053             654          $13,437      2004           3            1,438          $15,958
                                                  2004           4            1,615          $18,479
   Total            120,696       $1,204,281      2005           1            1,677          $18,637
                                                  2005           2            1,381          $15,760
                                                  2005           3            1,193          $14,141
                                                  2005           4            1,271          $14,301

                                                         Total              120,696       $1,204,281
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           Table 26B: Wisconsin SDUD Medicaid Spending by NDC and Year-Quarter for 2006-2008
      Breakdown by National Drug Code                       Breakdown by Service Year and Quarter
   NDC           # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount
00074258913                708           $7,860      2006           1              871           $9,779
00074258953                  9              $92      2006           2              659           $7,019
00074374716                549           $5,632      2006           3              576           $6,158
00074374816                338           $4,510      2006           4              658           $7,017
00074572913                 94           $1,024      2007           1              672           $7,306
00074572953                  1              $26      2007           2              611           $6,674
00074622713                482           $4,310      2007           3              553           $6,003
00074630113                178           $2,049      2007           4              561           $6,059
00074630413                384           $5,043      2008           1            1,026          $10,989
00074630453                164           $2,225
00074630613                  2              $16             Total                6,187          $67,004
00074630616                 15             $122
00074631613                418           $3,101
00074632013              1,345          $15,490
00074632053                256           $2,821
00074632113                400           $5,546
00074632613                374           $3,316
00074632653                 60             $448
00074634620                328           $2,324
00074634653                  3               $6
00074636902                  7             $109
00074636910                  2              $33
00074637313                  3              $41
00074637316                 23             $268
00074715613                 18             $230
00074715643                 10             $125
00074715653                 16             $238
   Total                 6,187          $67,004
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   Table 27A: Breakdown of New Jersey Medicaid Spending by NDC and Year-Quarter for 1994-2006

      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter

   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount

00074258913           5,215          $51,917      1994           1            7,383          $73,955
00074258953              77             $804      1994           2            6,268          $64,248
00074374716           8,041          $62,441      1994           3            5,457          $55,882
00074374816           2,894          $32,507      1994           4            7,848          $80,591
00074572911              81             $400      1995           1            8,581          $86,733
00074572913           4,183          $40,312      1995           2            5,844          $58,542
00074572919               9              $86      1995           3            4,963          $48,168
00074572953             491           $5,103      1995           4            7,045          $72,961
00074622713          13,435         $129,502      1996           1            5,709          $59,018
00074630113           7,154          $77,162      1996           2            4,255          $42,813
00074630153             503           $5,282      1996           3            3,299          $31,624
00074630411             507           $2,978      1996           4            3,956          $38,807
00074630413           6,835          $73,409      1997           1            3,505          $33,243
00074630430              12             $126      1997           2            2,559          $23,884
00074630440               9              $87      1997           3            1,999          $18,966
00074630453             737           $8,927      1997           4            2,454          $23,754
00074630613             199           $1,915      1998           1            2,441          $23,958
00074630616           3,203          $25,990      1998           2            1,659          $16,385
00074631613           9,038          $87,365      1998           3            1,535          $14,998
00074632011             680           $5,149      1998           4            1,884          $17,976
00074632013          20,109         $244,397      1999           1            1,978          $18,893
00074632030              19             $201      1999           2            1,414          $13,686
00074632053           1,979          $24,374      1999           3            1,252          $12,514
00074632111              64             $523      1999           4            1,618          $15,728
00074632113           2,224          $30,181      2000           1            1,534          $14,839
00074632611           2,711           $8,613      2000           2            1,289          $12,859
00074632613          13,614         $105,970      2000           3            1,117          $11,119
00074632653           1,129           $7,487      2000           4            1,408          $14,297
00074634619              69             $537      2001           1            1,388          $14,340
00074634620           7,915          $62,339      2001           2            1,019          $10,805
00074634638           1,319           $2,480      2001           3              854           $9,116
00074634641              10              $87      2001           4              977          $10,231
00074634653           2,361          $18,287      2002           1              968          $10,291
00074636902             130           $1,615      2002           2              737           $7,873
00074636910             115           $1,928      2002           3              692           $7,265
00074637313             131           $1,355      2002           4              832           $8,622
00074637316           1,052          $12,502      2003           1              828           $8,396
00074715613             408           $6,438      2003           2              803           $8,244
00074715643             549          $11,048      2003           3              864           $8,882
00074715653             372           $9,237      2003           4            1,231          $12,509
00074803013             828          $16,161      2004           1            1,210          $12,375
00074803043             575          $15,891      2004           2            1,011          $10,371
00074803053             937          $31,354      2004           3              904           $9,478
                                                  2004           4            1,086          $10,924
   Total            121,923       $1,224,471      2005           1            1,088          $10,666
                                                  2005           2              976          $10,004
                                                  2005           3              874           $8,983
                                                  2005           4            1,015          $10,573
                                                  2006           1              840           $8,709
                                                  2006           2              487           $5,180
                                                  2006           3              470           $4,936
                                                  2006           4              515           $5,260

                                                         Total              121,923       $1,224,471
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       Table 27B: New Jersey SDUD Medicaid Spending by NDC and Year-Quarter for 2007-2008
      Breakdown by National Drug Code                    Breakdown by Service Year and Quarter
   NDC        # of Claims     Paid Amount         Year     Quarter    # of Claims     Paid Amount
00074258913             134              $1,477   2007           1              566              $5,801
00074258953               1                  $8   2007           2              434              $4,540
00074374716             438              $4,293   2007           3              345              $3,758
00074374816              79                $996   2007           4              400              $4,185
00074572913              41                $442   2008           1              431              $4,521
00074572953               1                 $12
00074622713             380              $3,653          Total                2,176          $22,805
00074630113              82                $903
00074630153               1                 $10
00074630413              48                $506
00074630453               6                 $69
00074630613              27                $382
00074630616              29                $379
00074631613             168              $1,566
00074632013             174              $2,590
00074632053              46                $619
00074632113              73              $1,095
00074632613             253              $2,176
00074632653              18                $141
00074634620             154              $1,215
00074634653              11                 $79
00074636902               2                 $15
00074636910               2                 $37
00074637313               2                 $32
00074637316               2                 $29
00074715613               1                 $15
00074715643               2                 $41
00074715653               1                 $26
   Total              2,176             $22,805
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                                                                 Table 28: Medicaid Summary for First Fifteen States
      State               Source                   Time Period               # Clms w/DIFF>0     # Claims    Aggregate DIFF   Total MCD Paid   Federal DIFF   # Ph Payments

    California         State Claims                19942-20014                     1,622,181    1,704,836        $3,635,896     $17,176,627     $1,831,356         608,131
    California         SMRF-MAX        19941-19941,20021-20024,20031-20044           233,851      663,590         $961,010       $3,438,089      $496,715          148,883
    California            SDUD                     20054-20081                        76,897      106,882         $333,327       $1,346,117      $166,663                -
    California            MSIS                     20051-20053                        51,651      155,990         $263,550        $830,360       $131,775           32,035

      Texas            State Claims               19954-20054                        468,577      562,573        $1,056,650       $6,415,504      $648,858         282,446
      Texas               SDUD              19941-19953,20061-20081                   73,414      195,273         $104,940        $1,961,765       $66,551               -
    New York           State Claims               19941-20072                        479,826      769,401        $1,689,289       $8,277,464      $848,022         341,352
    New York              SDUD                    20073-20081                          7,424       13,815           $15,493        $122,794         $7,746               -

      Illinois         State Claims               19941-20063                        404,454      546,372        $1,305,685       $5,575,740      $652,613         293,800
      Illinois            SDUD                    20064-20081                         17,980       26,040           $20,837        $245,740        $10,419               -

     Florida           State Claims               19941-20054                        348,717      373,137        $1,016,464       $3,993,398      $578,239         243,439
     Florida              SDUD                    20061-20081                         27,727       29,870           $80,990        $346,166        $47,311               -

    Kentucky           State Claims               19951-20051                        257,052      276,248         $910,963        $3,194,157      $640,018         139,353
    Kentucky           SMRF-MAX                   19941-19944                         42,224       52,332         $115,540         $562,135        $81,450              91
    Kentucky              SDUD                    20054-20081                         21,715       27,565          $69,568         $314,787        $48,325               -
    Kentucky              MSIS                    20052-20053                          5,622        7,216          $17,966           $69,260       $12,504           3,397

     Georgia           State Claims               20004-20064                         79,326      120,516         $313,406        $1,200,394      $188,453          61,445
     Georgia           SMRF-MAX                   19941-20003                        211,228      248,090        $1,261,809       $2,572,608      $775,446         125,801
     Georgia              SDUD                    20071-20074                          4,147        4,219            $9,531          $37,990        $5,932               -
  Pennsylvania         State Claims               19983-20071                         84,659       93,338         $325,867         $992,674       $176,977           52,995
  Pennsylvania         SMRF-MAX                   19941-19982                        193,429      216,532         $731,855        $2,149,932      $392,308           63,276
  Pennsylvania            SDUD                    20072-20081                          6,000        6,106          $17,346           $58,996        $9,407                -

  North Carolina       State Claims               20011-20071                         80,116       84,822         $294,322         $971,013       $185,923           62,064
  North Carolina       SMRF-MAX                   19991-20004                         33,626       36,402         $124,234         $422,523        $77,916           23,905
  North Carolina          SDUD              19941-19984,20072-20081                  147,570      171,059         $470,029        $1,845,205      $302,264                -

 Massachusetts         State Claims               19963-20074                        218,536      252,569         $758,043        $2,304,416      $379,306         105,335
 Massachusetts            SDUD              19941-19962,20081-20081                   60,420       95,290         $209,694         $920,042       $104,847               -
    Louisiana          State Claims         19951-20014,20023-20073                  203,166      220,896         $680,770        $2,719,885      $483,610           57,125
    Louisiana          SMRF-MAX                   20021-20022                          9,164        9,365          $40,831         $125,724        $28,704            5,438
    Louisiana             SDUD              19941-19944,20074-20081                   22,501       29,202          $47,926         $313,750        $35,025                -
    Michigan           State Claims               20004-20072                         59,157       72,440         $143,667         $607,948        $81,279           35,094
    Michigan           SMRF-MAX                   19941-20003                        197,221      226,160         $414,595        $1,772,374      $231,531           66,566
    Michigan              SDUD                    20073-20081                          3,708        3,899           $8,695           $33,020        $5,012                -
     Virginia          State Claims               20003-20064                         35,705       36,808         $144,905         $422,321        $74,465           23,557
     Virginia          SMRF-MAX                   19991-20002                         13,590       20,269          $53,396         $156,928        $27,570           11,297
     Virginia             SDUD              19941-19984,20071-20081                  100,113      114,554         $345,259        $1,152,135      $175,644                -
    Wisconsin          State Claims               19941-20054                         79,101      120,696         $205,035        $1,204,281      $120,923           58,260
    Wisconsin             SDUD                    20061-20081                          5,864        6,187           $7,524           $67,004        $4,331                -
   New Jersey          State Claims               19941-20064                        116,964      121,923         $354,571        $1,224,471      $177,128           85,818
   New Jersey             SDUD                    20071-20081                          2,124        2,176           $4,465           $22,805        $2,232                -
  Sub-Total for First Fifteen States              19941-20081                      6,106,747    7,824,658       $18,565,944     $77,168,544    $10,314,800        2,930,903

Sub-Total for Other 33 States & D.C.              19941-20081                      2,534,093    3,226,143        $8,251,384     $32,841,379     $5,244,308         928,746

   Total for All 47 States & D.C.                 19941-20081                      8,640,840   11,050,801       $26,817,328    $110,009,923    $15,559,108        3,859,649
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                                             Table 29A: SMRF-MAX Spending and Utilization for Other 33 States and D.C.

    State        Rank   Total Paid    Total Clms      1994         1995         1996         1997         1998         1999         2000         2001         2002         2003         2004

   Missouri       12     $2,375,329       253,846    $335,435     $331,846     $273,475     $199,950     $162,187     $175,729     $145,816     $147,717     $180,714     $217,093     $205,367
   Alabama        14     $1,163,385       102,620    $218,946     $221,137                                            $131,835     $110,378     $114,698     $114,844     $127,286     $124,261
 West Virginia    15      $613,104         57,773                                                                     $127,994     $105,995      $98,415      $96,960      $99,812      $83,928
 Washington       16     $1,599,395       175,554    $322,941     $233,245     $177,952     $148,364     $120,919     $106,372     $100,324     $103,817      $95,530      $97,958      $91,973
   Indiana        18     $1,760,622       195,556    $297,727     $242,575     $250,898     $148,079     $129,327     $121,074     $118,715     $136,242     $132,603      $85,902      $97,480
  Minnesota       19     $1,187,376       124,565    $206,899     $212,046     $180,154     $116,910      $82,179      $66,478      $76,583      $70,468      $58,103      $57,301      $60,255
South Carolina    20      $528,427         54,316                                                                      $98,025      $83,164      $94,303      $74,051      $98,812      $80,072
  Arkansas        21     $1,229,607        99,987    $107,939     $100,860     $127,699     $125,170     $101,837     $102,570      $86,665     $112,325     $130,631     $120,606     $113,305
  Tennessee       22     $1,156,910       117,263                                                                                                            $207,937     $518,488     $430,485
     Iowa         23     $1,518,125       123,738    $201,214     $210,993     $185,241     $162,522     $152,003     $119,852      $95,391      $99,630      $89,436      $95,152     $106,691
  Oklahoma        25      $535,899         59,505                                                                      $74,908      $64,576      $71,974     $100,678      $95,205     $128,558
    Maine         27     $1,400,616        92,366    $101,685     $477,463     $137,758      $98,610      $85,133      $84,845      $83,059      $79,178      $79,836      $89,629      $83,420
  Mississippi     28      $796,541         75,761    $132,508     $131,496     $125,536     $119,517      $81,558      $74,344      $21,828                                $26,799      $82,955
   Colorado       29      $954,278         88,355    $140,344     $150,353     $141,658     $106,384      $76,094      $77,321      $52,883      $48,690      $43,729      $55,163      $61,659
 Connecticut      30      $182,133         16,141                                                                      $38,212      $34,639      $30,995      $27,980      $25,273      $25,034
   Oregon         31      $287,038         25,322                                                                      $46,295      $50,133      $63,454      $55,755      $37,274      $34,127
   Kansas         32      $837,790         80,649    $115,777     $123,592     $113,168      $92,206      $72,939      $67,584      $54,519      $55,739      $48,961      $45,609      $47,696
     Utah         33      $628,923         51,399     $96,953     $107,633      $82,447      $66,444      $60,977      $45,607      $34,083      $34,552      $33,871      $30,783      $35,573
   Maryland       34        $92,455        44,176                                                                      $18,779      $15,607      $15,376      $14,075      $14,967      $13,651
 New Mexico       35      $386,540         60,152                              $136,546      $91,848      $35,823      $17,656      $15,804      $19,958      $26,329      $22,850      $19,726
  Nebraska        36      $248,856         22,249                                                                      $43,937      $43,186      $45,703      $41,031      $38,358      $36,641
    Idaho         37      $406,494         31,025                               $63,187      $54,314      $41,689      $39,259      $40,678      $46,862      $42,964      $41,303      $36,238
   Montana        38      $411,452         38,271     $55,537      $56,938      $54,770      $43,183      $41,833      $34,135      $26,941      $24,859      $25,506      $26,116      $21,634
   Vermont        39      $568,566         56,796     $73,723      $73,695      $76,907      $54,833      $29,701      $54,795      $55,660      $36,586      $39,519      $34,300      $38,847
New Hampshire     40      $419,911         39,866     $54,883      $62,090      $65,086      $46,438      $40,685      $34,825      $29,805      $24,869      $20,986      $22,418      $17,826
   Nevada         41      $161,173         12,995                                                                      $23,654      $21,973      $23,198      $28,784      $36,976      $26,588
    Hawaii        42      $113,482         36,549                                                                      $10,768      $21,004      $22,151      $19,918      $20,441      $19,200
 Rhode Island     43        $52,297         5,205                  $52,297
    Alaska        44      $250,795         17,393     $28,306      $23,342      $21,089      $18,175      $16,672      $19,337      $21,073      $26,352      $25,657      $25,641      $25,151
  Delaware        45      $257,406         24,449     $28,940      $36,544      $41,696      $30,294      $26,177      $21,874      $17,268      $15,902      $13,560      $13,265      $11,886
South Dakota      46        $93,669         6,971                                                                      $17,141      $13,504      $14,838      $15,076      $16,868      $16,242
 North Dakota     47      $187,938         15,980     $30,085      $30,134      $24,531      $19,980       $9,014      $15,390      $11,014      $12,146      $11,746       $9,966      $13,932
  Wyoming         49      $190,374         16,339     $25,711      $28,886      $31,033      $23,341      $17,093      $12,042      $11,869      $13,599      $13,067      $13,733

     Total        -     $22,596,906     2,223,132   $2,575,553   $2,907,165   $2,310,831   $1,766,562   $1,383,840   $1,922,637   $1,664,137   $1,704,596   $1,909,837   $2,261,347   $2,190,401
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                                                    Table 29B: SDUD Spending and Utilization for Remaining State-Years of Other 33 States and D.C.

       State           Rank   Total Paid    Total Clms    1994       1995       1996       1997       1998       1999       2000     2001       2002      2003      2004      2005       2006       2007

     Missouri           12      $231,673         14,538                                                                                                                        $50,402   $110,478    $70,793
     Alabama            14      $620,541         55,880                         $195,153   $164,749    $76,298                                                                 $38,674    $93,838    $51,830
   West Virginia        15     $1,164,548       124,217   $243,783   $255,253   $303,716   $190,332    $89,357                                                                 $12,478    $36,636    $32,993
   Washington           16        $91,288         7,639                                                                                                                        $22,357    $37,551    $31,380
      Indiana           18        $93,057         9,257                                                                                                                        $16,856    $38,210    $37,991
    Minnesota           19        $89,710         4,065                                                                                                                        $16,868    $35,957    $36,885
  South Carolina        20      $720,249         71,994   $129,776   $141,980   $165,940    $86,983    $87,245                                                                 $20,840    $48,665    $38,820
     Arkansas           21      $145,986         12,894                                                                                                                        $24,974    $66,962    $54,049
    Tennessee           22      $431,603         46,485    $11,889                                                 $646     $72,670 $117,647    $28,953                                  $118,224    $81,574
       Iowa             23      $121,491          8,702                                                                                                                        $22,717    $53,455    $45,319
    Oklahoma            25      $635,729         59,522   $112,269   $118,084    $94,147    $87,110    $70,843                                                                 $24,116    $70,599    $58,561
      Maine             27        $87,518         7,332                                                                                                                        $17,023    $43,530    $26,965
    Mississippi         28      $399,227         36,528                                                                     $55,557 $103,801    $96,440   $52,303              $17,340    $46,603    $27,183
     Colorado           29        $77,197         8,116                                                                                                                        $12,507    $37,580    $27,111
   Connecticut          30      $589,817         55,932   $164,523   $187,288   $106,865    $74,758    $40,009                                                                  $4,825     $5,774     $5,775
      Oregon            31      $458,198         42,674   $148,420   $115,599    $84,013    $47,796    $29,489                                                                  $6,625    $14,960    $11,297
      Kansas            32        $53,719         4,613                                                                                                                        $12,269    $24,747    $16,702
       Utah             33        $51,800         4,303                                                                                                                         $8,440    $22,651    $20,709
     Maryland           34      $548,291         54,149   $161,964   $154,827   $148,822    $60,718                                                                             $5,080     $7,249     $9,631
   New Mexico           35      $199,740         17,838   $102,676    $95,842                                                                                                   $1,222
     Nebraska           36      $342,665         37,230    $74,373    $68,898    $53,854    $57,460    $41,462                                                                  $8,368    $21,396    $16,854
       Idaho            37      $158,052         12,925    $53,967    $56,091                                                                                                   $7,483    $22,288    $18,225
     Montana            38        $26,744         1,896                                                                                                                         $6,190    $12,720     $7,834
     Vermont            39        $11,366          977                                                                                                                          $1,936     $5,578     $3,851
 New Hampshire          40        $20,327         2,173                                                                                                                         $4,093     $8,721     $7,513
      Nevada            41      $169,774         14,209    $39,278    $37,923    $28,842    $10,732    $24,839                                                                  $6,993    $16,549     $4,617
      Hawaii            42      $196,494         19,596    $75,485    $13,467    $22,987    $26,685    $23,144   $10,894                                                        $8,723     $8,083     $7,027
   Rhode Island         43      $258,667         26,921    $57,653               $24,494    $31,638    $25,224   $20,893   $19,023   $15,636    $16,107   $14,560   $13,897    $12,511     $4,029     $3,002
      Alaska            44        $45,988         2,290                                                                                                                         $5,528    $23,548    $16,912
     Delaware           45        $20,142         1,912                                                                                                                         $2,020     $9,256     $8,865
   South Dakota         46      $125,294         10,862    $28,856    $23,455    $24,377    $23,622    $11,918                                                                  $3,523     $9,543
   North Dakota         47        $15,002         1,204                                                 $4,263                                                                  $2,252     $4,929     $3,558
District of Columbia    48      $183,420         17,084    $38,988    $36,504    $27,104    $25,270    $14,886    $9,917    $6,700    $5,816     $4,799    $4,243    $3,129     $1,025     $3,226     $1,814
     Wyoming            49        $17,323         1,323                                                                                                                         $2,952     $9,045     $5,326

       Total            -      $8,402,639       797,280 $1,443,899 $1,305,209 $1,280,315   $887,851   $538,979   $42,350   $153,950 $242,900   $146,298   $71,106   $17,026   $409,209 $1,072,580   $790,968
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Table 29C: MSIS Spending and Utilization for Remaining State-Years of Other 33 States and D.C.

       State           Rank   Total Paid    Total Clms    1997      1998       2002       2004      2005

     Missouri           12      $154,249         15,486                                             $154,249
     Alabama            14      $139,754         12,904              $41,907                         $97,847
   West Virginia        15        $97,850        11,310              $52,531                         $45,319
   Washington           16        $67,033         7,331                                              $67,033
      Indiana           18        $55,078        10,650                                              $55,078
    Minnesota           19        $34,559         4,779                                              $34,559
  South Carolina        20        $58,914         5,958                                              $58,914
     Arkansas           21        $79,741         6,575                                              $79,741
    Tennessee           22      $383,477         46,629                        $149,496             $233,981
       Iowa             23        $65,436         5,602                                              $65,436
    Oklahoma            25        $80,717         9,988                                              $80,717
      Maine             27        $53,460         4,369                                              $53,460
    Mississippi         28        $53,544         6,380                                              $53,544
     Colorado           29        $47,416         4,012                                              $47,416
   Connecticut          30        $30,445         2,794              $11,289                         $19,156
      Oregon            31        $33,975         3,127              $10,667                         $23,308
      Kansas            32        $33,963         3,671                                              $33,963
       Utah             33        $25,219         2,651                                              $25,219
     Maryland           34      $106,810         16,076   $18,512    $78,307                          $9,991
   New Mexico           35        $12,005         2,722                                              $12,005
     Nebraska           36        $37,725         3,807              $14,163                         $23,562
       Idaho            37        $28,356         2,032                                              $28,356
     Montana            38        $17,601         1,508                                              $17,601
     Vermont            39        $22,358         1,822                                              $22,358
 New Hampshire          40         $7,437          911                                                $7,437
      Nevada            41        $24,510         2,285               $6,658                         $17,852
      Hawaii            42        $12,618         3,862                                              $12,618
      Alaska            44        $18,016         1,080                                              $18,016
     Delaware           45         $9,064          871                                                $9,064
   South Dakota         46        $17,313         1,534               $5,774                         $11,539
   North Dakota         47         $7,116          645                                                $7,116
District of Columbia    48         $2,810          275                                                $2,810
     Wyoming            49        $23,266         2,085                                   $13,183    $10,083

       Total            -      $1,841,835       205,731   $18,512   $221,296   $149,496   $13,183 $1,439,348
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                                                               Table 30A: Medicaid Summary for Next 17 States
    State                  Source          Time Period          # Clms w/DIFF>0         # Claims      Aggregate DIFF   Total MCD Paid   Federal DIFF   # Ph Payments

   Missouri               SMRF-MAX        19941-20044                   179,865          253,846           $543,261        $2,375,329      $330,201           61,825
   Missouri                 SDUD          20054-20073                    12,562           14,538            $43,228          $231,673       $26,715                -
   Missouri                 MSIS          20051-20053                     5,502           15,486            $22,660          $154,249       $13,857            3,288

  Alabama                 SMRF-MAX   19941-19954,19991-20044             88,696          102,620           $282,637        $1,163,385      $199,713           37,053
  Alabama                   SDUD     19961-19982,20054-20073             46,769           55,880           $132,730          $620,541       $92,226                -
  Alabama                   MSIS     19983-19984,20051-20053             11,546           12,904            $36,348          $139,754       $25,580            6,816

West Virginia             SMRF-MAX         19991-20044                   53,893           57,773           $191,118          $613,104      $144,308           21,680
West Virginia               SDUD     19941-19982,20054-20074            102,950          124,217           $276,988        $1,164,547      $204,260                -
West Virginia               MSIS     19983-19984,20051-20053              9,575           11,310            $30,256           $97,850       $22,522            4,300

 Washington               SMRF-MAX        19941-20044                   152,662          175,554           $414,912        $1,599,395      $214,361           73,844
 Washington                 SDUD          20054-20074                     6,527            7,639            $15,144           $91,288        $7,591                -
 Washington                 MSIS          20051-20053                     3,383            7,331            $11,263           $67,033        $5,632            2,476

   Indiana                SMRF-MAX        19941-20044                   146,188          195,556           $430,397        $1,760,622      $268,659           72,719
   Indiana                  SDUD          20054-20074                     8,016            9,257            $17,577           $93,057       $11,039                -
   Indiana                  MSIS          20051-20053                     5,260           10,650            $15,503           $55,078        $9,733            4,081

  Minnesota               SMRF-MAX        19941-20044                    75,924          124,565           $272,632        $1,187,376      $144,543           32,791
  Minnesota                 SDUD          20054-20074                     3,502            4,065            $14,268           $89,710        $7,134                -
  Minnesota                 MSIS          20051-20053                     1,955            4,779             $5,816           $34,559        $2,908            1,586

South Carolina            SMRF-MAX         19991-20044                   50,698           54,316           $161,480         $528,427       $113,783           37,166
South Carolina              SDUD     19941-19984,20054-20074             59,121           71,994           $159,476         $720,249       $112,366                -
South Carolina              MSIS           20051-20053                    5,200            5,958            $15,216          $58,914        $10,635            4,113

  Arkansas                SMRF-MAX        19941-20044                    88,499           99,987           $337,204        $1,229,607      $248,939           53,140
  Arkansas                  SDUD          20054-20074                    11,222           12,894            $29,198          $145,986       $21,485                -
  Arkansas                  MSIS          20051-20053                     6,011            6,575            $21,622           $79,741       $16,162            4,423

 Tennessee                SMRF-MAX   20022-20023,20031-20044             65,763          117,263           $212,580        $1,156,910      $139,249           23,944
 Tennessee                  SDUD     19941-20021,20061-20073             42,383           46,485           $111,699          $431,603       $71,254                -
 Tennessee                  MSIS     20024-20024,20051-20053             33,664           46,629           $100,444          $383,477       $65,028           20,843

    Iowa                  SMRF-MAX        19941-20044                   104,166          123,738           $419,703        $1,518,125      $266,560           50,941
    Iowa                    SDUD          20054-20074                     7,575            8,702            $22,392          $121,491       $14,084                -
    Iowa                    MSIS          20051-20053                     4,752            5,602            $18,712           $65,436       $11,891            2,866

  Oklahoma                SMRF-MAX         19991-20044                   41,105           59,505           $160,171         $535,899       $114,319           29,220
  Oklahoma                  SDUD     19941-19984,20054-20074             48,683           59,522           $129,950         $635,729        $90,535                -
  Oklahoma                  MSIS           20051-20053                    8,394            9,988            $24,517          $80,717        $17,206            5,455

    Maine                 SMRF-MAX        19941-20044                    81,854           92,366           $413,924        $1,400,616      $268,480           40,989
    Maine                   SDUD          20054-20073                     6,257            7,332            $14,750           $87,518        $9,299                -
    Maine                   MSIS          20051-20053                     3,913            4,369            $12,166           $53,460        $7,894            2,823

 Mississippi              SMRF-MAX   19941-20001,20034-20044             63,020           75,761           $173,408         $796,541       $135,364           31,622
 Mississippi                SDUD     20002-20033,20054-20073             34,206           36,528           $117,557         $399,227        $90,099                -
 Mississippi                MSIS           20051-20053                    5,406            6,380            $16,376          $53,544        $12,622            3,946

  Colorado                SMRF-MAX        19941-20044                    74,883           88,355           $245,122         $954,278       $127,040           34,438
  Colorado                  SDUD          20054-20074                     7,104            8,116            $16,021          $77,197         $8,010                -
  Colorado                  MSIS          20051-20053                     3,700            4,012            $13,036          $47,416         $6,518            2,472

 Connecticut              SMRF-MAX         19991-20044                   15,099           16,141            $56,494         $182,133        $28,464           10,695
 Connecticut                SDUD     19941-19983,20054-20074             46,731           55,932           $143,359         $589,817        $71,679                -
 Connecticut                MSIS     19984-19984,20051-20053              2,530            2,794             $7,979          $30,445         $3,990            1,778

   Oregon                 SMRF-MAX         19991-20044                   23,507           25,322            $89,587         $287,038        $54,098           18,822
   Oregon                   SDUD     19941-19983,20054-20074             35,558           42,674           $110,418         $458,198        $68,039                -
   Oregon                   MSIS     19984-19984,20051-20053              2,774            3,127             $8,919          $33,975         $5,433            2,285

   Kansas                 SMRF-MAX        19941-20044                    62,128           80,649           $216,776         $837,790       $129,722           19,174
   Kansas                   SDUD          20054-20074                     4,082            4,613            $10,902          $53,719         $6,575                -
   Kansas                   MSIS          20051-20053                     2,977            3,671             $9,628          $33,963         $5,874            2,223

              Sub-Total                   19941-20074                 1,967,741        2,475,270          $6,357,523     $25,607,736     $4,083,680         725,837
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                                                         Table 30B: Medicaid Summary for Next 16 States and D.C
       State               Source               Time Period               # Clms w/DIFF>0   # Claims   Aggregate DIFF   Total MCD Paid   Federal DIFF   # Ph Payments

       Utah            SMRF-MAX                19941-20044                         44,459    51,399         $170,542         $628,923       $123,801           22,630
       Utah              SDUD                  20054-20074                          3,811     4,303          $10,542          $51,800         $7,439                -
       Utah              MSIS                  20051-20053                          2,180     2,651           $7,457          $25,219         $5,379            1,610

     Maryland          SMRF-MAX                19991-20044                         11,704    44,176          $26,064          $92,455        $13,165            9,795
     Maryland            SDUD            19941-19972,20054-20074                   44,466    54,149         $122,736         $548,291        $61,368                -
     Maryland            MSIS            19973-19984,20051-20053                   10,962    16,076          $27,481         $106,810        $13,741            1,908

   New Mexico          SMRF-MAX                19961-20044                         29,022    60,152         $110,315         $386,540        $80,873           16,708
   New Mexico            SDUD            19941-19954,20054-20054                   13,405    17,838          $40,038         $199,740        $29,387                -
   New Mexico            MSIS                  20051-20053                            935     2,722           $3,477          $12,005         $2,583              559

     Nebraska          SMRF-MAX                19991-20044                         20,748    22,249          $78,129         $248,856        $47,416           16,001
     Nebraska            SDUD            19941-19983,20054-20074                   30,955    37,230          $80,159         $342,665        $48,283                -
     Nebraska            MSIS            19984-19984,20051-20053                    3,372     3,807          $10,285          $37,725         $6,216            2,594

       Idaho           SMRF-MAX                19961-20044                         28,068    31,025         $124,882         $406,494        $87,782           12,987
       Idaho             SDUD            19941-19954,20054-20074                   10,419    12,925          $33,859         $158,052        $23,736                -
       Idaho             MSIS                  20051-20053                          1,856     2,032           $7,132          $28,356         $5,037            1,411

     Montana           SMRF-MAX                19941-20044                         33,198    38,271         $117,906         $411,452        $84,187           13,140
     Montana             SDUD                  20054-20073                          1,643     1,896           $4,776          $26,744         $3,344                -
     Montana             MSIS                  20051-20053                          1,275     1,508           $4,580          $17,601         $3,293              885

     Vermont           SMRF-MAX                19941-20044                         48,946    56,796         $161,608         $568,566        $99,959           26,384
     Vermont             SDUD                  20054-20073                            843       977           $2,079          $11,366         $1,220                -
     Vermont             MSIS                  20051-20053                          1,539     1,822           $5,256          $22,358         $3,159            1,104

 New Hampshire         SMRF-MAX                19941-20044                         34,718    39,866         $125,781         $419,911        $63,101           17,128
 New Hampshire           SDUD                  20054-20074                          1,888     2,173           $3,512          $20,327         $1,756                -
 New Hampshire           MSIS                  20051-20053                            771       911           $1,795           $7,437          $898               554

     Nevada            SMRF-MAX                 19991-20044                        12,186    12,995          $49,727         $161,173        $26,029            8,798
     Nevada              SDUD       19941-19963,19973-19983,20054-20071            11,568    14,209          $36,696         $169,774        $18,637                -
     Nevada              MSIS             19984-19984,20051-20053                   1,997     2,285           $7,128          $24,510         $3,855            1,512

      Hawaii           SMRF-MAX                19993-20044                          9,490    36,549          $31,231         $113,482        $17,479            6,695
      Hawaii             SDUD            19941-19992,20053-20074                   16,556    19,596          $41,387         $196,494        $20,995                -
      Hawaii             MSIS                  20051-20052                            973     3,862           $2,965          $12,618         $1,734              588

   Rhode Island        SMRF-MAX                19951-19954                          4,364     5,205          $12,657          $52,297         $6,972            1,819
   Rhode Island          SDUD            19941-19944,19962-20073                   23,847    26,921          $69,131         $258,667        $37,546                -

      Alaska           SMRF-MAX                19941-20044                         14,844    17,393          $59,886         $250,795        $33,238            9,078
      Alaska             SDUD                  20054-20074                          1,905     2,290           $6,719          $45,988         $3,856                -
      Alaska             MSIS                  20051-20053                            932     1,080           $4,121          $18,016         $2,373              620

     Delaware          SMRF-MAX                19941-20044                         21,534    24,449          $68,056         $257,406        $34,189            6,486
     Delaware            SDUD                  20054-20074                          1,645     1,912           $3,386          $20,142         $1,695                -
     Delaware            MSIS                  20051-20053                            780       871           $2,063           $9,064         $1,039              619

   South Dakota        SMRF-MAX                19991-20044                          6,458     6,971          $28,874          $93,669        $19,484            4,967
   South Dakota          SDUD            19941-19983,20054-20064                    8,619    10,862          $28,180         $125,294        $18,861                -
   South Dakota          MSIS            19984-19984,20051-20053                    1,318     1,534           $4,783          $17,313         $3,197              952

   North Dakota        SMRF-MAX          19941-19974,19983-20044                   13,345    15,980          $48,322         $187,938        $33,622            6,710
   North Dakota          SDUD            19981-19982,20054-20074                    1,039     1,204           $3,155          $15,002         $2,122                -
   North Dakota          MSIS                  20051-20053                            520       645           $1,744           $7,116         $1,177              371

District of Columbia       SDUD          19941-20044,20054-20073                   14,495    17,084          $40,866         $183,420        $16,863               -
District of Columbia       MSIS                20051-20053                            239       275            $634            $2,810          $444              193

     Wyoming           SMRF-MAX                19941-20034                         13,642    16,339          $51,691         $190,374        $32,270            6,872
     Wyoming             SDUD                  20054-20073                          1,153     1,323           $3,359          $17,323         $1,803                -
     Wyoming             MSIS                  20041-20053                          1,722     2,085           $6,707          $23,266         $4,025            1,231

               Sub-Total                       19941-20074                        566,353   750,873        $1,893,861       $7,233,643    $1,160,627          202,909
